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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

                                                          Chapter 11
    In re:
                                                          Case No. 15-32450 (KLP)
    PATRIOT COAL CORPORATION, et al.,
                                                          Jointly Administered
                         Debtors.
                                                          Adv. Proc. No. 16-03105 (KLP)

    BLACK DIAMOND COMMERCIAL FINANCE, LLC,

                         Plaintiff,

                         v.
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    VIRGINIA CONSERVATION LEGACY FUND, INC.
    and ERP COMPLIANT FUELS, LLC,

                     Defendants.




    VIRGINIA CONSERVATION LEGACY FUND, INC.
    and ERP COMPLIANT FUELS, LLC,

                     Counterclaim-Plaintiffs,

                     v.

    BLACK DIAMOND COMMERCIAL FINANCE, LLC,

                     Counterclaim-Defendant.




               BLACK DIAMOND’S PROPOSED FINDINGS OF FACT
                        AND CONCLUSIONS OF LAW
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        Plaintiff/counterclaim-defendant Black Diamond Commercial Finance, LLC (“BDCF,”

 and with Black Diamond Capital Management, LLC, “Black Diamond”), by its attorneys

 McGuireWoods LLP and Covington & Burling LLP, respectfully submits these Proposed

 Findings of Fact and Conclusions of Law.

                                            SUMMARY

        1.      The evidence admitted at trial proves that Defendants Virginia Conservation

 Legacy Fund, Inc. (“VCLF”) and ERP Compliant Fuels, LLC (“ERP,” and with VCLF,

 “Defendants”) breached their contractual obligations to Black Diamond. The breach directly

 damaged Black Diamond by depriving it of assets, interest income, and fees and expenses valued

 in excess of $67 million.

        2.      On September 21, 2015, VCLF, ERP, and Black Diamond signed a commitment

 letter (the “Commitment Letter”), pursuant to which Black Diamond agreed to provide VCLF

 and ERP with up to $25 million in financing to fund an anticipated transaction with Patriot Coal

 Corporation and certain of its subsidiaries (collectively, “Patriot”), subject to various conditions

 set forth in the Commitment Letter. (PX 40.) The transaction with Patriot had been

 memorialized in an asset purchase agreement between VCLF, ERP, and Patriot, dated August

 16, 2015 (the “August 16 APA”). (PX 15.)

        3.      In exchange for Black Diamond’s commitment, VCLF and ERP agreed to an

 exclusivity provision, pursuant to which they agreed not: (i) to solicit or accept any alternative

 financing to “facilitat[e]” their transaction with Patriot for the term of the Commitment Letter, or

 (ii) to close a transaction with Patriot for the assets at issue without providing Black Diamond

 with certain equity interests. (PX 40, at BDCF-00028159.)

        4.      VCLF and ERP breached the Commitment Letter in two key respects. First,

 VCLF and ERP breached the Commitment Letter by soliciting and closing upon alternative
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 financing to “facilitat[e]” their transaction with Patriot. As ERP’s Jason McCoy testified, he

 repeatedly solicited alternative financing to facilitate the closing of the VCLF-Patriot transaction

 after the Commitment Letter was executed. (6/8/18 Tr. (McCoy, J.) 218:13-18; id. at 220:4-17;

 id. at 221:2-15; id. at 224:7-18; id. at 225:10-15; id. at 225:22-23; id. at 226:11-227:3.) More

 broadly, on at least two occasions, the evidence plainly shows that Mr. McCoy solicited parties

 to serve as the principal sources of financing for the VCLF-Patriot transaction, replacing Black

 Diamond as the principal source of funding. (PX 66; PX 264; DX AS; 6/8/18 Tr. (McCoy, J.)

 235:4-8.) VCLF and ERP ultimately accepted alternative financing from Patriot and the United

 Mine Workers of America (the “UWMA”) to close the transaction with Patriot. (PX 221; PX

 301; 6/12/18 Tr. (Clarke) 92:12-17; id. at 92:21-24; id. at 197:4-12.)

        5.        Second, VCLF and ERP breached the Commitment Letter by closing their

 transaction with Patriot without providing Black Diamond with the promised equity interests.

 (6/5/18 Tr. (Ehrlich) 128:1-7; id. (Harris) at 181:14-25; 6/8/18 Tr. (Deckoff) 77:6-7.) Instead,

 VCLF and ERP retained for themselves those equity interests, which, at the time of Defendants’

 breach, were estimated to increase VCLF and ERP’s asset base by more than $6 million. (PX

 208; DX EG; DX FN; 6/12/18 Tr. (Clarke) 196:22-197:3.)

        6.        VCLF and ERP have defended their actions by claiming that Black Diamond

 repudiated the Commitment Letter before they breached it. Specifically, VCLF and ERP claim

 that Black Diamond repudiated the Commitment Letter by proposing new financing terms on

 October 23, 2015, in a series of emails between Black Diamond’s Hugo Gravenhorst, and

 VCLF’s Tom Clarke. (PX 111; PX 113; PX 115; PX 116.) This argument is without legal or

 factual merit.




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        7.      To be clear, by signing the Commitment Letter, Black Diamond committed to

 fund the deal set forth in the August 16 APA, as modified through the date of the Commitment

 Letter. (PX 40, at BDCF-00028157; id. at -158.) After the Commitment Letter was signed —

 and without Black Diamond’s consent — VCLF and ERP negotiated draft modifications to the

 August 16 APA with Patriot that were detrimental to VCLF and ERP. (PX 49; PX 326; PX 327;

 6/4/18 Tr. (Ehrlich) 194:3-18; id. at 203:10-14; 6/5/18 Tr. (Harris) 151:12-21; 6/8/18 Tr.

 (Deckoff) 33:17-34:2; 6/12/18 Tr. (Clarke) 120:20-23.) Black Diamond was under no obligation

 to fund this proposed modified transaction, although it was willing — and attempted — to

 negotiate a new financing arrangement for a proposed modified APA. (6/5/18 Tr. (Harris)

 164:3-23; 6/8/18 Tr. (Deckoff) 31:9-11; id. at 88:19-21.) In the midst of negotiating new terms,

 however, VCLF and ERP abruptly cut off negotiations with Black Diamond and closed their deal

 with Patriot with other financing. (PX 158; PX 183; PX 221; PX 282; PX 296; PX 299; PX 349;

 6/12/18 Tr. (Clarke) 92:12-17; id. at 92:21-24; id. at 197:4-12.)

        8.      Black Diamond’s conduct was not — and could not have been — a repudiation of

 the Commitment Letter because the new financing terms that Black Diamond proposed on

 October 23 related solely to the proposed modified asset purchase agreement that VCLF, ERP,

 and Patriot negotiated without Black Diamond’s consent. (See, e.g., PX 111.) It is undisputed

 that Black Diamond never refused to perform under the Commitment Letter and fund the

 transaction set forth in the August 16 APA as it existed as of September 21, 2015 — the only

 transaction for which BD had agreed — and was contractually committed — to provide

 financing. (PX 181; 6/5/18 Tr. (Ehrlich) 5:14-16; id. at 6:15-18; id. at 7:8-16; id. at 131:5-16; id.

 (Harris) at 164:24-25; id. at 173:7-13; 6/8/18 Tr. (Deckoff) 48:20-49:2; 6/11/18 Tr. (Murphy)

 238:20-25; id. at 239:21-23; 6/12/18 Tr. (Clarke) 87:13-19.) It is likewise undisputed that Black




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 Diamond never refused to negotiate over new financing terms in connection with a modified

 asset purchase agreement. To the contrary, as VCLF’s own CEO conceded, Black Diamond

 “never did stop negotiating.” (6/12/18 Tr. (Clarke) 190:14.) Instead, as noted above, Defendants

 chose to terminate negotiations.

        9.      VCLF and ERP’s breach entitles Black Diamond to at least $67 million in

 damages, including more than $61 million in connection with VCLF and ERP’s failure to deliver

 the promised equity interests. This damages figure is supported by VCLF and ERP’s

 interrogatory responses as well as the testimony of Black Diamond’s expert witness, Robert

 Briscoe. (PX 249; PX 261.)

        10.     In response, VCLF and ERP argue that Black Diamond is not entitled to damages

 because events that transpired after the breach of the Commitment Letter — particularly, VCLF

 and ERP’s inability to negotiate a deal to monetize the surplus workers’ compensation collateral

 they acquired from Patriot — demonstrate that Black Diamond’s interests were actually worth

 less. This argument is unavailing.

        11.     Under New York law, contract damages are measured at the time of breach,

 Sharma v. Skaarup Ship Mgmt. Corp., 916 F.2d 820, 825 (2d Cir. 1990), and “events subsequent

 to the breach . . . may neither offset nor enhance general damages,” Merrill Lynch & Co. v.

 Allegheny Energy, Inc., 500 F.3d 171, 185 (2d Cir. 2007). The post-breach events that VCLF

 and ERP emphasize — namely, Defendants’ struggle to monetize HealthCo — are insufficient to

 call Black Diamond’s damages into question. As the record evidence demonstrates, VCLF and

 ERP were unable to monetize HealthCo for several reasons not applicable to Black Diamond,

 including because VCLF and ERP had insufficient capital to provide replacement letters of credit

 and because they proposed monetization strategies that conflicted with applicable state law. (PX




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 401, at 10-11; PX 402, at 4-7; 6/6/18 Tr. (Briscoe) 119:20-120:3; id. at 135:25-136:12; id. at

 138:17-139:1; 6/13/18 Tr. (Spragg) 217:12-218:3; id. at 223:18-21.) Indeed, regulators

 repeatedly told VCLF, ERP, and Patriot that they would execute a monetization transaction,

 provided that such a transaction accorded with applicable law. (PX 401, at 10-11; PX 402, at 4;

 PX 403, at 16; id. at 23.) VCLF, ERP, and Patriot never proposed such a transaction. (6/13/18

 Tr. (Spragg) 196:11-15; id. at 198:7-10; id. at 217:8-11; id. at 222:8-14.) Thus, Defendants’

 evidence speaks only to Defendants’ failed efforts to successfully monetize the surplus collateral,

 not to the inherent value of that surplus or Black Diamond’s ability to monetize it.

         12.          For all of these reasons, judgment should be entered in Black Diamond’s favor

 for $67,167,680.03, plus interest.

                                  PROPOSED FINDINGS OF FACT

 I.      Background

         13.     Black Diamond Capital Management, LLC (“BDCM”) is an asset management

 firm that manages various financial vehicles, including a hedge fund and control

 distressed/private equity investments. (6/4/18 Tr. (Ehrlich) 56:15-22.) BDCM was founded in

 1994 by Stephen H. Deckoff, who serves as BDCM’s managing principal. (Id. at 57:9; 6/8/18

 Tr. (Deckoff) 5:22-23.)

         14.     BDCM is a sophisticated financial entity. BDCM currently manages over $8

 billion in assets,                                       . (6/4/18 Tr. (Ehrlich) 57:10-11; 6/8/18 Tr.

 (Deckoff) 6:21-25; id. at 22:25-23:6.) BDCM is creditworthy and debt-free. (6/8/18 Tr.

 (Deckoff) 22:23-25.) It has ready access to credit markets, including a standing undrawn $50

 million credit line that can be used for letters of credit. (Id. at 19:25-20:21.)




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        15.     BDCM has substantial experience in the coal industry. BDCM has been involved

 in multiple deals involving coal companies, including deals with Pinnacle Oaks, Murray Energy,

 Arch Coal, and Alpha Natural Resources. (6/8/18 Tr. (Deckoff) 7:17-25.)

        16.     BDCM has substantial experience and familiarity with workers’ compensation

 programs. BDCM has been involved in multiple transactions involving the monetization of

 surplus workers’ compensation collateral, including successful monetizations of at least seven

 workers’ compensation programs. (6/4/18 Tr. (Ehrlich) 67:16-17; 6/8/18 Tr. (Deckoff) 15:15-

 16:13.) In addition to its experience with monetization, BDCM owns an insurance company

 licensed to insure workers’ compensation liabilities. (6/8/18 Tr. (Deckoff) 23:15-24:2.)

        17.     BDCF is an affiliate of BDCM. (6/4/18 Tr. (Ehrlich) 57:17-20.) BDCF is Black

 Diamond’s “loan origination arm.” (6/5/18 Tr. (Ehrlich) 72:13-14.) It is responsible for

 originating and administering loans on behalf of the Black Diamond group. (6/4/18 Tr. (Ehrlich)

 57:20-21.) Mr. Deckoff is an owner of BDCF. (Id. at 57:22-23.)

        18.     VCLF is a Virginia nonstock corporation. (Joint Stipulation of Uncontroverted

 Facts (Dkt. No. 271) (“Unconverted Facts”), ¶ 2.) Thomas M. Clarke is the chief executive

 officer of VCLF. (6/11/18 Tr. (Clarke) 278:8-9.)

        19.     ERP is a Virginia limited liability company created for the purpose of

 consummating VCLF’s acquisition of certain assets and assumption of certain liabilities from

 Patriot. (Uncontroverted Facts, ¶ 3.) ERP is jointly owned by VCLF and Iron Management,

 LLC (“Iron Management”). (PX 249, at VCLF-00000006.) Ken McCoy is the chief executive

 officer of ERP and a member of Iron Management. (6/13/18 Tr. (McCoy, K.) 67:10-11; PX 249,

 at VCLF-00000006.) Jason McCoy is a senior vice-president of ERP and a member of Iron




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 Management. (6/8/18 Tr. (McCoy, J.) 149:1-3; PX 249, at VCLF-00000006.) Mr. Clarke is a

 managing member of ERP. (PX 249, at VCLF-00000006.)

 II.     Patriot, VCLF, and ERP Execute an Asset Purchase Agreement.

         20.     On May 12, 2015, Patriot filed a voluntary petition for bankruptcy under Chapter

 11 of the United States Bankruptcy Code in the United States Bankruptcy Court for the Eastern

 District of Virginia. (See Voluntary Pet., In re Patriot Coal Corp., Case No. 15-32450 (Bankr.

 E.D. Va.) (Dkt. No. 1).)

         21.     Pursuant to its plan of reorganization, Patriot sought to sell substantially all of its

 assets and liabilities. (PX 334.)

         22.     On August 16, 2015, VCLF and ERP entered into an asset purchase agreement

 with Patriot to buy certain of Patriot’s assets and liabilities, including coal mines and equipment,

 workers’ compensation assets and liabilities, and mine-reclamation assets and liabilities (the

 “August 16 APA”). (PX 15; see also Uncontroverted Facts, ¶ 5; 6/4/18 Tr. (Ehrlich) 63:20-64:7;

 6/11/18 Tr. (Clarke) 286:17-287:18; id. at 289:10-14.)

         23.     Among the assets and liabilities that VCLF and ERP contracted to purchase were

 the assets and liabilities associated with the Federal Mine No. 2, an operating coal mine outside

 of Morgantown, West Virginia (the “Federal Mine”). (PX 15, §§ 2.01 & 2.03; 6/8/18 Tr.

 (McCoy, J.) 150:11-13; 6/11/18 Tr. (Clarke) 292:19-22.) VCLF and ERP also contracted to

 purchase certain of the assets and liabilities associated with Patriot’s workers’ compensation

 program. (PX 15, §§ 2.01(q) & 2.03(f).) Specifically, VCLF and ERP contracted to purchase

 Patriot’s traumatic injury and state black lung liabilities as well as the collateral, then in the form

 of letters of credit, that secured those liabilities. (Id. §§ 2.01(q), 2.03(f), 2.04(f).)

         24.     The collateral that VCLF and ERP contracted to purchase was set forth in

 Schedule 1.01(a)(vii) of the August 16 APA. (PX 15, § 2.01(q); id. at pgs. 409-10 of 1070.)


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 Patriot warranted that the value of this collateral was $168,995,445, and that the value of the

 liabilities that the collateral secured was $108,478,658. (PX 15, §§ 3.18 & 3.19; see also id. at

 pgs. 409-10 of 1070.)

        25.     The August 16 APA did not require VCLF and ERP to pay any money for the

 assets and liabilities to be purchased. (6/4/18 Tr. (Ehrlich) 199:13-18 (“[VCLF and ERP] were

 putting in zero cash.”); 6/11/18 Tr. (Clarke) 293:13-14 (“[T]he initial August 16th asset purchase

 agreement did not have cash being paid at closing.”).)

        26.     The August 16 APA required the parties to close on or before January 31, 2016.

 (PX 15, § 11.01(b).)

 III.   VCLF and ERP Needed Financing to Obtain the Assets and Liabilities Described in
        the August 16 APA.

        A.      VCLF and ERP Needed Financing to Place a Bid for the Assets and Liabilities
                Described in the August 16 APA.

        27.     The sale of the assets and liabilities described in the August 16 APA was “subject

 to higher and better bids, including a potential auction.” (PX 15, § 5.07(c).)

        28.     The Bidding Procedures Order governed the process for bidding on Patriot’s

 assets and liabilities. (PX 15, § 5.07(c); see also PX 333.) As is relevant here, the Bidding

 Procedures Order specified that:

        Any Bidder must have, in the Debtors’ reasonable business judgment, after
        consultation with the Consultation Parties, the necessary financial capacity to
        consummate the proposed transactions required by its Bid. Each Bid must also
        include, by the Bid Deadline, committed financing, documented to the Debtors’
        reasonable satisfaction . . . that demonstrates the Bidder has received sufficient
        debt and/or equity funding commitments to satisfy the Bidder’s Purchase Price
        and other obligations under its Bid . . . .

 (PX 333, at Ex. 1, pg. 7 (emphasis added).)

        29.     At trial, VCLF and ERP argued that they were not subject to the requirements of

 the Bidding Procedures Order because they had been named as the “Federal Stalking Horse


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 Bidder,” and thus they were automatically qualified to bid for Patriot’s assets. The Bidding

 Procedures Order, however, expressly provided that any bids placed by the Federal Stalking

 Horse Bidder would be deemed “Winning Bid[s]” only if they “otherwise satisfie[d] all of the

 Bid Conditions in the Bidding Procedures [Order].” (PX 333, at pg. 7, ¶ 7.) This includes the

 requirement that bidders have committed financing. Indeed, the requirements that “[a]ny

 Bidder” have the financial capacity to consummate the proposed transaction with Patriot and that

 “[e]ach Bid” have committed financing were without qualification. (Id. at Ex. 1, pg. 7 (emphasis

 added).)

        30.     In all events, at the time of the auction and as late as the dates of their depositions,

 VCLF and ERP’s witnesses believed that they needed to have committed financing in order to

 place a bid for and win Patriot’s assets and liabilities. (6/11/18 Tr. (Murphy) 194:2-7 (“We

 needed a signed commitment letter prior to the auction.”); 6/12/18 Tr. (Clarke) 76:18-19 (“I -- I

 believe it was a requirement of our financing where our bid be financed.”).) Indeed, in advance

 of the auction, Patriot’s chief restructuring officer, Ray Dombrowski, repeatedly asked VCLF

 and ERP to show that they had committed financing. (PX 24; PX 505; 6/7/18 Tr. (Potter) 160:2-

 5 (“Q. And Patriot is asking, and will continue, and does continue to ask with regard to VCLF’s

 financing and viability over time, correct? A. It never stopped.”); 6/12/18 Tr. (Clarke) 77:20-22

 (“Certainly, Mr. Dombrowski and I, Bob Bennett and Mike Day and I, talked about the financing

 on a regular basis.”).)

        B.      VCLF and ERP Needed Financing to Acquire the Assets and Liabilities Described
                in the August 16 APA.

        31.     Irrespective of whether they needed committed financing to place a bid for the

 assets and liabilities described in the August 16 APA, VCLF and ERP needed committed

 financing in order to acquire such assets and liabilities. (6/11/18 Tr. (Murphy) 190:23-191:1.)



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        32.     By its terms, the August 16 APA was terminable to the extent that VCLF and

 ERP did not “demonstrate[] the financial wherewithal to own and operate the Purchased Assets

 and perform the Assumed Liabilities, as demonstrated by one or more written, binding

 commitments for equity and debt financing, on or prior to October 9, 2015.” (PX 15,

 § 11.01(m).) Patriot’s obligation to close the transaction was also contingent on VCLF and ERP

 “obtain[ing] sufficient financing and/or credit support . . . to consummate the transactions

 contemplated [by the August 16 APA].” (Id., § 10.03(g).)

        33.     VCLF and ERP would not have been able to close their transaction with Patriot

 without committed financing. (6/11/18 (Murphy) Tr. 105:5-11 (“It was very, very important that

 VCLF find capital to complete this deal, given that VCLF is a nonprofit organization with no

 balance sheet and no liquidity, to be able to close the transaction. So, therefore, we had to find

 third-party commercial financing to be able to fund the transaction we’re seeking to close.”); id.

 at 190:23-191:1 (“[VCLF and ERP] needed a third party to — to provide the capital to be able to

 close and subsequently[] fund working capital for the business that they wanted to acquire.”).)

 IV.    VCLF and ERP Are Unable to Acquire Financing from Any Party Other than
        Black Diamond.

        34.     In June 2015, VCLF retained Teneo Restructuring (“Teneo”) to assist with

 obtaining financing in connection with its contemplated transaction with Patriot. (PX 8, at

 VCLF-00023305.)

        35.     Beginning in August 2015, Teneo solicited financing from third-party investors

 on behalf of VCLF and ERP. (6/11/18 Tr. (Murphy) 109:5-14.)

        36.     When soliciting financing, Teneo provided potential investors with a “teaser,”

 which was a “one-page marketing document that . . . outline[d] and [gave] a quick snapshot” of




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 VCLF and ERP’s transaction with Patriot — “a summary of what [VCLF and ERP were] trying

 to accomplish.” (6/11/18 Tr. (Murphy) 107:18-21.)

         37.     The teaser that Teneo circulated to potential investors stated that VCLF and ERP

 were “looking to raise $20 million to $40 million” in connection with their transaction with

 Patriot. (PX 16, at TEN0013130.) The teaser further specified that financing “[could] be

 structured in a variety of securities/facilities including, but not limited to”: (i) an “[a]sset backed

 revolver”; (ii) “[p]roven reserves financing”; (iii) “[i]nventory and AR financing”; (iv) a “[f]irst-

 lien term loan”; or (v) a “[s]ale to lease-back of mining equipment.” (Id.) VCLF and ERP

 included this array of financing options in their teaser because they did not want to “exclud[e]

 certain lenders simply because [they] were being too narrow in terms of the types of securities

 that [they] would eventually conclude with.” (6/11/18 Tr. (Murphy) 201:19-22.) VCLF and

 ERP were “open to receiving financing in a variety of structures, including, but not limited to,

 those listed in [the teaser].” (Id. at 201:7-202:2; id. at 202:19-21 (“Q. So again, you weren’t

 only open to a fifteen-million-dollar ABL and a ten-million-dollar term loan, correct? A. We’re

 open to all proposals.”).)

         38.     Teneo reached out to 60 to 70 potential inventors about providing financing to

 VCLF and ERP. (6/11/18 Tr. (Murphy) 109:18-25.) Of those 60 to 70 investors, only 10 to 15

 agreed to sign a nondisclosure agreement that would allow them to receive “restricted”

 information about the VCLF-Patriot transaction. (Id. at 111:21-24.) After receiving the

 restricted information, none of the potential investors (other than Black Diamond) agreed to

 provide financing to VCLF and ERP. (Id. at 114:19-22.)




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        39.     Black Diamond was the only investor to come “forward and submit[] a term sheet

 to provide financing for VCLF to close on its transaction with Patriot.” (6/11/18 Tr. (Murphy)

 115:19-24.)

 V.     Black Diamond Agrees to Provide Financing to VCLF and ERP.

        40.     On August 24, 2015, Teneo’s Brendan Murphy emailed Black Diamond’s Paul

 Laud to “pass along” an “opportunity” to provide financing to VCLF and ERP in connection

 with their transaction with Patriot. (PX 16.) Mr. Murphy’s email contained the “same . . . stock

 language” that Teneo used when soliciting financing from the “other sixty or seventy parties”

 that Teneo contacted in connection with the VCLF-Patriot transaction. (6/11/18 Tr. (Murphy)

 200:21-201:6.) Like Teneo’s other solicitations, Mr. Murphy’s email indicated that VCLF and

 ERP were “looking to raise $20 million to $40 million” and that such financing could “be

 structured in a variety of securities/facilities,” including an asset-based loan or a receivables

 purchase facility. (PX 16.)

        41.     Mr. Laud forwarded Mr. Murphy’s email to Black Diamond’s Richard Ehrlich.

 (PX 312; 6/4/18 Tr. (Ehrlich) 60:6-8.) Mr. Laud indicated that if the opportunity was “of

 interest” to Black Diamond, Mr. Ehrlich should contact Mr. Murphy “directly.” (PX 312.)

        42.     Upon receiving Mr. Laud’s email, Mr. Ehrlich contacted Mr. Murphy for more

 information. (6/4/18 Tr. (Ehrlich) 61:17-23.) In response to this inquiry, Mr. Murphy forwarded

 Mr. Ehrlich a presentation titled “ERP Compliant Fuels, LLC,” dated August 27, 2015. (PX 271;

 6/4/18 Tr. (Ehrlich) 61:20-23.)

        43.     The presentation that Mr. Murphy forwarded provided a “summary” of the

 contemplated transaction between and among VCLF, ERP, and Patriot. (PX 271, at BDCF-

 00018031.) Specifically, the presentation indicated that VCLF and ERP aimed to acquire,




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 among other things, the “‘Federal’ . . . mining complex[]” and certain of the assets and liabilities

 associated with Patriot’s workers’ compensation program. (Id.)

        44.     With respect to the workers’ compensation program, the presentation represented

 that the value of Patriot’s workers’ compensation liabilities was $108 million and that these

 liabilities were secured by “Cash Collateral” valued at approximately $169 million. (PX 271, at

 BDCF-00018032; 6/4/18 Tr. (Ehrlich) 69:22-70:12.) In other words, the presentation

 represented that Patriot’s workers’ compensation program was over-secured by approximately

 $61 million. (PX 271, at BDCF-00018032; 6/4/18 Tr. (Ehrlich) 70:4-12.) VCLF and ERP

 indicated that they planned to monetize Patriot’s surplus collateral by purchasing a “Loss

 Portfolio Transfer (‘LPT’) insurance policy.” (PX 271, at BDCF-00018032.) After purchasing

 such a policy, Patriot’s surplus collateral would be “available [to] ERP.” (Id.)

        45.     In addition to information about Patriot’s workers’ compensation program, the

 presentation provided information about the Federal Mine, including financial projections. (PX

 271, at BDCF-00018039; 6/4/18 Tr. (Ehrlich) 72:18-73:2.) Specifically, the presentation

 projected that, in the “[b]ase [c]ase” scenario, the Federal Mine would have EBITDA of

 $33,874,000 in 2016 and anticipated cash flow of $15,819,100. (PX 271, at BDCF-00018039;

 6/4/18 Tr. (Ehrlich) 73:6-13.) By 2019, the Federal Mine was projected to generate

 $111,428,425 in free cash flow. (PX 271, at BDCF-00018039.)

        46.     In addition to the presentation provided by Mr. Murphy, Mr. Ehrlich reviewed the

 August 16 APA. (6/4/18 Tr. (Ehrlich) 75:5-13.)

        47.     After receiving the materials from Mr. Murphy, Mr. Ehrlich contacted Teneo to

 set up a meeting. (6/4/18 Tr. (Ehrlich) 61:17-19.)




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        48.     On Sunday, September 13, 2015, Messrs. Ehrlich, Deckoff, Clarke, Murphy, and

 Ken McCoy met in Teneo’s offices to discuss a possible financing deal between and among

 VCLF, ERP, and Black Diamond. (PX 314; PX 315; 6/4/18 Tr. (Ehrlich) 74:7-9; id. at 74:19-22;

 6/11/18 Tr. (Murphy) 124:24-125:4.) During the meeting, the parties engaged in “substantive”

 discussions about VCLF and ERP’s business plan, including VCLF and ERP’s plan for

 developing the Federal Mine. (6/8/18 Tr. (Deckoff) 10:4-14; 6/11/18 Tr. (Murphy) 125:21-25.)

 The parties also discussed the nature of Black Diamond’s business. (6/8/18 Tr. (Deckoff) 10:4-

 8.) According to Mr. Murphy, Black Diamond “had clearly done their homework before

 showing up at the meeting.” (6/11/18 Tr. (Murphy) 125:24-25; see also 6/13/18 Tr. (McCoy, K.)

 74:12-24 (“Steve, particularly, very articulate, you could tell very quickly he was bright, he was

 experienced.”).)

        49.     At the end of the meeting, Messrs. Ehrlich and Deckoff indicated that they would

 “probably send [VCLF and ERP] a term sheet.” (6/4/18 Tr. (Ehrlich) 74:17-18.) On September

 20, 2015 — just a week after meeting with VCLF and ERP — Black Diamond sent VCLF and

 ERP a draft commitment letter for their review. (DX N.)

 VI.    The Commitment Letter

        A.      Execution

        50.     Black Diamond, VCLF, and ERP executed the Commitment Letter on September

 21, 2015. (PX 40, at BDCF-00028161.)

        51.     Mr. Deckoff signed the Commitment Letter on behalf of Black Diamond, and Mr.

 Clarke signed the Commitment Letter on behalf of VCLF and ERP. (PX 40, at BDCF-

 00028161.)

        52.     The Commitment Letter was a valid, enforceable agreement. (See, e.g., Answer

 & Counterclaim (Dkt. No. 3-68), pg. 15, ¶ 61 (“Defendants . . . admit that the Commitment


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 Letter, as executed September 21, 2015, was a valid and enforceable contract.”); id. at pg. 30,

 ¶ 48 (“The Commitment Letter is a valid and enforceable contract.”).)

        53.     Nobody forced VCLF and ERP to accept the Commitment Letter’s terms.

 (6/11/18 Tr. (Murphy) 203:24-204:1; id. at 204:12-14.)

        B.      Commitment

        54.     By signing the Commitment Letter, Black Diamond committed “to provide VCLF

 with asset based loans and/or term loans in the aggregate principal amount of $25,000,000.00

 (the ‘Commitment’),” subject to the conditions set forth in the Commitment Letter. (PX 40, at

 BDCF-00028157.)

        55.     Contrary to the testimony of Mr. Clarke and others, the Commitment Letter did

 not entitle VCLF and ERP to $25 million at closing. (6/4/18 Tr. (Ehrlich) 79:8-10.) Instead, the

 amount that VCLF and ERP could draw under the Commitment Letter was governed by a

 “formula,” which “would look at accounts receivables and inventory” to determine the amount

 that VCLF and ERP could borrow. (Id. at 79:8-21; see also PX 40, at BDCF-00028163 (“The

 Borrowing Base shall be comprised of Eligible Coal Inventory and Eligible Accounts Receivable

 (each to be defined). The advance rate against Eligible Accounts Receivable shall be 80%. The

 advance rate against Eligible Coal Inventory shall be (a) 80% during the first calendar year

 following the Closing Date, and (b) 50% thereafter.”).) Thus, if coal inventory or accounts

 receivable were to be less than anticipated, the amount that would be available for borrowing

 under the Commitment Letter’s credit facility would be reduced. (6/4/18 Tr. (Ehrlich) 79:13-17.)

        56.     The Commitment Letter also did not allocate how much of Black Diamond’s

 commitment would be in the form of a term loan, and how much in the form of an asset-based

 loan. (6/11/18 Tr. (Clarke) 311:7-9 (“We had not agreed or determined yet between the parties,

 what the allocation would be between the two loans . . . .”); 6/12/18 Tr. (Clarke) 133:2-3 (“[W]e


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 had never agreed, on the commitment letter date of September 21st, how to allocate the twenty-

 five million.”).)

         57.       Thus, nothing in the Commitment Letter entitled VCLF and ERP to any particular

 amount — and certainly not $10 million — at closing. (PX 40; 6/13/18 Tr. (McCoy, K.) 144:21-

 24 (“Q. Sir, show me a single contractual commitment in this case, or refer me to it, that says

 [Black Diamond is] obligated to give you ten million dollars at closing. Can you show me that?

 A. No, sir.”).)

         C.        Consideration

         58.       In exchange for its financing commitment, Black Diamond was to receive certain

 payments and equity interests. Specifically, Black Diamond was to receive:

               a. interest payments on the loan;

               b. fees and expenses, including reasonable attorneys’ fees; and

               c. equity interests in companies to be formed by VCLF and ERP, including:

                       i. a 40% interest in “Federal Intermediate HoldCo” (“HoldCo”), a company
                          to be formed for the purpose of acquiring a 75% interest in the Federal
                          Mine; and

                      ii. a 90% interest in “HealthCo,” a company to be formed for the purpose of
                          owning the assets and liabilities associated with Patriot’s workers’
                          compensation program.

 (PX 40, at BDCF-00028163-64 & BDCF-00028166.)

         D.        Conditions

         59.       Black Diamond’s financing commitment related solely to the transaction set forth

 in the “VCLF APA.” (PX 40, at BDCF-00028157; 6/8/18 Tr. (Deckoff) 31:12-17 (“[T]he

 commitment letter that we gave was based on a specific deal. . . . And when we put the deal

 together, it was based off of that signed APA.”).) The “VCLF APA” was defined in the

 Commitment Letter as the August 16 APA “as amended, modified or supplemented prior to the


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 date hereof,” i.e. September 21, 2015. (Id. at at BDCF-00028157; 6/5/18 Tr. (Harris) 141:15-

 142:20; id. at 142:9-12.) If VCLF, ERP, and Patriot modified the August 16 APA after

 September 21, Black Diamond would not be required to fund the transaction set forth in that

 modified agreement. (6/5/18 Tr. (Harris) 142:16-19; id. at 171:3-6; 6/11/18 Tr. (Murphy) 207:5-

 7 (“[C]onceptually, if there was a major change to the transaction, Black Diamond should not

 have to agree to fund what they proposed to do.”).)

        60.     Black Diamond’s performance under the Commitment Letter was expressly

 conditioned on the consummation of the transaction described in the August 16 APA, as

 amended before September 21. (PX 40, at BDCF-00028158.) Specifically, the Commitment

 Letter provided that “[t]he Commitment and other undertakings hereunder are subject to . . . the

 entry of a final, non-appealable order of the United States Bankruptcy Court for the Eastern

 District of Virginia, Richmond Division, authorizing and approving the VCLF APA [as defined

 in the Commitment Letter].” (Id.) Black Diamond’s performance was further conditioned on

 “the approval and consummation of a transaction for the Excluded Assets (as defined in the

 VCLF APA) in form and substance acceptable to Lender.” (Id. at BDCF-00028164.)

        61.     Black Diamond’s financing commitment was subject to other conditions,

 including: (a) “the simultaneous consummation of the transactions contemplated by the VCLF

 APA”; (b) “the absence of any event or circumstance that has had or is reasonably likely to have

 a material adverse effect on VCLF”; and (c) the “completion of Lender’s business and legal due

 diligence.” (PX 40, at BDCF-00028158 & -164.)

        62.     VCLF and ERP understood that Black Diamond had not authorized them to

 execute any deal of their choosing with Patriot, no matter the terms. (6/11/18 Tr. (Murphy)

 204:15-17 (“Q. Okay. Now, Mr. Murphy, in your experience, lenders don’t write a blank check,




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 do they? A. No. I wish they did.”).) Instead, VCLF and ERP understood that Black Diamond

 had agreed to finance only the August 16 APA, as amended or modified before September 21.

 (Id. at 206:20-207:13.)

        E.       Exclusivity

        63.      In exchange for Black Diamond’s financing commitment, the parties agreed to an

 exclusivity provision (the “Exclusivity Provision”), which restricted VCLF and ERP’s ability to

 solicit alternative financing or close their transaction with Patriot without providing Black

 Diamond with the promised consideration. (PX 40, at BDCF-00028159.)

        64.      Specifically, pursuant to the Exclusivity Provision, VCLF and ERP agreed that

 they would not:

              a. “solicit or accept an offer by any person other than Black Diamond of any debt or
                 equity financing for the purpose of facilitating in any manner the consummation
                 of the transactions contemplated by the VCLF APA”; or

              b. “submit or pursue any offer for all or any material portion of the Purchased Assets
                 (as defined in the VCLF APA) in conjunction with any other person or entity
                 other than Black Diamond and its affiliates, or that does not provide for the
                 receipt by Black Diamond of the Equity Interests contemplated by the Term
                 Sheet.”

 (PX 40, at BDCF-00028159.)

        65.      Thus, in exchange for Black Diamond’s commitment to fund the transaction then

 set forth in the August 16 APA on the terms set forth in the Commitment Letter — which

 commitment VCLF and ERP needed in order to move forward and to acquire the rights to the

 Patriot assets — VCLF and ERP agreed (i) not to solicit alternative sources of financing, and (ii)

 not to do any deal for the assets that were the subject of the August 16 APA without providing

 the Equity Interests to Black Diamond.

        66.      VCLF and ERP’s obligations under the Exclusivity Provision attached at signing.

 (PX 40, at BDCF-00028159.) The language of the Exclusivity Provision expressly provides that


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 “upon acceptance of this Commitment [VCLF] shall not” solicit alternative financing or close its

 transaction with Patriot without providing Black Diamond with the equity interests. (Id.

 (emphasis added); see also 6/5/18 Tr. (Harris) 147:17-21.) Indeed, the Exclusivity Provision

 would serve no functional purpose, rendering it mere surplusage, if its restrictions on solicitation

 did not attach at signing. (6/5/18 Tr. (Harris) 147:24-148:6 (“Well, almost by definition, an

 exclusivity provision only makes sense if it attaches immediately because that commences the

 period within which the lender is going to be doing its work . . . . To attach it at a later point

 would effectively provide the very shopping period, if you will, that the exclusivity provision is

 intended to avoid.”).)

        F.      Merger and Modification Clauses

        67.     The Commitment Letter contained a merger clause, pursuant to which “VCLF

 acknowlede[d] that this Commitment Letter is the only agreement between VCLF, on the one

 hand, and the Lenders and their affiliates, on the other hand, with respect to the Senior Secured

 Facilities (as defined in the Term Sheet) and sets forth the entire understanding of the parties

 with respect to the subject matter thereof.” (PX 40, at BDCF-00028160.)

        68.     The Commitment Letter also placed restrictions on amendments to the letter,

 specifying that the Commitment Letter “may not be amended or any provision hereof waived or

 modified except by an instrument in writing signed by the party against whom enforcement of

 the same is sought.” (PX 40, at BDCF-00028160.)

        G.      VCLF and ERP’s Performance

        69.     VCLF and ERP’s obligations under the Exclusivity Provision were not contingent

 on the satisfaction of the Commitment Letter’s conditions to closing.

        70.     As an initial matter, VCLF and ERP never raised “failure of a condition

 precedent” as an affirmative defense, (see Answer & Counterclaim (Dkt. No. 3-68), at pgs. 16-


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 17), and thus, they have waived any argument that their obligations under the Exclusivity

 Provision were excused by virtue of a failure of one of the Commitment Letter’s conditions to

 closing.

        71.     More importantly, although the Commitment Letter refers to “[t]he Commitment

 and other undertakings” being subject to certain conditions, (PX 40, at BDCF-00028158), such

 language relates solely “to the commitments and undertakings of the lender,” not VCLF and

 ERP. (6/5/18 Tr. (Harris) 238:4-6.) The Exclusivity Provision expressly provides that its

 obligations attach “upon acceptance of this Commitment,” which refutes any suggestion that

 those obligations were subject to other, later conditions. (PX 40, at BDCF-00028159 (emphasis

 added).)

        72.     VCLF and ERP’s alternative reading of the Commitment Letter is not

 commercially reasonable. (6/5/18 Tr. (Harris) 238:4-6.) For example, if VCLF and ERP’s

 obligations under the Exclusivity Provision did not attach until the conditions to closing were

 satisfied, it would mean that VCLF and ERP could solicit alternative financing and/or give away

 the equity interests promised to Black Diamond at any point prior to the “consummation of the

 transactions contemplated by the VCLF APA.” (PX 40, at BDCF-00028158.) The Exclusivity

 Provision, however, was designed to restrict Defendants’ ability to solicit alternative financing

 and encumber the equity interests before closing, and thus VCLF and ERP’s reading of the

 Commitment Letter would render the Exclusivity Provision meaningless. (Id. at BDCF-

 00028159; 6/5/18 Tr. (Harris) 148:8-149:17; id. at 241:9-242:21; 6/11/18 Tr. (Murphy) 209:2-11

 (“. . . And so [Black Diamond was] extremely concerned that we would [solicit alternative

 financing], hence the exclusivity provision. But more importantly, [Black Diamond] wanted to

 drive home the fact that if we went out to Knighthead, or we went out to Coronado, or we went




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 out to some third-party capital provider that gave us better terms, [Black Diamond] would still

 receive the ninety percent in HoldCo [sic] and the thirty percent in Federal Mining Company.

 Q. And that was your understanding of what this [Exclusivity Provision] provided for, correct?

 A. It does, yes.”).)

        73.     VCLF and ERP’s reading of the Commitment Letter would also create incentives

 for VCLF and ERP to breach the Commitment Letter. For example, one of the conditions to

 closing in the Commitment Letter is “the absence of any event or circumstance that has had or is

 reasonably likely to have a material adverse effect on VCLF” or ERP. (PX 40, at BDCF-

 00028158.) Under their reading of the Commitment Letter, VCLF and ERP could engineer a

 “material adverse effect” — say, by ceding certain assets described in the August 16 APA to

 Patriot — and use this “adverse effect” to excuse their non-performance under the Commitment

 Letter. (6/5/18 Tr. (Harris) 244:9-245:3.)

        74.     In addition, VCLF and ERP’s reading of the Commitment Letter would have

 denied Black Diamond the opportunity to waive any conditions to closing. Under the

 Commitment Letter, Black Diamond was entitled to waive or excuse any conditions to closing

 that had not been satisfied. (6/5/18 Tr. (Ehrlich) 125:25-126:3; id. (Harris) at 237:10-14.)

 Allowing VCLF and ERP to unilaterally decide that the Commitment Letter’s conditions will fail

 — and thereby relieve themselves of their obligations — would deny Black Diamond the

 opportunity to waive the conditions to closing.

        75.     Finally, both Mr. Clarke and Defendants’ financial advisor, Mr. Murphy,

 understood that the Exclusivity Provision attached at signing and was not subject to other

 conditions. (6/11/18 Tr. (Murphy) 209:2-11; 6/12/18 Tr. (Clarke) 96:2-97:2.) Mr. Clarke’s

 testimony on direct examination that he believed the obligations of the Exclusivity Provision




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 were subject to other conditions is not credible in light of his prior deposition testimony, and his

 admission on cross-examination, that absent a repudiation of the Commitment Letter by Black

 Diamond, Defendants’ failure to have delivered the Equity Interests to Black Diamond would

 have violated the Exclusivity Provision. (6/12/18 Tr. (Clarke) 96:2-97:2; 6/13/18 Tr. (Clarke)

 44:1-17.)

 VII.    The Termination Date of the Commitment Letter is Extended.

         76.     By the terms of the Commitment Letter, Black Diamond’s commitment was due

 to “terminate at 5:00 p.m., New York City time, on October 8, 2015,” if the Bankruptcy Court

 had not yet entered a final, non-appealable order authorizing and approving the August 16 APA.

 (PX 40, at BDCF-00028158.)

         77.     On October 7, 2015, the parties modified the Commitment Letter by agreeing in a

 signed writing to extend its termination date by 30 days, i.e., until November 9, 2015. (PX 53;

 DX AG; 6/4/18 Tr. (Ehrlich) 88:14-89:5; 6/5/18 Tr. (Harris) 192:7-193:4; 6/11/18 Tr. (Clarke)

 340:24-341:4; 6/12/18 Tr. (Clarke) 90:21-91:4.)

         78.     The parties effected this modification by email. (6/4/18 Tr. (Ehrlich) 88:14-19;

 6/11/18 Tr. (Clarke) 340:24-341:4; 6/12/18 Tr. (Clarke) 90:21-91:4.) Both Messrs. Clarke and

 Ehrlich affixed their email signatures to emails agreeing to extend the Commitment Letter’s

 termination date. (PX 53; 6/12/18 Tr. (Clarke) 91:3-4.)

         79.     Other than this extension of the termination date, the Commitment Letter was

 never modified, and no provision of the Commitment Letter was ever waived. (6/5/18 Tr.

 (Harris) 210:2-8; 6/11/18 Tr. (Clarke) 341:5-11; see also Answer & Counterclaim (Dkt. No. 3-

 68), pg. 30, ¶ 48.)




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 VIII. Patriot and Old Republic Insurance Company Execute a Settlement Agreement.

        80.      On September 21, 2015 — the same day that VCLF, ERP, and Black Diamond

 executed the Commitment Letter — Patriot filed a motion seeking approval of a settlement

 agreement between Patriot and the Old Republic Insurance Company (“Old Republic”). (PX

 41.) This agreement provided for the settlement of Patriot’s letter of credit with Old Republic,

 which secured certain of Patriot’s workers’ compensation liabilities. (Id., ¶ 10.) Pursuant to the

 agreement, Old Republic agreed to cover these workers’ compensation liabilities and return

 $8,060,310.80 in surplus collateral to Patriot. (Id.)

        81.      Under the terms of the August 16 APA, VCLF and ERP were entitled to this

 surplus collateral. (PX 15, § 2.01(q); id. at pgs. 409-10 of 1070; 6/11/18 Tr. (Clarke) 322:15-

 20.) Patriot’s settlement agreement with Old Republic did not disturb this arrangement. To the

 contrary, the settlement agreement specified that any surplus collateral returned to Patriot would

 be “held for the benefit of Virginia Conservation Legacy Fund, Inc. (‘VCLF’) as contemplated

 by its asset purchase agreement with [Patriot].” (PX 41, ¶ 11; 6/5/18 Tr. (Ehrlich) 21:16-23:19.)

        82.      The Bankruptcy Court entered an order approving the settlement agreement on

 October 13, 2015. (PX 65.)

 IX.    Black Diamond Works to Close the Transaction.

        83.      After September 21, 2015, Black Diamond immediately began conducting due

 diligence on the VCLF-Patriot transaction. (6/12/18 Tr. (Clarke) 115:24-25 (“Black Diamond’s

 due diligence was ongoing from, you know, the minute we met.”).)

        84.      During the four-week period between the signing of the Commitment Letter and

 its breach by VCLF and ERP, Black Diamond’s due diligence included:

              a. reviewing Patriot’s historical financial information and other documents provided
                 by Patriot, (6/4/18 Tr. (Ehrlich) 108:16-25);



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              b. retaining a mining consultant to review VCLF’s mine plan and assess whether the
                 projections that VCLF and ERP provided were achievable, (PX 280; PX 325;
                 6/4/18 Tr. (Ehrlich) 89:14-16; id. at 90:6-16; id. at 91:3-92:6; id. at 93:2-11; id. at
                 95:15-96:2; 6/8/18 Tr. (Deckoff) 27:8-18);

              c. visiting the Federal Mine, (6/4/18 Tr. (Ehrlich) 90:10-16; 6/8/18 Tr. (Deckoff)
                 27:18-21);

              d. reviewing actuarial reports concerning the projected value of Patriot’s workers’
                 compensation liabilities, (PX 1; PX 2; PX 3; PX 5; PX 6; PX 7; 6/4/18 Tr.
                 (Ehrlich) 96:5-18; id. at 97:6-98:10; id. at 101:17-102:10; id. at 102:24-104:13;
                 id. at 107:13-108:9);

              e. retaining insurance brokers and actuaries to review and analyze these reports, (PX
                 274; PX 281; 6/4/18 Tr. (Ehrlich) 89:17-24; id. at 96:18-24; id. at 97:3-98:8; id. at
                 103:16-17; id. at 105:24-106:5);

              f. evaluating VCLF and ERP’s financial projections, models, and business plans,
                 (PX 284; PX 294; 6/4/18 Tr. (Ehrlich) 109:6-10; 6/8/18 Tr. (Deckoff) 28:2-8);

              g. meeting with VCLF, ERP, and Teneo numerous times, (6/4/18 Tr. (Ehrlich)
                 73:14-20; 6/5/18 Tr. (Ehrlich) 41:21-23; 6/7/18 Tr. (Potter) 214:7-25); and

              h. reviewing the proposed corporate structure of the VCLF/ERP complex, (6/5/18
                 Tr. (Harris) 154:25-155:3).

        85.      VCLF and ERP were impressed with the level of Black Diamond’s due diligence.

 (6/12/18 Tr. (Clarke) 116:3-9 (“Q. And in fact, you were impressed by the level of due diligence

 that Black Diamond performed, weren’t you? A. . . . We were very impressed.”).)

        86.      Black Diamond’s “due diligence kept right up until [October] 23[, 2015].”

 (6/12/18 Tr. (Clarke) 116:1-2.)

        87.      In addition to due diligence, Black Diamond engaged the law firm of Schulte,

 Roth & Zabel LLP (“Schulte”) to perform the legal work necessary to close its transaction with

 VCLF and ERP. (6/5/18 Tr. (Harris) 137:1-4; id. at 137:16-23; id. at 153:10-154:8.) Schulte

 diligently worked toward closing. (Id. at 165:17-22.) For example, Schulte negotiated a

 settlement with AIG, “pursuant to which AIG recognized [HealthCo] as the beneficiary of any




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 residual interest in funds that had been deposited to secure [Patriot’s] worker’s compensation

 obligations.” (Id. at 154:1-8.) Schulte also “put together a corporate structure for the various

 entities that were being created, map[ped] out how the equity would be held, [and] look[ed] into

 [various] tax issues.” (Id. at 154:25-155:3.)

 X.     VCLF and ERP Solicit Alternative Financing in Breach of the Commitment Letter.

        88.     Shortly after VCLF and ERP signed the Commitment Letter, ERP’s Jason McCoy

 began soliciting alternative financing in violation of the Commitment Letter’s Exclusivity

 Provision. (See, e.g., PX 45; PX 52; PX 66; PX 68; PX 151; PX 264.)

        89.     On September 22, 2015, the day after the Commitment Letter was signed, Mr.

 McCoy emailed Frank Wendt to request a “short term loan[]” in the amount of $150,000. (PX

 45.) In his email to Mr. Wendt, Mr. McCoy stated that he needed the loan to “pay[] for all of the

 coal related expenses” in connection with the VCLF-Patriot transaction, including “sending

 individuals up to evaluate the mines, doing sampling, [and] evaluating employees.” (Id.) Mr.

 McCoy promised to guarantee Mr. Wendt’s loan with the breakup fee that VCLF and ERP would

 earn if the VCLF-Patriot transaction did not close. (Id.)

        90.     On September 25, 2015, four days after the Commitment Letter was signed, Mr.

 McCoy emailed Tom Darden, stating: “The Black Diamond Capital group is really taking us to

 the cleaners on this — I’d much rather see cherokee get this money as opposed to Black

 Diamond. My father is around all weekend too if you would like to get together and hear from

 him about this venture.” (PX 264 (emphasis added).)

        91.     At trial, Mr. McCoy testified that this email related to post-closing “takeout”

 financing, but such testimony is simply not credible. (6/8/18 Tr. (McCoy, J.) 231:17-232:1.) As

 Mr. McCoy himself acknowledged, (i) he repeatedly solicited closing financing from Mr. Darden

 as an alternative to Black Diamond before VCLF and ERP signed the Commitment Letter on


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 September 21, and (ii) Mr. McCoy’s September 25 email soliciting financing from Mr. Darden

 uses language that is virtually identical to those pre-September 21 solicitations. (PX 21; PX 26;

 6/8/18 Tr. (McCoy, J.) 227:5-229:8.) In fact, Mr. McCoy concedes that there would have been

 no way for Mr. Darden to tell from his September 25 email that he was soliciting post-closing

 financing, as opposed to closing financing. (6/8/18 Tr. (McCoy, J.) 235:4-8.) This amounts to

 an admission that, on its face, his September 25 email seeks the same financing that Mr. McCoy

 had previously sought from Mr. Darden. Mr. McCoy’s testimony that he intended something

 else in his heart does not change the plain, objective meaning of his solicitation.

        92.     Mr. McCoy’s testimony regarding this email also is not credible given that he

 falsely stated in the email that VCLF and ERP “ha[d] not officially signed anything with Black

 Diamond,” when, in fact, VCLF and ERP had signed the Commitment Letter on September 21

 — and Mr. McCoy knew as much. (PX 264; 6/8/18 Tr. (McCoy, J.) 159:1-14.) This falsehood

 speaks to Mr. McCoy’s honesty. While Mr. McCoy claimed at trial that this was a “poor choice

 of words” and that he meant only that Defendants had not yet closed on the financing, that

 testimony cannot be reconciled with the plain language of the email.

        93.     This false statement in the email also supports the conclusion that Mr. McCoy

 was soliciting closing financing. Mr. McCoy admitted at trial that non-solicitation or “no shop”

 provisions of the type set forth in the Exclusivity Provision are common and that he expected

 Mr. Darden, who is financially sophisticated, to know as much. (6/8/18 Tr. (McCoy, J.) 233:12-

 234:4.) It is thus reasonable to infer that Mr. McCoy falsely stated that Defendants had not yet

 “signed anything” with Black Diamond precisely because (i) he was soliciting alternative

 financing to close the Patriot transaction, and (ii) he wanted Mr. Darden to believe that

 Defendants were not yet prohibited from doing so. In fact, it is difficult to conceive of any other




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 reason for Mr. McCoy to have lied to Mr. Darden about whether Defendants had already signed

 with Black Diamond.

        94.     On October 2, 2015, Mr. McCoy emailed David Williams and Michael Johnson

 about providing a loan in exchange for equity in ERP. (PX 52.) Mr. McCoy initially testified

 that this email reflected a solicitation for a personal loan, (6/8/18 Tr. (McCoy, J.) 214:12-14; id.

 at 215:3-5), but when pressed, Mr. McCoy conceded that he solicited the loan in order to fund

 due diligence on the VCLF-Patriot transaction, (id. at 218:13-18; id. at 220:15-17; id. at 221:9-

 15.) In his email to Messrs. Williams and Johnson, Mr. McCoy stated that “the 1 thing that

 could throw . . . off [the requested loan] is the terms from Black Diamond.” (PX 52.) This

 appears to be a reference to the Commitment Letter’s Exclusivity Provision, which prohibits

 VCLF and ERP from soliciting alternative financing or closing the transaction with Patriot

 without providing Black Diamond the promised equity interests. (PX 40, at BDCF-00021859.)

 Mr. McCoy’s proposal to Messrs. Williams and Johnson — which would have provided them

 with equity interests in the Federal Mine in exchange for a loan that would assist VCLF and ERP

 in closing the VCLF-Patriot transaction — ran afoul of both provisions.

        95.     On Thursday, October 15, 2015, Messrs. Clarke and Ken McCoy planned to meet

 with Black Diamond to “request some up front money” to assist with closing with the VCLF-

 Patriot transaction. (PX 68; 6/8/18 Tr. (McCoy, J.) at 244:6-18.) In anticipation of that meeting,

 VCLF and ERP solicited alternative financing in the event that Black Diamond would not agree

 to advance any funds under the Commitment Letter.

        96.     On October 12, 2015 — three days before Messrs. Clarke and Ken McCoy’s

 meeting with Black Diamond — VCLF and ERP’s counsel Patrick Potter urged Mr. Clarke to

 consider abandoning his agreement with Black Diamond and procure financing from another




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 source. (DX AS, at VCLF-000174713.) Specifically, Mr. Potter told Mr. Clarke that he should

 “consider drawing an appropriate line in the sand asap. If, as you say, you have 5 other parties

 willing to do their [i.e., Black Diamond’s] deal, then you will have to rush like mad to get that

 done. And, after this week, it really won’t be possible to close by the 26th with someone else.”

 (Id.) Mr. Clarke responded: “We will make it abundantly clear at 9:00 AM in Greenwich on

 Thursday” — i.e., October 15. (Id. at VCLF-000174172.) “We do not have 5 backups. We

 have Mercuria Energy Group.” (Id.) At trial, Mr. Clarke acknowledged that Mr. Potter was

 urging him to solicit alternative closing financing in his email, (6/12/18 Tr. (Clarke) 105:17-22),

 yet Mr. Clarke nonetheless testified that his reference to “Mercuria” as a “backup” financier did

 not relate to closing financing, (id. at 108:23-109:4.) This explanation lacks credibility, both

 because it would make Mr. Clarke’s reference to Mercuria a total non-sequitur, and in light of

 other evidence regarding Mercuria

        97.     On October 14, 2015 — one day before Messrs. Clarke and Ken McCoy’s

 meeting with Black Diamond — Jason McCoy sent a text message to Mr. Clarke and his father.

 (PX 66.) In his text message, Mr. McCoy stated: “Mike Loreman from Mercuria just called me.

 They are very eager to get involved with us. If Black Diamond gives us problems tomorrow he

 wanted to assure me that they could act fast. . . . They can also be the source to take out BD as

 they will be cheaper money.” (Id.) At trial, Mr. McCoy testified that that this text message did

 not refer to closing financing, but rather to Mercuria’s ability to assure Black Diamond of

 VCLF’s ability to sell coal. (6/8/18 Tr. (McCoy, J.) 240:11-241:6.) This testimony is not

 credible in light of Defendants’ plan for the upcoming meeting concerning which Black

 Diamond might give Defendants “problems,” i.e., requesting from Black Diamond an “advance

 [of] funds . . . under the commitment letter . . . for the purpose of . . . working towards closing.”




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 (6/8/18 Tr. 244:6-18.) Mr. McCoy’s testimony is also inconsistent with Mr. Clarke’s reference

 to Mercuria as a “backup” financier just two days earlier. (DX AS, at VCLF-000174172.)

        98.     On October 14, 2015 — the same day that he sent his text message to Messrs.

 Clarke and Ken McCoy — Jason McCoy emailed Gary Chamblee about extending a loan to

 VCLF and ERP. (PX 68.) Mr. McCoy reiterated: “On Thursday — we are meeting with Black

 Diamond to make sure everything is a go and requesting some up front money to put into our

 account so that we can go ahead and start making the transitions and be prepared for the Oct 26

 take over.” (Id.) The items that Mr. McCoy sought to finance included “setting up the

 Workman’s comp, setting up health plans, setting up the pay roll services — etc.” (Id.) Mr.

 McCoy told Mr. Chamblee that if Black Diamond would not provide this “up front money,”

 VCLF and ERP would “need . . . roughly $1 MM to line up those items . . . to be prepared for

 Oct 26.” (Id.) The items that Mr. McCoy listed were necessary to put VCLF and ERP “in a

 position to be able to close on the transaction with Patriot.” (6/8/18 Tr. (McCoy, J.) 225:10-15.)

 Indeed, Mr. McCoy testified that he planned to use Mr. Chamblee’s financing to “continue

 working towards closing the transaction with Patriot.” (Id. at 226:11-227:3.)

        99.     On October 23, 2015, Mr. McCoy emailed Michael Loreman of Mercuria at 7:47

 in the morning. (PX 151.) In his email to Mr. Loreman, Mr. McCoy stated: “Mike[,] Things are

 going 100mph — please let me know at your earliest convenience when you can get on a call

 with us this morning to discuss this patriot transaction and us working with you — we may need

 to speed this up if possible.” (Id.) At trial, Mr. McCoy testified that he told Mr. Loreman that he

 needed to “speed this up” because October 23 was “game day,” i.e., the day that VCLF and

 Patriot planned to close their transaction, and Defendants would want to work with Mercuria

 post-closing. (6/8/18 Tr. (McCoy, J.) 247:11-15; id. at 247:17-248:12; id. at 249:13-16.) Once




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 again, this testimony is not credible. First, VCLF and Patriot did not plan to close their

 transaction on October 23. (Id. at 247:16-17.) Second, Mr. McCoy sent his email to Mr.

 Loreman mere hours after VCLF and ERP’s counsel, Patrick Potter, reported that Patriot had

 asked whether VCLF “could get out of the Black Diamond commitment.” (PX 106.)

 XI.    The Bankruptcy Court Confirms Patriot’s Plan of Reorganization.

        100.    On October 9, 2015, the Bankruptcy Court entered an order confirming Patriot’s

 fourth amended joint plan of reorganization (the “Confirmation Order”). (PX 334.)

        101.    Pursuant to the Confirmation Order, the Bankruptcy Court approved the “VCLF

 APA,” which the Confirmation Order defined as the August 16 APA “as amended,

 supplemented, or modified from time to time.” (PX 334, ¶¶ 122, 26 (emphasis added).) The

 Commitment Letter, by contrast, defined the “VCLF APA” as the August 16 APA “as amended,

 modified or supplemented prior to the date hereof.” (PX 40, at BDCF-00028157 (emphasis

 added).) The Confirmation Order thus approved the August 16 APA in its then-current form, as

 well as any subsequent modifications of the August 16 APA. As noted above, however, to the

 extent Defendants and Patriot chose to modify the August 16 APA, Black Diamond had no

 obligation to finance the modified transaction.

        102.    The Confirmation Order also referenced the proceeds of the Old Republic letter of

 credit. (PX 334, ¶ 159.) Specifically, the Confirmation Order acknowledged that Patriot and

 Old Republic had executed a settlement agreement, pursuant to which Old Republic drew down

 the Old Republic letter of credit and applied part of the proceeds to Patriot’s workers’

 compensation liabilities. (Id.) Consistent with the settlement agreement, the Confirmation Order

 specified that Patriot “[had] the authority to keep the [surplus] proceeds from the [Old Republic]

 Settlement . . . as property of the Estate for, among other things, any costs incident to the

 Debtors’ emergence from chapter 11.” (Id.)


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        103.     At trial, VCLF and ERP appeared to argue that the Court’s Confirmation Order

 somehow prevented VCLF, ERP, and Patriot from consummating the transaction embodied in

 the August 16 APA. In particular, VCLF and ERP appeared to argue that because the

 Confirmation Order permitted Patriot to retain the proceeds of the Old Republic letter of credit

 — which had been promised to VCLF and ERP under the August 16 APA — the deal reflected

 in the August 16 APA was unachievable. This is not true. Under the Confirmation Order,

 Patriot had the right — but not the obligation — to retain the Old Republic proceeds. (PX 334,

 ¶ 159 (“[T]he Debtors[] have the authority to keep the proceeds from the [Old Republic]

 Settlement . . . .).) The Confirmation Order did not relieve Patriot of its contractual obligations

 under the August 16 APA, pursuant to which VCLF and ERP — not Patriot — were to obtain

 the Old Republic proceeds. (PX 15, § 2.01(q); id. at pgs. 409-10 of 1070); 6/11/18 Tr. (Clarke)

 322:16-20.)

        104.     Nor did the Confirmation Order amend or waive any provision of the

 Commitment Letter. (PX 40, at BDCF-00028157; see 6/5/18 Tr. (Harris) 210:2-8; 6/11/18 Tr.

 (Clarke) 341:5-11; see also Answer & Counterclaim (Dkt. No. 3-68), pg. 30, ¶ 48.) The

 Commitment Letter “[could] not be amended or any provision . . . waived or modified except by

 an instrument in writing signed by the party against whom enforcement of the same is sought.”

 (PX 40, at BDCF-00028160.) The Confirmation Order effected no such written waiver or

 modification.

 XII.   Black Diamond Learns of Changes to VCLF and ERP’s Business Plan.

        105.     After the execution of the Commitment Letter, Black Diamond learned of

 meaningful changes to VCLF and ERP’s business plan from that presented to Black Diamond in




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 the lead-up to the signing of the Commitment Letter. (6/4/18 Tr. (Ehrlich) 182:10-183:14; id. at

 186:25-187:24; id. at 189:1-18; 6/8/18 Tr. (Deckoff) 28:9-29:9.)

        A.      Coal Inventory

        106.    After signing the Commitment Letter, Black Diamond learned that Patriot would

 be providing VCLF and ERP with significantly less coal inventory at closing than was originally

 promised. (6/4/18 Tr. (Ehrlich) 183:8-14.)

        107.    Under the August 16 APA, Patriot agreed to provide VCLF and ERP with ten

 days’ worth of coal inventory. (PX 15, § 5.01(iv); 6/4/18 Tr. (Ehrlich) 179:25-180:16.) Mr.

 Clarke and Patriot represented that this sum equaled more than 100,000 tons of coal. (PX 324;

 6/4/18 Tr. (Ehrlich) 180:22-181:4; id. at 182:10-183:7; 6/11/18 Tr. (Murphy) 118:8-17; id. at

 120:2-9.)

        108.    After the Commitment Letter was executed, Patriot indicated that it would be

 providing VCLF and ERP with substantially less coal inventory at closing — between 30,000

 and 70,000 tons of coal. (PX 290; PX 360; 6/4/18 Tr. (Ehrlich) 183:8-185:10.)

        109.    The reduction in coal inventory was concerning to both Black Diamond and

 VCLF. (6/4/18 Tr. (Ehrlich) 184:24-185:10; 6/11/18 Tr. (Clarke) 336:9-11.) The amount of coal

 inventory that VCLF and ERP were to receive from Patriot was “critical” to the companies’

 operation. (6/12/18 Tr. (Clarke) 117:22-24.) Coal inventory can be quickly converted into cash,

 and thus reducing the amount of coal provided at closing impacted VCLF and ERP’s liquidity.

 (6/12/18 Tr. (Clarke) 117:22-118:3; 6/13/18 Tr. (McCoy, K.) 86:9-21.) In addition, Black

 Diamond’s financing commitment was tied to the amount of coal inventory that VCLF and ERP

 received. (PX 40, at BDCF-00028163; 6/4/18 Tr. (Ehrlich) 181:19-182:9.) Reducing the

 amount of inventory impacted the companies’ ability to borrow under Black Diamond’s

 commitment, further reducing their liquidity. (6/4/18 Tr. (Ehrlich) 182:4-9.)


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        B.      Longwall

        110.    Black Diamond also learned after signing the Commitment Letter that VCLF and

 ERP would be responsible for a longwall move that was originally contemplated to be completed

 by Patriot. (6/4/18 Tr. (Ehrlich) 187:8-20; 6/8/18 Tr. (Deckoff) 28:9-29:4.)

        111.    Specifically, Black Diamond learned that Patriot had slowed production at the

 Federal Mine so that a longwall move originally scheduled for September 2015 was now due to

 be completed in November 2015 — i.e., after Patriot and Defendants planned to close on their

 transaction. (PX 56; PX 59; 6/4/18 Tr. (Ehrlich) 187:8-20; 6/8/18 Tr. (Deckoff) 113:1-24;

 6/13/18 Tr. (McCoy, K.) 132:21-23.) The effect of this slowdown was to shift responsibility for

 the longwall move from Patriot to VCLF and ERP. (6/4/18 Tr. (Ehrlich) 187:16-20; 6/8/18 Tr.

 (Deckoff) 28:11-29:4.)

        112.    Shifting responsibility for the longwall move impacted VCLF and ERP’s

 profitability. (6/5/18 Tr. (Ehrlich) 33:12-15; 6/8/18 Tr. (Deckoff) 114:3-17; 6/13/18 Tr. (Clarke)

 18:10-15.) Moving a longwall costs anywhere between $3 and $5 million and can halt

 production at a mine for weeks. (6/4/18 Tr. (Ehrlich) 186:21-24; id. at 187:2-10; 6/8/18 Tr.

 (Deckoff) 29:10-16; id. at 114:6-8; 6/13/18 Tr. (McCoy, K.) 94:6-13.) Shifting responsibility for

 the longwall move increased VCLF and ERP’s expenses and inhibited their ability to produce

 coal (and thus generate cash) for a significant period of time. (6/4/18 Tr. (Ehrlich) 187:21-24;

 6/8/18 Tr. (Deckoff) 29:10-16.)

        C.      Bula Baptist Church

        113.    Finally, Black Diamond learned that ERP’s mining plan interfered with property

 owned by the Bula Baptist Church, which sat atop the Federal Mine. (6/4/18 Tr. (Ehrlich) 189:1-

 18; 6/8/18 Tr. (Deckoff) 29:5-9.) To mine coal effectively, VCLF and ERP would need to




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 purchase or pay for the relocation of the church. (PX 283; 6/4/18 Tr. (Ehrlich) 189:1-18; 6/8/18

 Tr. (Deckoff) 29:5-9; 6/13/18 Tr. (McCoy, K.) 80:10-15.)

        114.    Patriot did not have a contract with the Bula Baptist Church. (PX 283; 6/13/18

 Tr. (McCoy, K.) 81:20-23.) This meant that VCLF and ERP would have to pay the expenses

 related to purchasing and/or moving the church, further reducing the mine’s profitability. (PX

 283; 6/4/18 Tr. (Ehrlich) 189:15-18; id. at 190:2-23.)

 XIII. VCLF, ERP, and Patriot Agree in Principle to Changes to the August 16 APA
       without Black Diamond’s Knowledge or Consent.

        115.    In addition to the changes to VCLF and ERP’s business plan, Black Diamond

 learned that VCLF, ERP, and Patriot had agreed in principle to material changes to the August

 16 APA after the parties executed the Commitment Letter. (PX 49; PX 326; PX 327; 6/5/18 Tr.

 (Harris) 151:12-21; 6/8/18 Tr. (Deckoff) 33:17-34:2; 6/12/18 Tr. (Clarke) 120:20-23.)

        116.    Specifically, VCLF, ERP, and Patriot agreed in principle to amend the August 16

 APA such that:

            a. VCLF and ERP would relinquish their right to the proceeds of the Old Republic
               letter of credit, which totaled $8,060,310.80, (PX 327, at BDCF-00049807,
               § 2.04(o); PX 41, ¶ 10; 6/4/18 Tr. (Ehrlich) 201:16-202:6; 6/7/18 Tr. (Potter)
               216:12-217:6; 6/11/18 Tr. (Clarke) 322:15-20; id. at 323:15-16); and

            b. VCLF and ERP would pay Patriot $10 million at closing — an amount not
               contemplated under the August 16 APA, (PX 326, at BDCF-00044273, § 2.06(a);
               PX 327, at BDCF-00049809, § 2.06(a); 6/4/18 Tr. (Ehrlich) 199:2-9; id. at
               199:13-16; id. at 202:9-22).

        117.    VCLF, ERP, and Patriot agreed in principle to modify the August 16 APA

 without Black Diamond’s knowledge or consent. (6/4/18 Tr. (Ehrlich) 194:3-18; id. at 203:15-

 20; 6/12/18 Tr. (Clarke) 120:20-23.) Indeed, the first time that Black Diamond learned that there

 might be changes to the August 16 APA was on September 26, 2015 — five days after the




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 execution of the Commitment Letter, when Mr. Potter emailed Black Diamond’s counsel and

 stated:

           We are trying to move things forward on the deal, which [has] changed
           substantially (eg by adding multiple subsidiaries, taking different assets and
           liabilities, etc), from the fairly simple transaction in our original APA. We have
           taken some cuts at amending the APA, and I think we will need BD’s input on
           that.

 (PX 49; 6/5/18 Tr. (Harris) 151:12-16.)

           118.   Black Diamond had not agreed to fund an asset purchase agreement that was

 “substantially” different from the August 16 APA. (6/8/18 Tr. (Deckoff) 88:19-21; 6/11/18 Tr.

 (Murphy) 204:15-17; id. at 207:5-7.) To the contrary, Black Diamond had agreed to fund only

 the August 16 APA, “as amended, modified, or supplemented prior to the date [of the

 Commitment Letter].” (PX 40, at BDCF-00028157; 6/8/18 Tr. 88:19-21.)

           119.   Although Mr. Potter notified Black Diamond of “substantial[]” proposed changes

 to the August 16 APA on September 26, VCLF and ERP did not send a draft modified asset

 purchase agreement to Black Diamond until October 12, 2015, more than two weeks later, 21

 days after the Commitment Letter had been signed, and only 14 days before the transaction’s

 anticipated closing date. (PX 326; 6/4/18 Tr. (Ehrlich) 197:17-198:17; id. at 211:8-9.)

           120.   VCLF and ERP sent a further revised draft of the modified asset purchase

 agreement to Black Diamond on October 15, 2015. (PX 327.) VCLF and ERP sent Black

 Diamond this further revised draft only 11 days before the anticipated closing date. (6/4/18 Tr.

 (Ehrlich) 211:8-9.)

 XIV. Black Diamond Proposes Changes to the Draft Modified Asset Purchase Agreement.

           121.   Although Black Diamond was not required to fund a modified asset purchase

 agreement between VCLF, ERP, and Patriot, Black Diamond was “open-minded” about funding




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 a modified agreement, assuming that the parties could agree on terms. (6/8/18 Tr. (Deckoff)

 31:9-12; see also 6/5/18 Tr. (Harris) 164:3-23; 6/8/18 Tr. (Deckoff) 40:5-12; id. at 60:22-25.)

        122.    Within one day of receiving the revised draft of the modified asset purchase

 agreement, Black Diamond met with members of VCLF, ERP, Teneo, and Pillsbury in Black

 Diamond’s offices in Greenwich, Connecticut. (6/7/18 Tr. (Potter) 212:13-213:24; id. at 214:7-

 25; 6/12/18 Tr. (Clarke) 121:3-5; id. at 122:5-10.) During these meetings, Black Diamond

 proposed changes to the draft modified asset purchase agreement. (PX 289; 6/4/18 Tr. (Ehrlich)

 203:21-204:10; id. at 204:14-205:7; 6/12/18 Tr. (Clarke) 99:6-12.) The changes that Black

 Diamond proposed were beneficial to VCLF and ERP. (6/4/18 Tr. (Ehrlich) 205:2-7; 6/12/18 Tr.

 (Clarke) 122:11-14.)

        123.    VCLF and ERP submitted a revised draft of the modified asset purchase

 agreement to Patriot on October 21, 2015. (PX 289; 6/4/18 Tr. (Ehrlich) 210:25-211:2; 6/7/18

 Tr. (Potter) 112:12-17.) The revised draft incorporated changes proposed by Black Diamond and

 agreed to by VCLF and ERP. (6/7/18 Tr. (Potter) 113:13-15; 6/12/18 Tr. (Clarke) 123:3-5.)

        124.    On October 22, 2015, Patriot rejected Black Diamond’s changes to the draft

 modified asset purchase agreement. (PX 304; DX BF; 6/4/18 Tr. (Ehrlich) 210:23-24; 6/5/18 Tr.

 (Harris) 159:25-160:4; 6/7/18 Tr. (Potter) 113:16-22.) Patriot stated that Black Diamond’s

 proposed changes were “‘commercially unreasonable,’ a ‘non-starter,’ and K&E [Patriot’s

 counsel] won’t ever work from it.” (DX BF.) Indeed, upon receiving Black Diamond’s

 proposed changes, Patriot asked Pillsbury whether VCLF and ERP “could get out of the Black

 Diamond commitment.” (Id.; 6/7/18 Tr. (Potter) 116:2-8.)




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         125.   Patriot, VCLF, and Black Diamond never agreed on a modified asset purchase

 agreement. (6/4/18 Tr. (Ehrlich) 231:2-8; 6/5/18 Tr. (Harris) 152:16-153:1; 6/12/18 Tr. (Clarke)

 86:1-16.)

         126.   The only executed asset purchase agreement in effect before the closing of the

 VCLF-Patriot transaction was the August 16 APA. (PX 15; PX 220; 6/5/18 Tr. (Ehrlich) 79:11-

 12; 6/7/18 Tr. 257:19-258:9.)

 XV.     Six Days Before the Anticipated Closing, VCLF and ERP Finally Provide Black
         Diamond with Updated Financial Models.

         127.   On October 20, 2015 — while the parties were negotiating changes to the draft

 modified asset purchase agreement, and just six days before the transaction’s anticipated closing

 date — VCLF and ERP provided Black Diamond with an updated financial model. (PX 284;

 6/4/18 Tr. (Ehrlich) 111:11-20.)

         128.   VCLF and ERP had not provided Black Diamond with an updated financial

 model since September 21, 2015, despite Black Diamond’s repeated requests for such a model.

 (6/4/18 Tr. (Ehrlich) 111:11-23; id. at 174:11-19.)

         129.   The model (and other information) that Black Diamond had been provided before

 October 20 was “simplified” in nature and did not “incorporate[] assumptions necessary to make

 a determination as to whether . . . lending to [VCLF and ERP] was reasonable or not.” (6/4/18

 Tr. (Ehrlich) 111:13-20.) The updated model that VCLF and ERP provided on October 20 was

 the first to contain the “assumptions necessary” for Black Diamond to make a lending decision.

 (Id.)

         130.   The updated model that Black Diamond received on October 20 reflected

 financial projections for the Federal Mine that were materially lower than those reflected in the

 business model that Black Diamond had received before the Commitment Letter was signed.



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 (Compare PX 284 with PX 313, at BDCF-00018290.) For example, the business plan that Black

 Diamond received before September 21 projected EBITDA for the Federal Mine of $33,858,000

 in 2016 and free cash flow of $15,950,000. (PX 313, at BDCF-0018290; 6/4/18 Tr. (Ehrlich)

 116:5-14.) The financial model that Black Diamond received on October 20, however, projected

 EBIDTA for the Federal Mine of only $9,841,500 in 2016 and free cash flow of negative

 $4,635,900. (PX 284; 6/4/18 Tr. (Ehrlich) 115:13-16.) The revised financial model did not

 provide cash flow projections for years after 2016. (PX 284.)

        131.    At trial, VCLF and ERP pointed to an October 11, 2015 email from Teneo’s

 Zachary Messenger, which attached a “13 Week Cash Budget” for the Federal Mine, as evidence

 that they had provided Black Diamond with updated financial models, including as to the

 Federal Mine, prior to October 20. (DX FR; 6/11/18 Tr. (Murphy) 267:20-270:12.) But that

 document contained no financial projections for fiscal year 2016, let alone subsequent fiscal

 years. (DX FR; 6/11/18 Tr. (Murphy) 273:22-25.) Accordingly, it is uncontroverted that the

 first time that Black Diamond was provided with updated financial projections for the Federal

 Mine for year-end 2016 was on October 20, 2015 — just six days before the VCLF-Patriot

 transaction was scheduled to close.

        132.    In sum, less than a week before VCLF, ERP, and Patriot contemplated closing the

 VCLF-Patriot transaction, Black Diamond learned that VCLF, ERP, and Patriot’s proposed

 changes to the August 16 APA resulted in a $20 million reduction in VCLF and ERP’s free cash

 flow in 2016, transforming the Federal Mine from a profitable entity to an unprofitable one.

 (Compare PX 284 with PX 313, at BDCF-00018290.) In response, Black Diamond proposed

 changes to the draft modified asset purchase agreement in order to make its terms more favorable

 to VCLF and ERP. (6/4/18 Tr. (Ehrlich) 205:2-7; 6/12/18 Tr. (Clarke) 122:11-14.) But when




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 these changes were presented to Patriot, Patriot rejected them. (PX 304; DX BF; 6/4/18 Tr.

 (Ehrlich) 210:23-24; 6/5/18 Tr. (Harris) 159:25-160:4; 6/7/18 Tr. (Potter) 113:16-22.) Indeed,

 Patriot refused to even work off of the draft asset purchase agreement that reflected Black

 Diamond’s changes. (DX BF.)

 XVI. Messrs. Ehrlich and Clarke Discuss Changes to Black Diamond’s Financing
      Commitment.

        133.    In light of the changes to the August 16 APA that were being discussed during the

 week of October 19, 2015, Messrs. Ehrlich and Clarke discussed changes to Black Diamond’s

 financing commitment on October 22 and 23. (6/4/18 Tr. (Ehrlich) 212:15-213:6; 6/5/18 Tr.

 (Ehrlich) 5:2-13; 6/12/18 Tr. (Clarke) 127:21-132:14; id. at 134:23-135:9; id. at 136:4-23; id. at

 137:1-11.)

        134.    The proposed changes related solely to the terms pursuant to which Black

 Diamond would finance the transaction set forth in the draft modified asset purchase agreement

 that VCLF and ERP presented to Patriot on October 21, not the August 16 APA. (PX 111; PX

 113; PX 115; PX 116.)

        135.    VCLF and ERP point to these discussions as evidence of Black Diamond’s

 supposed repudiation of the Commitment Letter. This argument is a red herring. As discussed

 above, the Commitment Letter related solely to the deal embodied in the August 16 APA, “as

 amended, modified or supplemented prior to [September 21, 2015].” (PX 40, at BDCF-

 00028157-58; 6/8/18 Tr. (Deckoff) 31:12-17.) And VCLF and ERP’s witnesses concede that

 Black Diamond never refused to fund the August 16 APA on the terms set forth in the

 Commitment Letter. (6/11/18 Tr. (Murphy) 238:20-25; id. at 239:21-23; 6/12/18 Tr. (Clarke)

 87:13-19; id. at 98:2-18; id. at 100:24-101:22.) Indeed, VCLF and ERP’s witnesses concede that

 they never asked Black Diamond to fund the August 16 APA on the terms set forth in the



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 Commitment Letter. (6/7/18 Tr. (Potter) 151:22-152:3; 6/12/18 Tr. (Clarke) 98:2-18; id. at

 101:12-15.) Accordingly, the parties’ discussions of October 22 and 23 regarding the terms on

 which Black Diamond would finance the transaction in a new, different agreement between

 Defendants and Patriot — which Black Diamond had no contractual obligation to do (PX 40, at

 BDCF-00028158; 6/11/18 Tr. (Murphy) 207:5-7) — cannot establish that Black Diamond

 repudiated a contractual obligation.

        A.      Messrs. Ehrlich and Clarke Discuss Changes to Black Diamond’s Financing
                Commitment on October 22, 2015.

        136.    Messrs. Ehrlich and Clarke had at least five phone calls on October 22 about

 proposed changes to Black Diamond’s financing terms in connection with a new proposed

 transaction between Defendants and Patriot. (PX 253, lines 185, 193, 204, 212, 216; 6/4/18 Tr.

 (Ehrlich) 215:20-217:23; 6/12/18 Tr. (Clarke) 127:21-128:5.) During these calls, Messrs.

 Ehrlich and Clarke discussed the following modifications to Black Diamond’s financing

 commitment:

             a. a shift from an asset-based loan to a receivables purchase facility, (6/4/18 Tr.
                (Ehrlich) 213:7-214:22; 6/12/18 Tr. (Clarke) 132:7-10);

             b. a reduction in the face amount of Black Diamond’s financing, from $25 million to
                $20 million, (6/4/18 Tr. (Ehrlich) 214:23-215:13; 6/12/18 Tr. (Clarke) 136:5-12);

             c. a delayed draw on the term loan, (6/12/18 Tr. (Clarke) 148:9-149:1);

             d. a personal guarantee from Mr. Clarke, (6/12/18 Tr. (Clarke) 137:4-11); and

             e. financial covenants, (6/4/18 Tr. (Ehrlich) 233:21-24).

        137.    During these calls, Mr. Clarke stated that the financing terms that Mr. Ehrlich

 proposed were “fine.” (6/4/18 Tr. (Ehrlich) 218:1-17.) Specifically, and as he admitted at trial,

 Mr. Clarke was:

             a. “willing to consider” and “actually liked” a receivables purchase facility, (6/12/18
                Tr. (Clarke) 132:11-14; id. at 135:3-9);


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             b. “willing to accept” a reduction in the face amount of Black Diamond’s financing
                commitment, (6/12/18 Tr. (Clarke) 136:13-23);

             c. “open to the possibility of a personal guarantee,” (6/12/18 Tr. (Clarke) 167:1-4;
                see also id. at 137:4-11); and

             d. not “all that concerned about the financial covenants,” (6/12/18 Tr. (Clarke)
                139:18-142:4).

        138.    Indeed, Mr. Clarke offered to provide a personal guarantee. (6/4/18 Tr. (Ehrlich)

 227:20-228:4; id. at 228:14-17.)

        139.    Mr. Clarke did not express any negativity about Mr. Ehrlich’s proposal. (6/4/18

 Tr. (Ehrlich) 218:10-17 (“Q. Tell me something. Did [Mr. Clarke] express any negativity about

 [the receivables purchase facility]? A. I don’t recall any negativity regarding the receivables . . .

 facility. . . . Q. Was there anything in that conversation that led you to believe he was rejecting

 your proposals? A. No, not at all.”).)

        B.      Teneo Runs Financial Models on October 22, 2015 Reflecting Modified
                Financing Terms.

        140.    After speaking with Mr. Ehrlich, Mr. Clarke directed Teneo to run financial

 models reflecting the terms discussed with Mr. Ehrlich. (6/11/18 Tr. (Murphy) 151:12-152:5.)

        141.    On October 22, 2015, Teneo ran a revised financial model reflecting:

             a. a shift from an asset-based loan to a receivables purchase facility;

             b. a delayed draw on the term loan; and

             c. financial covenants.

 (DX BK.)




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        C.      Messrs. Ehrlich and Clarke Discuss the New Financing Terms on October 23,
                2015.

        142.    At 7:01 a.m. on October 23, Mr. Clarke sent Mr. Ehrlich an email attaching a

 financial model. (PX 109.) The financial model reflected the terms that Messrs. Ehrlich and

 Clarke discussed the night before, including a receivables purchase facility. (Id.)

        143.    In the body of his email, Mr. Clarke wrote: “You are right…we have an

 abundance of cash in Q4. I am going to write up a couple of thoughts on structure.” (PX 109.)

        144.    The financial model that Mr. Clarke attached to his email showed that if VCLF

 received a $2.5 million term loan at closing, the Federal Mine would be able to meet all of its

 closing costs and retain a positive cash balance of $2.5 million. (PX 109.) By year end, the

 Federal Mine would have a positive cash balance of $23,006,406.64. (Id.)

        145.    At 7:04 a.m., Mr. Clarke sent a second email to Mr. Ehrlich, attaching the same

 model that he circulated at 7:01 a.m. (PX 125.) In the body of his email, Mr. Clarke wrote:

 “Updated for ‘Receivables Purchase Facility’, Penn Virginia proposal, $5,000,000 Term Loan (2

 fundings) and $5,000,000 equity proposal.” (Id.)

        146.    Mr. Clarke said nothing about any purported need for additional cash at closing in

 either his 7:01 a.m. or 7:04 a.m. emails. (PX 109; PX 125; 6/12/18 Tr. (Clarke) 158:5-21; id. at

 161:23-162:1.) He also did not say that the terms proposed by Black Diamond were not

 acceptable.

        147.    Messrs. Clarke and Ehrlich spoke by phone at 8:47 a.m. (PX 253, line 272;

 6/4/18 Tr. (Ehrlich) 221:2-22; 6/12/18 Tr. (Clarke) 162:6-21.) On this call, Mr. Ehrlich told Mr.

 Clarke that he would be receiving an email from Hugo Gravenhorst, a BDCF employee,

 memorializing the terms that Messrs. Ehrlich and Clarke had discussed the night before. (6/5/18

 Tr. (Ehrlich) 68:12-21; 6/12/18 Tr. (Clarke) 169:8-10.)



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        148.    At 10:24 a.m., Mr. Gravenhorst sent an email to Mr. Clarke with the subject line:

 “Summary of ERP Facilities.” (PX 111.) Mr. Gravenhorst’s email reflected the terms that

 Messrs. Ehrlich and Clarke discussed on October 22. (Id.) Specifically, the email reflected:

            a. VCLF and ERP’s receipt of a receivables purchase facility, with a purchase
               capacity up to $15 million, (id., § 1.e);

            b. VCLF and ERP’s receipt of a $5 million term loan, (id., § 2.m);

            c. a delayed draw on the term loan, until after VCLF and ERP completed the
               longwall move, (id., § 2.r);

            d. a personal guarantee from Mr. Clarke, (id., §§ 1.j & 2.u); and

            e. financial covenants, (id., § 2.t).

 Each of these terms corresponded to things that Mr. Clarke was “open to” on October 22.

 (6/12/18 Tr. (Clarke) 132:11-14; id. at 135:3-9; id. at 136:13-23; id. at 137:4-11; id. at 138:16-

 142:4; id. at 167:1-4.)

        149.    The terms reflected in Mr. Gravenhorst’s email related solely to the “draft revised

 APA dated October 21, 2015, that [Black Diamond] previously approved.” (PX 111, at BDCF-

 00076338.) Nowhere in Mr. Gravenhorst’s email did Black Diamond refuse to fund the August

 16 APA on the terms set forth in the Commitment Letter. (Id.)

        150.    Mr. Gravenhorst’s email asked Mr. Clarke to “confirm by email that [he]

 approve[d] and agree[d] to these changes.” (PX 111, at BDCF-00076338.)

        151.    Messrs. Ehrlich and Clarke discussed Mr. Gravenhorst’s email by phone. (PX

 253 lines 283, 284, 296, 299, 305; 6/4/18 Tr. (Ehrlich) 231:9-233:12; 6/12/18 Tr. (Clarke)

 167:12-168:15.) Messrs. Ehrlich and Clarke had at least five phone calls about the email

 between 10:24 a.m. and 1:20 p.m. (PX 253 lines 283, 284, 296, 299, 305.)




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         152.   During these calls, Mr. Clarke requested changes to Black Diamond’s financing

 terms. (6/4/18 Tr. (Ehrlich) 233:4-12.) Specifically, Mr. Clarke requested a larger term loan and

 cash at closing. (Id. at 233:25-234:4.)

         153.   Black Diamond agreed to these changes. (6/4/18 Tr. (Ehrlich) 234:19-23; id. at

 236:3-4; 6/12/18 Tr. (Clarke) 170:24-171:3; id. at 171:18-20.)

         154.   At 1:20 p.m., Mr. Gravenhorst sent Mr. Clarke a second email. (PX 113.) Mr.

 Gravenhorst’s 1:20 p.m. email reflected the changes that Mr. Clarke discussed with Mr. Ehrlich

 by phone. (Id.; 6/4/18 Tr. (Ehrlich) 234:19-23; id. at 236:3-4.) Specifically, Mr. Gravenhorst’s

 email increased the amount of Black Diamond’s term loan and provided VCLF and ERP with

 $2.5 million in cash at closing. (PX 113, at §§ 2.c & 2.h; 6/4/18 Tr. (Ehrlich) 234:19-23; id. at

 236:3-4.) This was the same amount of cash at closing that was reflected in the model that Mr.

 Clarke had attached to his email to Mr. Ehrlich earlier that day saying “[y]ou are right.” (PX

 109.)

         155.   Although Mr. Gravenhorst’s email provided cash at closing, it proposed

 restrictions on VCLF’s ability to use that cash for a period of time. (PX 113, at § 2.l.)

 Specifically, Mr. Gravenhorst’s email stated that only $1.5 million of the $2.5 million in cash

 provided at closing could be used to pay “legal expense[s]” until “the Term Loan commitment

 has been reduced to $5mm.” (Id.) Of this sum, $1 million could be paid to Pillsbury, and $0.5

 million could be paid to Schulte. (Id.) Black Diamond proposed this restriction to ensure that

 VCLF and ERP had sufficient cash at closing to operate the Federal Mine. (6/8/18 Tr. (Deckoff)

 38:14-39:9.)

         156.   Once again, the terms reflected in Mr. Gravenhorst’s email related solely to the

 “draft revised APA dated October 21, 2015.” (PX 113, at BDCF-00076458.)




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           157.   After Mr. Gravenhorst’s 1:20 p.m. email, Messrs. Ehrlich and Clarke spoke by

 phone. (PX 253, line 315; 6/4/18 Tr. (Ehrlich) 238:20-240:3; 6/12/18 Tr. (Clarke) 173:9-11.)

 During the call, negotiations continued, and Mr. Clarke asked for additional funds to pay his

 attorneys. (6/4/18 Tr. (Ehrlich) 239:17-240:3.)

           158.   Black Diamond agreed to this change. (6/4/18 Tr. (Ehrlich) 240:4-241:5.)

           159.   At 2:04 p.m., Mr. Gravenhorst sent Mr. Clarke a third email. (PX 115.) Mr.

 Gravenhorst’s 2:04 p.m. email increased the amount of cash that could be used to pay “legal

 expense[s]” at closing, from $1.5 million to $2.5 million. (Id., § 2.l.)

           160.   Mr. Gravenhorst sent Mr. Clarke a fourth email at 2:18 p.m. (PX 116.) Mr.

 Gravenhorst’s 2:18 p.m. email clarified that VCLF and ERP could pay their attorneys up to $2

 million at closing, up from the $1.5 million allowed in the 1:20 p.m. email. (Id., § 2.l; 6/4/18 Tr.

 (Ehrlich) 241:14-22; 6/12/18 Tr. (Clarke) 8-20; id. at 176:1-177:23; id. at 179:15-180:6.) Half a

 million dollars would continue to go towards Black Diamond’s legal expenses. (PX 116, § 2.l.)

           161.   Messrs. Ehrlich and Clarke spoke by phone again at 5:20 p.m. (PX 253, line 388;

 6/4/18 Tr. (Ehrlich) 245:19-246:12.) On the call, Mr. Clarke stated that he needed to talk to his

 business partners. (6/4/18 Tr. (Ehrlich) 242:10-243:4.) Mr. Ehrlich told Mr. Clarke to let Black

 Diamond “know what [they] can do. We’re here [and] we want to get this done.” (Id. at 242:22-

 243:1.)

 XVII. VCLF and ERP Call Off the Financing Transaction with Patriot.

           162.   At 1:00 p.m. on October 23, Mr. Clarke forwarded Mr. Gravenhorst’s 10:24 a.m.

 email to Ken and Jason McCoy. (DX CE.)

           163.   After receiving Mr. Clarke’s email, Ken McCoy stated: “I don’t like this deal one

 bit. There are many risks in coal mining. [Black Diamond] wants all the reward and zero risks

 even to your personal guarantee. I don’t trust them.” (DX CE.)


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        164.     Around 1:00 p.m. on October 23, Ken McCoy had a telephone call with VCLF’s

 counsel, Mr. Potter. (6/7/18 Tr. (Potter) 118:9-12; id. at 119:1-4.) During that call, Mr. McCoy

 stated that “he was not prepared to go forward with Black Diamond anymore.” (Id. at 118:13-

 16; see also id. at 130:20-24.)

        165.     At 3:10 p.m. on October 23, Mr. Clarke forwarded Mr. Gravenhorst’s 2:18 p.m.

 email to Mr. Potter and others. (DX CF.)

        166.     After receiving Mr. Clarke’s email, Mr. Potter responded: “Total Non Starter.

 This is DEAD!! No one can believe Pillsbury will work on closing this.” (DX CF; 6/7/18 Tr.

 (Potter) 118:5-8.) Five minutes later, Mr. Potter continued: “But if there is a way to keep them

 [Black Diamond] on the hook to increase their legal fees before we cut them loose I would like

 to explore it.” (DX CG; 6/7/18 Tr. (Potter) 124:9-15.)

        167.     When Messrs. McCoy and Potter made these statements, they did not have full

 information about Mr. Clarke’s interactions with Black Diamond. Specifically, they did not

 know that:

              a. Mr. Clarke had been negotiating with Black Diamond continuously since mid-day
                 on October 22;

              b. Mr. Clarke told Mr. Ehrlich that he was “willing to consider” many of the changes
                 reflected in Mr. Gravenhorst’s emails;

              c. Mr. Clarke had offered a personal guarantee;

              d. Mr. Gravenhorst had sent multiple emails to Mr. Clarke on October 23, which
                 incrementally revised the proposed financing terms at Mr. Clarke’s request; and

              e. Black Diamond’s proposed financing terms became more favorable to VCLF over
                 the course of the day.

 (DX DH; DX DI; DX DM; PX 188; 6/4/18 Tr. (Ehrlich) 227:20-228:4; id. at 228:14-17; 6/7/18

 Tr. (Potter) 135:14-20; id. at 137:3-7; id. at 138:19-25; id. at 139:13-19; id. at 139:22-140:6; id.




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 at 141:16-143:6; id. at 144:16-145:8; 6/13/18 Tr. (McCoy, K.) 139:9-11; id. at 140:15-17; id. at

 142:2-4.)

        168.    At approximately 4:00 p.m. on October 23, Messrs. Clarke, Ken McCoy, Jason

 McCoy, Potter, Murphy, and others had a conference call about Mr. Gravenhorst’s emails.

 (6/7/18 Tr. (Potter) 140:4-6; id. at 234:17-22; 6/11/18 Tr. (Murphy) 174:20-175:16; 6/12/18 Tr.

 (Clarke) 192:12-193:1.) During the call, Defendants decided to stop negotiating with Black

 Diamond. (6/12/18 Tr. (Clarke) 194:5-10 (“And the decision was made; . . . [w]e decided to

 terminate the negotiations.”); see also 6/13/18 Tr. (McCoy, K.) 120:4-12.) It is undisputed that

 Black Diamond never stopped negotiating. (6/12/18 Tr. (Clarke) 190:14 (“Black Diamond never

 did stop negotiating.”).)

        169.    Notwithstanding Defendants’ decision to stop negotiating, Messrs. McCoy and

 Potter were concerned that Mr. Clarke would “agree to something” with Black Diamond.

 (6/7/18 Tr. (Potter) 119:7-23; id. at 123:4-11; 6/13/18 Tr. (McCoy, K.) 118:3-12; id. at 118:19-

 119:2.) At 5:28 p.m., Ken McCoy emailed Mr. Potter and said that he wanted to “follow [Mr.

 Potter’s] lead across the finish line.” (DX CI.) Mr. Potter responded: “There is a force at work

 here. Honestly, I was going to call you. . . . The message I was going to call and say is that BD

 will try to suck Tom back into this. We can’t let that happen. We won’t.” (Id.)

        170.    Mr. Potter instructed Messrs. Clarke, Ken McCoy, Jason McCoy, and Murphy not

 to respond to any further calls and emails from Black Diamond. (6/11/18 Tr. (Murphy) 258:12-

 259:8; 6/12/18 Tr. (Clarke) 192:1-17; id. at 194:23-24.) Mr. Potter’s instruction was designed to

 prevent any deal from being negotiated and “increase [Black Diamond’s] legal fees before

 [VCLF and ERP] cut them loose.” (DX CG; 6/7/18 Tr. (Potter) 124:9-15.)




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 XVIII. Black Diamond Did Not “Jam” VCLF and ERP.

        171.   VCLF and ERP characterize Mr. Ehrlich’s initial proposal to VCLF on October

 22 and Mr. Gravenhorst’s emails to Mr. Clarke on October 23 as a “jam job.” (6/11/18 Tr.

 (Murphy) 171:10-172:9.) This characterization, however, overlooks two key facts.

        172.   First, the characterization overlooks the events that took place during the ten days

 immediately preceding October 22, 2015, during which:

            a. VCLF and ERP presented Black Diamond with a radically different draft asset
               purchase agreement, which contemplated, among other things, VCLF and ERP
               relinquishing more than $8 million in cash promised to them under the August 16
               APA and paying Patriot an additional $10 million for the assets at issue, (PX 326,
               at BDCF-00044273, § 2.06(a); PX 327, at BDCF-00049807, § 2.04(o); id. at
               BDCF-00049809, § 2.06(a); PX 41, ¶ 10; 6/4/18 Tr. (Ehrlich) 199:2-9; id. at
               199:13-16; id. at 201:16-202:22; 6/7/18 Tr. (Potter) 216:12-217:6; 6/11/8 Tr.
               (Clarke) 322:15-20; id. at 323:15-16);

            b. VCLF and ERP presented Black Diamond with an updated financial model,
               which reflected materially different financial projections for the Federal Mine,
               including a $20 million reduction in the Federal Mine’s free cash flow in 2016
               (compare PX 284 with PX 313, at BDCF-00018290); and

            c. VCLF and ERP informed Black Diamond of material changes to their business
               plan, including a reduction in the amount of coal inventory they were to receive at
               closing, responsibility for a longwall move to be completed shortly after closing,
               and an obligation to purchase or move a church sitting atop the Federal Mine,
               which interfered with ERP’s mining plan, (6/4/18 Tr. (Ehrlich) 182:10-183:14; id.
               at 186:25-187:24; id. at 189:1-18; 6/8/18 Tr. (Deckoff) 28:9-29:9.)

        173.   Second, Black Diamond had no obligation of any kind to fund a proposed

 modified asset purchase agreement. (PX 40, at BDCF-00028157; 6/8/18 Tr. (Deckoff) 31:12-

 17.) To the contrary, Black Diamond’s obligations under the Commitment Letter related solely

 to the deal embodied in the August 16 APA, not any other deal. (PX 40, at BDCF-00028157-

 58.) VCLF and ERP’s witnesses testified that Black Diamond knew of proposed changes to the

 August 16 APA in advance of October 22, but that cannot alter the simple and straightforward

 fact that Black Diamond had no financing obligation with respect to a modified asset purchase



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 agreement. To the extent that VCLF and ERP complain about the timing of the parties’

 negotiations over the terms pursuant to which Black Diamond would fund a different deal than

 the one that was the subject of the Commitment Letter, Defendants have only themselves to

 blame for not seeking to negotiate new terms with Black Diamond sooner.

 XIX. Black Diamond Repeatedly Reaches Out to VCLF and ERP to Continue
      Negotiations.

        174.    Throughout the day on October 24 and 25, 2015, Black Diamond repeatedly

 reached out to VCLF and ERP to discuss the financing terms that Black Diamond proposed on

 October 23. (PX 158; PX 183; PX 296; PX 299; PX 349; 6/4/18 Tr. (Ehrlich) 243:19-245:15;

 6/8/18 Tr. (Deckoff) 44:13-23; id. at 46:9-48:8; 6/12/18 Tr. (Clarke) 30:8-15; id. at 191:7-13.)

        175.    No one affiliated with VCLF or ERP responded to Black Diamond’s calls, emails,

 or text messages. (PX 349; 6/4/18 Tr. (Ehrlich) 243:5-20; id. at 245:12-15; 6/8/18 Tr. (Deckoff)

 44:13-23; id. at 48:2-8; 6/11/18 Tr. (Murphy) 186:8-14; id. at 258:7-259:8; 6/12/18 Tr. (Clarke)

 30:16-20.)

        176.    Mr. Murphy testified that this radio silence was at the instruction of counsel.

 (6/11/18 Tr. (Murphy) 258:22-259:8 (“Q. Was there a specific reason why you weren’t calling

 people back at Black Diamond before you got the instruction from Mr. [Keary] to call him back?

 . . . A. So I received legal advice not to call him back. Q. Had you been directed not to call

 him back? A. I had received legal advice not to call him back.”).)

 XX.    VCLF and ERP Secure Alternative Financing from Patriot and the UMWA.

        177.    Between October 23 and 25, 2015, VCLF and ERP sought financing from various

 individuals and entities in order to close the VCLF-Patriot transaction. (PX 137; PX 151; PX

 163; PX 167; PX 203; PX 209; PX 212; PX 270; DX CP; 6/8/18 Tr. (McCoy, J.) 196:7-199:19;




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 id. at 246:16- 250:3; id. at 253:5-255:6; id. at 255:9-258:19; id. at 261:24-262:13; 6/11/18 Tr.

 (Murphy) 178:1-179:2; 6/12/18 Tr. (Clarke) 31:18-32:9; id. at 195:16-23.)

        178.    At 8:54 p.m. on October 23, Mr. Potter emailed Ross Kwasteniet, counsel for

 Patriot, and asked for Patriot’s help in securing alternative financing. (PX 124; 6/7/18 Tr.

 (Potter) 127:3-128:5.) Specifically, Mr. Potter wrote:

        While we have the BD deal and can close with an eye towards taking them out
        later, its [sic] too rich as you pointed out. But it has other bad features, including
        Tom’s personal guaranty. Obviously, we are exploring all reasonable
        opportunities and alternatives. . . . I emphasized getting an[] APA done this
        weekend. Everyone gets it. It would be easier to finalize and sign if BD is out of
        the picture. Anything you can do to help would be appreciated. We would all
        love to see this go in a direction other than BD . . . .

 (PX 124.)

        179.    On Saturday, October 24, 2015, VCLF and ERP reached agreements in principle

 with Patriot and the UMWA to provide alternative financing to facilitate the closing of the

 VCLF-Patriot transaction. (PX 175; PX 301; PX 221; PX 180, at BDCF-00077262; 6/7/18 Tr.

 (Potter) 126:13-127:2; 6/12/18 Tr. (Clarke) 197:4-12.)

        180.    In particular, Patriot agreed to provide a $5 million loan to VCLF and ERP to

 enable them to close the VCLF-Patriot transaction. (PX 301; 6/12/18 Tr. (Clarke) 197:4-6; id. at

 197:13-22.) In exchange for its loan, Patriot would receive interest income as well as

 distributions from ERP Settlement, LLC (“ERP Settlement”), the entity the parties also referred

 to as HealthCo. (PX 301; 6/12/18 Tr. (Clarke) 199:17-200:7.)

        181.    The UMWA agreed to provide $10 million in equity financing to VCLF and ERP

 to enable them to close the VCLF-Patriot transaction. (PX 221; 6/12/18 Tr. (Clarke) 197:7-12.)

 In exchange for its financing, the UMWA would receive a 20% interest in the Federal Mine and

 preferred shares in ERP Settlement. (PX 221, at VCLF-00160295.) The UMWA’s preferred




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 shares would entitle it to distributions from ERP Settlement. (Id. at VCLF-00160295-96;

 6/12/18 Tr. (Clarke) 200:7-9.)

        182.    VCLF and ERP’s internal analysis indicated that they believed that their deal with

 Patriot and the UMWA would be more advantageous to them than their deal with Black

 Diamond. (PX 208; DX EG; DX FN; 6/12/18 Tr. (Clarke) 195:24-196:5; id. at 196:22-197:3.)

 Specifically, on October 26, 2015, Mr. Murphy circulated a spreadsheet titled

 “Patriot_HealthCo_Analysis_7pm.” (PX 208; DX EG; DX FN.) The spreadsheet showed the

 projected distributions that VCLF and ERP would receive from HealthCo under their“[n]ew

 [d]eal” with Patriot and the UMWA, as compared to their “[o]ld [d]eal” with Black Diamond.

 (PX 208; DX EG; DX FN.) Mr. Murphy’s spreadsheet reflected that, under the “[o]ld [d]eal,”

 VCLF would receive $5.1 million in HealthCo distributions, but under the “[n]ew [d]eal,” VCLF

 and ERP would receive $11.575 million in distributions — an increase of nearly $6.5 million.

 (PX 208; DX EG; DX FN; 6/12/18 Tr. (Clarke) 196:22-197:3.)

        183.    In sum, the uncontroverted evidence shows that (i) Defendants and Patriot agreed

 in principle to change the terms of their transaction from those that Black Diamond had

 contractually committed to finance; (ii) Defendants sought and procured financing to close on

 this alternative transaction from sources other than Black Diamond, and in fact chose to stop

 negotiating with Black Diamond over such financing; and (iii) Defendants’ internally projected

 that the alternative financing that they negotiated would be materially advantageous to them as

 compared to the financing terms set forth in the Commitment Letter.




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 XXI. Mr. Potter Writes a Letter Accusing Black Diamond of Repudiation — Without
      Knowing about Black Diamond’s Negotiations with Mr. Clarke.

        184.    After VCLF and ERP secured agreements in principle with Patriot and the

 UMWA to provide closing financing, Mr. Potter began drafting a letter to Black Diamond

 accusing it of repudiating the Commitment Letter. (6/7/18 Tr. (Potter) 131:5-13.)

        185.    Mr. Potter circulated a draft of his letter at 10:53 a.m. on October 25, 2015 — two

 days after VCLF and ERP had cut off negotiations with Black Diamond. (PX 186.)

        186.    As a basis for repudiation, Mr. Potter cited Mr. Gravenhorst’s October 23 email

 from “approximately 2:20 p.m.” (PX 186, at VCLF-00183517.) Mr. Potter’s draft letter did not

 reference any of the other emails that Mr. Gravenhorst sent on October 23. (Id.; 6/7/18 Tr.

 (Potter) 133:6-17.)

        187.    After receiving Mr. Potter’s draft letter, Mr. Clarke wrote: “Patrick, I have some

 comments and additional facts.” (DX DF; 6/12/18 Tr. (Clarke) 182:10-183:10.)

        188.    Mr. Clarke then began forwarding Mr. Potter the other emails that Mr.

 Gravenhorst sent on October 23. (DX DH; DX DI; DX DM; PX 188; 6/7/18 Tr. (Potter) 134:15-

 139:1.) Before receiving these emails, Mr. Potter did not know that Mr. Gravenhorst had sent

 more than one email. (6/7/18 Tr. (Potter) 135:17-20; id. at 141:16-21; id. at 144:16-19.)

        189.    In response to Mr. Clarke’s emails, Mr. Potter asked:

            a. “What is this and why am I just now getting it? What’s the difference from the
               2pm?,” (DX DH; 6/7/18 Tr. (Potter) 135:14-20);

            b. “What’s going on?,” (DX DI; 6/7/18 Tr. (Potter) 137:3-7);

            c. “They sent us 4 different proposals during the day on Friday? This is just
               unamanageable [sic],” (DX DM, at VCLF-00183652; 6/7/18 Tr. (Potter) 138:19-
               139:1).

        190.    In response to Mr. Potter’s emails, Mr. Clarke stated that he had been “trying to

 negotiate while they [Black Diamond] were sending updates.” (DX DM, at VCLF-00183652.)


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 Before receiving Mr. Clarke’s email, Mr. Potter did not know that Mr. Clarke had been

 negotiating with Black Diamond about the terms of Mr. Gravenhorst’s emails. (6/7/18 Tr.

 (Clarke) 141:22-143:6.) Indeed, Mr. Potter did not know that Mr. Clarke had been speaking to

 Black Diamond at all. (Id. at 145:1-3.)

        191.    In response to Mr. Clarke’s email, Mr. Potter asked: “Did you respond to any by

 email? . . . Did you verbally agree to anything? From Friday morning to our first crisis call with

 the team, did you speak with anyone at BD about these 4 emails from them? Are they going to

 come back and say that you facilitated these proposals or agreed to portions of the terms?” (DX

 DM, VCLF-00183652; 6/7/18 Tr. (Potter) 139:13-140:6.) Obviously, ongoing negotiations

 would be inconsistent with Mr. Potter’s newly formed “repudiation” theory.

        192.    Mr. Clarke responded by describing his negotiations with Black Diamond in more

 detail. (DX DM, at VCLF-00183651.) Specifically, Mr. Clarke stated: “I kept pushing Rich on

 the telephone to fund the $10 million up front. He went up to $2.5 million with $2 million for

 PL [Pillsbury Law]. I wanted to see how far he would go in order to present our team with the

 options. Then Ken weighed in that he has lost trust regardless.” (Id.; 6/12/18 Tr. (Clarke)

 179:15-180:17.)

        193.    Before receiving Mr. Clarke’s email, Mr. Potter did not know that Mr. Clarke had

 been “pushing” Black Diamond to see “how far [it] would go.” (6/7/18 Tr. (Potter) 141:22-

 143:6.) Nor did Mr. Potter know that Black Diamond had changed its financing proposal over

 the course of October 23 to make its terms more favorable to VCLF and ERP. (Id. at 144:20-

 25.)




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        194.    Notwithstanding the new information showing continuous negotiations that

 Defendants, not Black Diamond, terminated, Mr. Potter did not reassess his decision to send

 Black Diamond a letter accusing it of repudiation. (PX 297; 6/7/18 Tr. (Potter) 148:10-12.)

 XXII. VCLF and ERP Falsely Accuse Black Diamond of Repudiation.

        195.    At 3:41 p.m. on October 25, 2015, Mr. Potter sent Schulte’s Adam Harris a letter

 accusing Black Diamond of “anticipatorily breaching or otherwise repudiating the Commitment

 Letter.” (PX 297, at BDCF-00077219 & -234; 6/7/18 Tr. (Potter) 148:10-12.)

        196.    As “evidence” of repudiation, Mr. Potter cited the emails that Mr. Gravenhorst

 sent on October 23 as well as Black Diamond’s failure to provide definitive loan documentation.

 (PX 297, at BDCF-00077233-34.) Mr. Potter’s letter, however, does not accurately reflect the

 parties’ course of conduct.

            a. As noted above, Mr. Gravenhorst’s emails related solely to the draft modified
               asset purchase agreement that VCLF and ERP presented to Patriot on October 21,
               not the August 16 APA that Black Diamond had agreed to fund pursuant to the
               Commitment Letter. (PX 111; PX 113; PX 115; PX 116.) Black Diamond had
               no contractual obligation to fund a modified asset purchase agreement, (PX 40, at
               BDCF-00028158), and thus Mr. Gravenhorst’s emails cannot amount to
               repudiation.

            b. Mr. Potter’s letter also mischaracterizes Black Diamond’s work on loan
               documentation. As Mr. Harris testified at trial, Black Diamond believed that it
               would have made little sense to provide draft loan documentation before the terms
               of VCLF and ERP’s transaction with Patriot were finally settled and due diligence
               was complete. (6/5/18 Tr. (Harris) 156:1-4.) As explained above, VCLF and
               ERP did not provide Black Diamond with the proposed revised terms of their deal
               with Patriot until October 12, 2015, and those terms were still in flux as of
               October 23. In any event, contrary to Mr. Potter’s assertion, Schulte had begun
               drafting loan documentation before October 23. (6/5/18 Tr. (Harris) 218:6-19.)

        197.    Mr. Potter’s letter asked “Black Diamond [to] advise VCLF as to whether [it]

 intend[ed] to close tomorrow [i.e., October 26] under the BD Commitment (without

 modification), and under the original form of APA acceptable to Patriot as modified during the

 course of the confirmation process and last Thursday’s negotiations (not the version tendered by


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 Black Diamond to VCLF on Wednesday evening).” (PX 297, at BDCF-00077234 (emphasis in

 original).) The letter thus asked Black Diamond to provide the same financing for the new

 transaction negotiated between Defendants and Patriot that Black Diamond had agreed to in the

 Commitment Letter to provide for the transaction set forth in the August 16 APA.

        198.    Black Diamond had never agreed to fund the “original form of APA acceptable to

 Patriot as modified during the course of the confirmation process and last Thursday’s

 negotiations.” (PX 40 (emphasis added); 6/5/18 Tr. (Ehrlich) 5:17-6:14; id. (Harris) at 166:9-25;

 6/8/18 Tr. (Deckoff) 88:19-21.) Indeed, Black Diamond had not even seen the draft agreement

 to which Mr. Potter was referring. (6/5/18 Tr. (Ehrlich) 5:17-6:14; id. (Harris) at 166:9-167:7;

 6/7/18 Tr. (Potter) 149:19-150:9.)

        199.    At 6:21 p.m. on October 25, Mr. Harris responded to Mr. Potter’s letter. (PX 179;

 DX DD; 6/5/18 Tr. (Harris) 219:23-220:3.)

        200.    In his email to Mr. Potter, Mr. Harris clarified that Black Diamond was prepared

 to consummate a financing transaction in connection with the draft modified asset purchase

 agreement on the terms set forth in Mr. Gravenhorst’s emails, which “for the avoidance of

 doubt” had been “vetted” with Mr. Clarke. (PX 179; 6/5/18 Tr. (Harris) 167:11-168:11.) To the

 extent that there were open business terms, Mr. Harris stated that Black Diamond was “ready,

 willing and able to address them through continued good faith negotiations.” (PX 179.)

        201.    Mr. Harris did not expressly reference the Commitment Letter in his 6:21 p.m.

 email. (PX 179.) This was because Mr. Potter’s letter concerned only the terms on which Black

 Diamond would fund “the new deal that [VCLF] had cut with Patriot.” (6/5/18 Tr. (Harris)

 168:12-24; 6/7/18 Tr. (Potter) 149:19-150:4; id. at 151:22-152:3.) Indeed, Defendants concede

 that they never asked — and Black Diamond never refused — to fund the August 16 APA




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 pursuant to the terms set forth in the Commitment Letter. (6/7/18 Tr. (Potter) 151:22-152:3; see

 also 6/12/18 Tr. (Clarke) 98:2-18; id. at 101:12-15.)

        202.    Mr. Potter responded to Mr. Harris’s email at 8:43 p.m. (PX 180.)

        203.    Mr. Potter stated that Mr. Harris’s “email confirms that Black Diamond is not

 prepared to close on the terms contained in the September 21, 2015 Commitment Letter, the only

 agreement between Black Diamond and VCLF.” (PX 180, at BDCF-00077262.) This statement

 was not true, however. As Defendants conceded at trial, Mr. Potter had not asked Black

 Diamond to close on the terms of the Commitment Letter, which were limited to financing the

 transaction set forth in the August 16 APA as it existed on September 21, 2015. (6/7/18 Tr.

 (Potter) 151:22-152:3; 6/12/18 Tr. (Clarke) 98:2-18; id. at 101:12-15.) And Black Diamond had

 never said it would not close on those terms. (6/5/18 Tr. (Ehrlich) 5:14-16; id. at 6:15-18; id. at

 7:8-16; id. (Harris) at 131:5-16; id. at 164:24-25; id. at 173:7-13; 6/8/18 Tr. (Deckoff) 48:20-

 49:2; 6/11/18 Tr. (Murphy) 238:20-25; id. at 239:21-23; 6/12/18 Tr. (Clarke) 87:13-19.) Mr.

 Potter further stated that VCLF “has no choice but to accept an alternative financing commitment

 which was presented to VCLF late last night by Patriot after we responsibly reported to the

 company the risk of non-closure due to the proposals sent to VCLF by Mr. Galvenhorst [sic] on

 Friday.” (PX 180, at BDCF-00077262.)

        204.    Mr. Harris responded to Mr. Potter’s 8:43 p.m. letter at 11:34 p.m. (PX 181;

 6/5/18 Tr. (Harris) 173:23-174:2.)

        205.    In his email to Mr. Potter, Mr. Harris stated that Black Diamond was prepared to

 consummate a financing transaction based upon:

            a. “the terms of the September 21st Commitment Letter, which in turn was based
               upon the Asset Purchase Agreement executed by VCLF and Patriot on August 16,
               2015”;




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            b. “Mr. Gravenhorst’s emails to VCLF on Friday,” which in turn were based on a
               “change[d] . . . Asset Purchase Agreement”; or

            c. based upon any other “acceptable resolution of any remaining business issues so
               as to permit VCLF to promptly consummate its transaction with Patriot.”

 (PX 181; 6/5/18 Tr. (Harris) 173:23-174:19.)

        206.    No one affiliated with VCLF or ERP responded to Mr. Harris’s 11:34 p.m. email.

 (6/5/18 Tr. (Harris) 175:2-4.)

 XXIII. VCLF and ERP Close Their Transaction with Patriot without Providing Black
        Diamond with the Equity Interests.

        207.    VCLF and ERP closed their transaction with Patriot on October 27, 2015. (PX

 388; 6/11/18 Tr. (Clarke) 309:18-19; 6/12/18 Tr. (Clarke) 32:18-22.)

        208.    VCLF and ERP closed their transaction with Patriot with financing from Patriot

 and the UMWA. (PX 221; PX 301; 6/12/18 Tr. (Clarke) 92:12-17; id. at 92:21-24; id. at 197:4-

 12.)

        209.    VCLF and ERP closed their transaction with Patriot without providing Black

 Diamond with the promised Equity Interests. (6/5/18 Tr. (Ehrlich) 128:1-7; id. (Harris) at

 181:14-25; 6/8/18 Tr. (Deckoff) 77:6-7.)

 XXIV. Black Diamond Did Not Repudiate the Commitment Letter.

        210.    Black Diamond did not repudiate the Commitment Letter. (6/5/18 Tr. (Ehrlich)

 4:22-5:16; id. (Harris) at 163:25:165:3.)

        211.    At no point following the execution of the Commitment Letter did VCLF and

 ERP ever ask Black Diamond to fund the August 16 APA on the terms set forth in the

 Commitment Letter. (6/7/18 Tr. (Potter) 151:22-152:3 (“Q. . . . [A]t no point, following the

 execution of the commitment letter, did you ever ask Black Diamond to provide financing on the

 terms set forth in the commitment letter in connection with the transaction embodied in the



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 August 16th APA as it existed as of September 21st, correct? A. As it existed as of September

 21st, that’s correct.”); 6/12/18 Tr. (Clarke) 98:2-18 (“Q. You never asked Black Diamond to

 close and provide the financing . . . set forth in the commitment letter, in connection with VCLF

 closing on the transaction set forth in the APA between VCLF and Patriot, as amended as of

 September 21st, 2015, did you? . . . A. I didn’t ask [Black Diamond] to close on the August 16th

 asset purchase agreement, no.”); id. at 101:12-15 (“So no, I didn’t go to [Black Diamond],

 verbally or in writing, and say, please close the transaction on the terms of the commitment

 letter, based on the August 16th commitment letter — August 16th asset purchase agreement

 . . . .”).)

           212.   Indeed, Black Diamond never refused to fund the August 16 APA on the terms set

 forth in the Commitment Letter. (PX 181; 6/5/18 Tr. (Ehrlich) 5:14-16; id. at 6:15-18; id. at 7:8-

 16; id. (Harris) at 131:5-16; id. at 164:24-25; id. at 173:7-13; 6/8/18 Tr. (Deckoff) 48:20-49:2;

 6/11/18 Tr. (Murphy) 238:20-25; id. at 239:21-23; 6/12/18 Tr. (Clarke) 87:13-19.)

           213.   Black Diamond never refused to fund a modified asset purchase agreement. (PX

 181; 6/5/18 Tr. (Ehrlich) 5:7-13; 6/8/18 Tr. (Deckoff) 34:3-16; id. at 38:8-13; id. at 60:19-25.)

           214.   Black Diamond never refused to continue negotiations regarding the terms on

 which it would finance a modified asset purchase agreement. (PX 181; 6/5/18 Tr. (Ehrlich)

 5:14-16; 6/8/18 Tr. (Deckoff) 40:2-4; id. at 54:16-18; 6/12/18 Tr. (Clarke) 190:14 (“Black

 Diamond never did stop negotiating.”).)

           215.   Black Diamond never said that the financing terms that it proposed on October 22

 and 23, 2015 were the “best that [it] could do.” (6/5/18 Tr. (Ehrlich) 73:8-12; 6/8/18 Tr.

 (Deckoff) 40:2-4; id. at 54:16-18.)




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        216.    As an initial matter, whether or not Black Diamond indicated that the terms that it

 proposed on October 22 and 23, 2015 were the “best that [it] could do” is immaterial, as those

 financing terms related solely to the new deal that VCLF, ERP, and Patriot negotiated after the

 Commitment Letter was signed, not the August 16 APA, which Black Diamond committed to

 finance pursuant to the Commitment Letter. (See, e.g., PX 111; PX 113; PX 115; PX 116.)

        217.    Moreover, Mr. Clarke’s testimony that Mr. Ehrlich told him in an October 22

 phone call that terms that Black Diamond proposed were the “best that [it] could do” is not

 credible. (6/12/18 Tr. (Clarke) 181:3-12.) First, Mr. Clarke never stated in any of the many

 contemporaneous emails that he sent between October 23 and 25 that Black Diamond had told

 him that its proposed financing terms were the best that it could do. (PX 109; PX 125; PX 133;

 PX 188; PX 194; DX DF; DX DH; DX DI.) Second, Mr. Clarke testified that he could not

 remember the words that Mr. Ehrlich used when he supposedly told Mr. Clarke that Black

 Diamond would not continue negotiations over financing terms, (6/12/18 Tr. (Clarke) 181:3-12),

 and Mr. Clarke’s testimony directly conflicts with that of Mr. Ehrlich, who testified that he never

 offered financing terms on a “take it or leave it” basis, (6/5/18 Tr. (Ehrlich) 73:8-12). In any

 event, even if Mr. Ehrlich stated on October 22 that Black Diamond’s proposed financing terms

 were the “best that [it] could do,” it was obvious to Mr. Clarke that Black Diamond’s proposal

 was not its final offer. Indeed, the very next day, Black Diamond provided better financing

 terms to VCLF and ERP, including by increasing the amount of the term loan and providing

 VCLF with more cash at closing. (PX 111; PX 113; PX 115; PX 116; 6/4/18 Tr. 235:6-11.)

        218.    At trial, Messrs. Clarke and Ken McCoy also testified that Black Diamond

 repudiated the Commitment Letter by refusing to provide VCLF and ERP with $10 million in

 cash at closing. (6/11/18 Tr. (Clarke) 343:20-23; 6/12/18 Tr. (Clarke) 92:10-11; id. at 163:19-




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 22; 6/13/18 Tr. (McCoy, K.) 142:10-12.) Mr. Clarke further testified that he repeatedly told Mr.

 Ehrlich that he needed $10 million in cash, and that he would not do a deal with Black Diamond

 unless he received this $10 million. (6/11/18 Tr. (Clarke) 335:1-3 (“I told him at a minimum, we

 had to have the ten million term loan.”); 6/12/18 Tr. (Clarke) 19:9-12 (“I repeatedly indicated

 that without cash at closing — the original committed, at a minimum, ten million dollars of cash

 at closing — the transaction simply would not work.”); id. at 28:14-17 (“[A]ll of Thursday and

 early Friday morning was spent on trying to convince [Mr. Ehrlich] to fund the ten million under

 the commitment letter up front.”); id. at 135:16-22 (“So I was focused on cash at closing. So

 even if Mr. Ehrlich had said, I’m going to give you a fifty-million term loan but it had delayed

 funding, it would have been inadequate. . . . I’ve got to have at least ten million; ten million at

 closing. Ten million at closing.”); id. at 148:13-18 (“So the concept of the reduction — the

 concept of the receivables purchase facility going to fifteen, and the term loan going to five, was

 a nonstarter for me. It was a no. . . . We needed ten million dollars.”); id. at 156:15-16 (“I can’t

 do anything less than ten million.”).)

        219.    VCLF and ERP were never entitled to $10 million in cash at closing under the

 Commitment Letter, however. The Commitment Letter makes no reference to any funding

 amount at closing and never allocated the amount of Black Diamond’s financing commitment

 between a term loan and an asset-based loan. (PX 40; 6/12/18 Tr. (Clarke) 133:2-3; 6/13/18 Tr.

 (Clarke) 55:11-19; 6/13/18 Tr. (McCoy, K.) 144:21-24 (“Q. Sir, show me a single contractual

 commitment in this case, or refer me to it, that says [Black Diamond is] obligated to give you ten

 million dollars at closing. Can you show me that? A. No sir.”).)




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 XXV. Black Diamond Suffered Damages as a Result of VCLF and ERP’s Breach of the
      Commitment Letter.

        220.    Black Diamond suffered damages as a result of VCLF and ERP’s breach of the

 Commitment Letter. (See, e.g., 6/4/18 Tr. (Ehrlich) 80:2-11; 6/5/18 Tr. (Ehrlich) 9:5-9; id.

 (Harris) at 128:1-7; id. at 177:11-178:4.) In particular, Black Diamond suffered: (i) lost interest

 income; (ii) unpaid fees and expenses; and (iii) damages related to VCLF and ERP’s failure to

 provide Black Diamond with the promised equity interests in HoldCo and HealthCo.

        A.      VCLF and ERP’s Breach of the Commitment Letter Resulted in Black Diamond’s
                Loss of More than $5 Million in Interest Income.

        221.    Under the Commitment Letter, Black Diamond was entitled to receive interest

 income on the loans that it extended to VCLF and ERP. (PX 40, at BDCF-00028163-64; 6/5/18

 Tr. (Ehrlich) 9:5-9; id. at 9:20-21.) The interest rates specified in the Commitment Letter were:

 (i) 17% per annum for the first year of the loans’ duration; and (ii) 12% per annum for the next

 two years. (PX 40, at BDCF-00028163-64; 6/5/18 Tr. 9:13-15.) The loans’ maturity date was

 three years from the date of Black Diamond’s initial funding. (PX 40, at BDCF-00028162.)

        222.    Over the loans’ duration, Black Diamond would have earned at least $5 million in

 interest income. (6/5/18 Tr. (Ehrlich) 9:5-21.) Mr. Ehrlich calculated this figure by assuming

 that: (i) VCLF and ERP would borrow $14.5 million under the Commitment Letter, and

 (ii) VCLF and ERP would repay their loans in two and a half years. (Id. at 9:10-21.) These

 assumptions are conservative, as: (i) the face amount of Black Diamond’s financing commitment

 was $25 million, and (ii) the loans’ specified duration was three years. (PX 40, at BDCF-

 00028157; id. at BDCF-00028162-64.) If VCLF and ERP borrowed the full $25 million under

 the Commitment Letter and repaid their loans in three years, Black Diamond would have earned

 interest income substantially in excess of $5 million.




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        223.    Defendants neither called Mr. Ehrlich’s calculation into question at trial, nor

 introduced a competing or conflicting calculation of Black Diamond’s lost interest income.

        B.      VCLF and ERP Were Required to Reimburse Black Diamond for the Attorneys’
                Fees that Black Diamond Incurred in Connection with Its Financing Transaction
                with VCLF and ERP.

        224.    Under the Commitment Letter, VCLF and ERP were required to reimburse Black

 Diamond for “all out of pocket fees and expenses (including the reasonable fees and expenses of

 counsel) incurred in connection with the preparation, negotiation, execution and delivery of the

 Loan Facility Documentation and the consummation of the transactions contemplated thereby.”

 (PX 40, at BDCF-00028166.)

        225.    Black Diamond incurred attorneys’ fees in connection with the consummation of

 its financing transaction with VCLF and ERP. (6/5/18 Tr. (Harris) 177:3-6.) Specifically, Black

 Diamond incurred attorneys’ fees in connection with, among other things, drafting the

 Commitment Letter; facilitating HealthCo’s assumption of Patriot’s workers’ compensation

 collateral; devising a corporate structure; assessing tax issues; and preparing loan documentation.

 (DX AN; DX ER; 6/5/18 Tr. (Harris) 177:3-178:4; id. at 154:1-8; id. at 154:25-155:7; id. at

 165:17-18.)

        226.    Black Diamond’s attorneys’ fees totaled $286,000. (DX AN; DX ER; 6/5/18 Tr.

 (Harris) 178:1-4.)

        C.      VCLF and ERP Were Required to Provide Black Diamond with an Equity Interest
                in HoldCo, Which Equity Interest Had a Value of $26,666,784.65 as of October
                26, 2015.

        227.    Under the Commitment Letter, Black Diamond was to receive a 40% interest in

 HoldCo, a holding company to be formed to “acquire a 75% interest in ERP Federal Mining

 Complex, LLC (the entity that owns (or will own) the assets and liabilities associated with the

 Federal Mine Complex . . .).” (PX 40, at BDCF-00028166.) Black Diamond’s 40% interest in


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 HoldCo thus would have provided it a 30% interest (40% of 75%) in the Federal Mine. (6/4/18

 Tr. (Ehrlich) 80:2-11.)

        228.    VCLF and ERP were required to provide Black Diamond with the promised

 equity interest in HoldCo regardless of whether they took financing from Black Diamond. (PX

 40, at BDCF-00028159; 6/5/18 Tr. (Harris) 227:15-18.) Indeed, Mr. Clarke acknowledged at

 trial that VCLF and ERP would violate the Commitment Letter if they closed their transaction

 with Patriot without providing Black Diamond with the promised equity interests, as long as

 Black Diamond did not repudiate the Commitment Letter. (6/12/18 Tr. (Clarke) 96:16-97:2;

 6/13/18 Tr. (Clarke) 44:1-17.)

        229.    Defendants’ own documents show that the Federal Mine had a value of

 $88,889,282.16 as of October 25, 2015, the approximate date of their breach of the Commitment

 Letter. (PX 249, at 15-16; id. at Ex. B.) This figure is derived from VCLF and ERP’s responses

 to Black Diamond’s interrogatories, pursuant to which Black Diamond requested that VCLF and

 ERP “[i]dentify the value of the Federal Mine Complex on October 25, 2015 . . . and provide the

 basis for [that] value.” (Id. at 15.) In response to this interrogatory, VCLF and ERP stated that

 “information responsive to” the request “is set forth in” the attached “Unaudited Condensed

 Balance Sheet of ERP Federal Mining Complex, LLC, as of October 27, 2015.” (Id. at 16.) The

 attached balance sheet listed the Federal Mine’s members’ capital as $88,889,282.16. (Id. at Ex.

 B.) As Mr. Clarke acknowledged at trial, members’ capital is the only way to determine a

 company’s value based on the company’s balance sheet. (6/12/18 Tr. (Clarke) 202:13-16; id. at

 205:10-23.)

        230.    Mr. Clarke signed VCLF and ERP’s interrogatory responses under penalty of

 perjury. (PX 249, at 22; 6/12/18 Tr. (Clarke) 211:15-19.) In doing so, Mr. Clarke attested that




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 the interrogatory responses were “true to the best of [his] knowledge, information and belief.”

 (PX 249, at 22.)

        231.    Based on VCLF and ERP’s interrogatory responses, Black Diamond’s 30%

 interest in the Federal Mine had a value of $26,666,784.65 on October 25, 2015.

        D.      VCLF and ERP Were Required to Provide Black Diamond with an Equity Interest
                in HealthCo, Which Equity Interest Had a Value of at Least $35,220,895.38 as of
                October 26, 2015.

                1.      Black Diamond Was Entitled to an Equity Interest in HealthCo.

        232.    Under the Commitment Letter, Black Diamond was to receive a 90% interest in

 HealthCo, an entity to be created to “acquire the assets and liabilities associated with the

 workers’ compensation programs currently administered by Patriot Coal Corporation and its

 affiliates.” (PX 40, at BDCF-00028166.)

        233.    VCLF and ERP were required to provide Black Diamond with the promised

 equity interest in HealthCo regardless of whether they took financing from Black Diamond. (PX

 40, at BDCF-00028159; 6/5/18 Tr. (Harris) 227:15-18.) Indeed, Mr. Clarke acknowledged at

 trial that VCLF and ERP would violate the Commitment Letter if they closed their transaction

 with Patriot without providing Black Diamond with the promised equity interests, as long as

 Black Diamond did not repudiate the Commitment Letter. (6/12/18 Tr. (Clarke) 96:16-97:2;

 6/13/18 Tr.(Clarke) 44:1-17.)

                2.      VCLF and ERP Assigned a Value of $52,156,854.68 to Black Diamond’s
                        Interest in HealthCo as of October 25, 2015.

        234.    Defendants’ own documents show that HealthCo had a value of $57,952,060.76

 as of October 25, 2015. (PX 249, at 16; id. at Ex. D.) This figure is derived from VCLF and

 ERP’s responses to Black Diamond’s interrogatories, pursuant to which Black Diamond

 requested that VCLF and ERP “[i]dentify the value of the assets and liabilities associated with



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 the worker’s compensation programs previously administered by Patriot on October 25, 2015 . . .

 and provide the basis for [that] value.” (Id. at 16.) In response to this interrogatory, VCLF and

 ERP stated that “information responsive to” the request “is set forth in” the attached “Unaudited

 Condensed Balance Sheet of ERP Settlement, LLC, as of October 27, 2015.” (Id.) The attached

 balance sheet listed the total members’ capital in ERP Settlement as $57,952,060.76. (Id. at Ex.

 D.) As Mr. Clarke acknowledged at trial, members’ capital is the only way to determine a

 company’s value based on the company’s balance sheet. (6/12/18 Tr. (Clarke) 202:13-16; id. at

 205:10-23.)

        235.    Mr. Clarke signed VCLF and ERP’s interrogatory responses under penalty of

 perjury. (PX 249, at 22; 6/12/18 Tr. (Clarke) 211:15-19.) In doing so, Mr. Clarke attested that

 the interrogatory responses were “true to the best of [his] knowledge, information and belief.”

 (PX 249, at 22.)

        236.    Based on VCLF and ERP’s interrogatory responses, Black Diamond’s 90%

 interest in HealthCo had a value of $52,156,854.68 on October 25, 2015.

                3.     Black Diamond’s Expert Assigned a Value of $35,220,895.38 to Black
                       Diamond’s Interest in HealthCo as of October 26, 2015.

        237.    Black Diamond retained damages expert Robert K. Briscoe to perform a valuation

 of HealthCo’s assets and liabilities as of or around October 26, 2015. (PX 261, at 5.)

        238.    Mr. Briscoe is a principal of Milliman, Inc. (“Milliman”), one of the world’s

 largest providers of actuarial and related products and services. (PX 261, at 3; Qualifications of

 Robert K. Briscoe Pursuant to Local Rule 9017-1(B) (Dkt. No. 391) (“Qualifications”), at 2.)

 Mr. Briscoe holds the Workers’ Compensation Professional (“WCP”) designation of the

 American Society of Workers’ Compensation Professionals (“AMComp”), and is a member of




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 the board of directors of AMComp. (PX 261, at 3; Qualifications, at 2; 6/6/18 Tr. (Briscoe)

 29:11-16.)

        239.    Mr. Briscoe has over 40 years’ experience in the national workers’ compensation

 field. (PX 261, at 3; Qualifications, at 2.) He has advised “[m]any hundreds” of coal clients in

 connection with their workers’ compensation liabilities, including most of the largest U.S. coal

 operators and a large sampling of second- and third-rank coal producers. (PX 261, at 3; 6/6/18

 Tr. (Briscoe) 31:23-25.) Mr. Briscoe’s experience with analyzing coal operators’ workers’

 compensation liabilities includes analyzing individual workers’ compensation claims, including

 occupational disease (“OD”) claims; calculating funding models; and valuing traumatic injury

 and OD liabilities. (PX 261, at 3-4; Qualifications, at 3-6; 6/6/18 Tr. (Briscoe) 30:15-31:25.) He

 has valued “tens of thousands” of traumatic injury claims over the course of his career as well as

 “many thousands” of state and federal black lung claims. (6/6/18 Tr. (Briscoe) 30:15-31:7.)

        240.    VCLF and ERP “don’t dispute that Mr. Briscoe is an expert actuary on liabilities

 and workers’ compensation liabilities.” (6/6/18 Tr. (Briscoe) 16:20-22.)

        241.    To calculate the value of HealthCo’s assets and liabilities as of October 26, 2015,

 Mr. Briscoe performed three tasks.

        242.    First, Mr. Briscoe reviewed actuarial reports prepared by Oliver Wyman and

 Milliman, which valued Patriot’s traumatic injury and black lung liabilities as of year-end 2014

 and 2015. (PX 261, at 5; id. at 7-11; id. at 14-15; see also PX 7; PX 245; PX 248; DX FK;

 6/6/18 Tr. (Briscoe) 81:20-82:4; id. at 82:20-84:13.) These reports were prepared in the normal

 course of business to establish Patriot’s “balance-sheet liabilities.” (6/6/18 Tr. 84:14-17; id. at

 85:12-18.) Mr. Briscoe determined that both the Oliver Wyman and Milliman reports used

 “absolutely standard” actuarial methods to project Patriot’s workers’ compensation liabilities.




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 (6/6/18 Tr. 90:24-25; see also PX 7; PX 245; PX 248; PX 261, at 7-8; id. at 13-15; DX FK;

 6/6/18 Tr. (Briscoe) 90:12-91:14.) Mr. Briscoe did not “disagree with the use of any of [the

 methods]” that Oliver Wyman and Milliman used, although he noted that some of the methods

 used by Oliver Wyman were “obviously conservative” in nature. (6/6/18 Tr. (Briscoe) 91:16-

 92:16.) Based on the use of such conservative approaches, Mr. Briscoe determined that the

 Oliver Wyman reports reflected a “reasonable but conservative” estimate of Patriot’s traumatic

 injury liabilities. (Id. at 92:17-20.)

         243.    Second, after determining the reasonableness of the estimates reflected in the

 Oliver Wyman and Milliman reports, Mr. Briscoe made adjustments to the reports’ calculations

 in order to determine the present value of Patriot’s projected liabilities as of October 26, 2015.

 (PX 261, at 11-12; id. at 15; id. at App’x A & B; see also DX FK.) Mr. Briscoe determined that

 the present value of Patriot’s traumatic injury liabilities as of October 26 was $98,848,565, and

 the present value of Patriot’s state black lung liabilities was $24,080,371. (PX 261, at 12, 15;

 6/6/18 Tr. (Briscoe) 93:5-22; id. at 95:11-14; id. at 101:12-102:3; see also DX FK.)

         244.    Third, Mr. Briscoe calculated the value of the surplus collateral associated with

 Patriot’s workers’ compensation programs as of October 26, 2015. (PX 261, at 15-19; see also

 DX FK.) To calculate the surplus collateral, Mr. Briscoe compared the amount of the letters of

 credit that VCLF and ERP assumed pursuant to the asset purchase agreement, dated October 27,

 2015 (the “October 27 APA”), to the value of the liabilities secured by those letters of credit.

 (PX 261, at 15-19; PX 220, §§ 2.01(q), 2.03(e), 2.05(f), 2.04(o) & 9.02; id. at VCLF-00102444-

 45; PX 41, ¶ 10; 6/6/18 Tr. (Briscoe) 102:6-106:25.) Comparing the amount of the letters of

 credit assumed by VCLF and ERP to the value of the liabilities they secured, Mr. Briscoe




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 determined that the surplus collateral associated with Patriot’s workers’ compensation program

 as of October 26, 2015 was $39,134,328.20. (PX 261, at 19; 6/6/18 Tr. (Briscoe) 106:18-25.)

        245.    Black Diamond’s 90% interest in this surplus collateral was $35,220,895.38.

                4.      Black Diamond Had the Ability and Experience to Monetize the
                        HealthCo’s Surplus Collateral.

        246.    Black Diamond’s expert, Mr. Briscoe, determined that the surplus collateral held

 by HealthCo on or around October 26, 2015 could have been monetized by a sophisticated

 financial actor. (PX 261, at 21-22; 6/6/18 Tr. (Briscoe) 114:3-119:4.) Mr. Briscoe’s

 determination was based on his significant experience monetizing surplus workers’

 compensation collateral on behalf of his clients. As Mr. Briscoe testified, over the course of his

 career, he has participated in “[m]any dozens” of meetings with state regulators to negotiate the

 release of surplus collateral, and he has assisted clients in preparing for those meetings, including

 by advising on the necessary requirements for presentations to state regulators and clients’

 security requirements under state law. (6/6/18 Tr. (Briscoe) 37:21-38:23; see also

 Qualifications, at 5-6.) In addition to his participation in direct negotiations, Mr. Briscoe has

 been a part of “at least fifty if not a hundred” teams that have worked to secure the release of

 surplus collateral through loss portfolio transfers (“LPTs”). (PX 261, at 21; 6/6/18 Tr. (Briscoe)

 39:17-21; id. at 114:22-115:10.) Finally, Mr. Briscoe has advised clients on monetization

 strategies involving replacement letters of credit. (6/6/18 Tr. 40:11-25.) Mr. Briscoe is working

 with three clients who are in the process of replacing letters of credit in order to realize collateral

 surpluses. (Id.; id. at 41:11-21.)

        247.    Based on his experience, Mr. Briscoe determined that HealthCo’s surplus

 collateral could have been monetized through at least three monetization strategies. (PX 261, at

 21-22; 6/6/18 Tr. (Briscoe) 114:3-119:4.)



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               a. First, HealthCo’s surplus collateral could have been monetized by swapping out
                  the letters of credit securing Patriot’s workers’ compensation liabilities for letters
                  of credit secured by less than full deposits of cash. (PX 261, at 21; 6/6/18 Tr.
                  (Briscoe) 117:16-118:17.) In reaching this conclusion, Mr. Briscoe assumed,
                  based on his professional expertise and recent trends in the coal industry, that
                  Patriot’s workers’ compensation liabilities were secured by letters of credit
                  backed by full (or almost full) deposits of cash. (PX 261, at 20-21; 6/6/18 Tr.
                  (Briscoe) 176:3-13.) This strategy could be effectuated as easily as sending a
                  state regulatory authority or large deductible insurance company an acceptable
                  replacement letter of credit. (PX 261, at 21.)

               b. Second, a party could have monetized HealthCo’s surplus collateral by
                  effectuating a Lost Portfolio Transfer, or LPT, transaction. (PX 261, at 21; 6/6/18
                  Tr. (Briscoe) 114:18-117:15.) An LPT occurs when an insurer or reinsurer agrees
                  to assume and accept another insurer’s existing and future liabilities through the
                  transfer of the insurer’s loss reserves. (PX 261, at 21; 6/6/18 Tr. (Briscoe)
                  114:22-115:2; id. at 119:20-120:3.) Assuming that the new insurer accepts a
                  lesser amount of security to insure the liabilities, surplus collateral will be
                  released. (PX 261, at 21; 6/6/18 Tr. (Briscoe) 115:3-7; see also 6/4/18 Tr.
                  (Ehrlich) 66:10-19; id. at 68:25-69:14.) LPTs occur frequently across the casualty
                  insurance industry, including with respect to workers’ compensation. (PX 261, at
                  21.)

               c. Finally, a party could have negotiated with state regulators and large deductible
                  insurance companies to secure the release of surplus collateral. (PX 261, at 21-
                  22; 6/6/18 Tr. (Briscoe) 114:3-17.) In Mr. Briscoe’s experience, most state
                  regulators (with the exception of Kentucky) are willing to negotiate with
                  sophisticated parties about whether a downward adjustment to posted security is
                  warranted. (PX 261, at 21-22.) Large deductible insurance companies are also
                  amenable to releasing collateral. (Id., at 22.)

         248.     Each of Mr. Briscoe’s monetization strategies could have been realized in a

 matter of weeks or months. (6/6/18 Tr. (Briscoe) 121:1-24.)

         249.     Black Diamond has the financial wherewithal to effectuate Mr. Briscoe’s

 strategies.

               a. Black Diamond currently manages over $8 billion in assets,
                                   . (6/4/18 Tr. (Ehrlich) 57:10-13; 6/8/18 Tr. (Deckoff) 6:21-25;
                  id. at 22:25-30:6.) This places Black Diamond “toward the upper tier of entities
                  that [Mr. Briscoe] has worked with in terms of financial capital.” (6/6/18 Tr.
                  (Briscoe) 120:20-25.) In Mr. Briscoe’s opinion, Black Diamond has the asset
                  base required to effectuate the monetization strategies he describes. (Id. at
                  118:23-119:13; id. at 158:20-22.)



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             b. Black Diamond has ready access to credit markets, including letters of credit.
                (6/8/18 Tr. (Deckoff) 19:25-20:7.) For example, Black Diamond has an
                unsecured line of credit with JPMorgan Chase, pursuant to which Black Diamond
                can draw letters of credit up to $50 million within 24 hours, without the need to
                post security. (Id. at 20:4-21; id. at 21:24-22:1; id. at 124:12-14.) If Black
                Diamond wishes to obtain letters of credit in excess of $50 million, it can do so by
                posting security with a lending institution. (Id. at 21:21-22:18; id. at 23:7-14.)
                Black Diamond is creditworthy and debt-free, which means that Black Diamond
                can obtain letters of credit by posting security well below the face amount of the
                letters of credit sought. (Id. at 22:23-23:3; see also 6/4/18 Tr. (Ehrlich) 68:7-12.)

             c. Black Diamond is regularly approached by entities seeking to effectuate an LPT
                transaction. (6/8/18 Tr. (Deckoff) 24:3-12; id. at 122:3-14.) Indeed, Black
                Diamond owns an insurance company that is licensed to insure workers’
                compensation liabilities, which means that Black Diamond has the capacity to
                self-insure the workers’ compensation liabilities at issue here. (Id. at17:20-24; id.
                at 23:15-24:2.)

        250.     Black Diamond also could have allowed HealthCo to “self-monetize.” (6/8/18 Tr.

 (Deckoff) 17:25-18:8; see also 6/7/18 (Briscoe) 62:11-17.) HealthCo’s liabilities would

 eventually “pay themselves off,” thereby “extinguish[ing] the liabilities.” (6/8/18 Tr. (Deckoff)

 17:7-11.) After HealthCo’s liabilities are extinguished, any surplus collateral would be returned

 to HealthCo, and by extension, Black Diamond. (Id.) Black Diamond has successfully

 monetized eight workers’ compensation programs through a self-monetization strategy. (Id. at

 15:19-16:13.)

        E.       VCLF and ERP’s Purported “Evidence” of Black Diamond’s Inability to
                 Monetize HealthCo’s Surplus Collateral Is Unpersuasive.

                 1.     VCLF and ERP Have Offered No Credible Evidence that the Letters of
                        Credit Securing Patriot’s Workers’ Compensation Liabilities Were Drawn
                        Down before October 26, 2015 or that any Such Draw Down Affected the
                        Value of HealthCo.

        251.     VCLF and ERP purport to present evidence that Black Diamond would not have

 been able to monetize HealthCo’s surplus collateral for the full amount identified by Mr.

 Briscoe, because certain of the letters of credit that secured Patriot’s workers’ compensation



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 liabilities were drawn down and converted to cash before October 27, 2015. The “evidence”

 presented at trial, however, shows no such thing.

         252.    As an initial matter, the fact that HealthCo’s letters of credit may have been

 converted to cash before October 27 would not have affected any party’s ability to monetize the

 surplus collateral. (6/7/18 Tr. (Briscoe) 52:3-10; 6/5/18 Tr. (Ehrlich) 10:2-12.) As Mr. Briscoe

 testified, “[c]ash is cash. A letter of credit is just one form of cash. The fact that [the letters of

 credit] were drawn down still leaves the cash on the table.” (6/7/18 Tr. (Briscoe) 52:3-10; see

 also 6/5/18 Tr. (Ehrlich) 10:2-12.) Mr. Briscoe is the sole expert in the case, and VCLF and ERP

 have not offered any expert testimony or other evidence to rebut Mr. Briscoe’s opinion.

         253.    Indeed, the evidence offered at trial refutes VCLF and ERP’s position. For

 example, Mr. Deckoff testified that Black Diamond has experience monetizing workers’

 compensation programs, and it has successfully monetized programs in which the letters of credit

 have been drawn. (6/8/18 Tr. (Deckoff) 136:1-11 (“The insurers drew the letter of credit, so the

 insurers now had the cash. We ended up getting control of those assets. And then after we got

 control of those assets, we negotiated with the insurance companies.”).)

         254.    VCLF’s witnesses offered similar testimony. For example, Daniel Spragg, a

 managing director at Alvarez & Marsal who led negotiations between Patriot and the

 Commonwealth of Kentucky concerning an LPT transaction, testified that Kentucky regulators

 repeatedly expressed a willingness to execute an LPT transaction with Patriot, notwithstanding

 that Kentucky had drawn down Patriot’s letter of credit. (6/13/18 Tr. (Spragg) 225:22-226:12

 (“Q. . . . And notwithstanding . . . the drawdown of the LCs, Kentucky still expressed a

 willingness to enter into an LPT transaction if its requirements were met, right? A. Yes.”); see

 also PX 401, at 11 (“The Commissioner is willing to consider a loss portfolio transfer.”); PX




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 402, at 4 (“[T]he Guaranty Fund does not reject the concept of a Loss Portfolio Transfer,

 provided that it contains certain necessary elements discussed in more detail below.”); PX 403, at

 16 (“[W]e are supportive of an LPT.”); id. at 23 (“[A]t the outset let me say that the Department

 and the Commissioner have zero objection to a true LPT transaction.”).)

        255.    Even if a letter of credit’s conversion to cash were relevant to the monetization

 process, VCLF and ERP have failed to offer any reliable evidence that Patriot’s letters of credit

 were drawn down before October 27, 2015.

        256.    There is no documentary evidence showing that any of Patriot’s letters of credit

 were drawn. In fact, the documentary evidence indicates precisely the opposite. (See, e.g., PX

 220, at Schedule 1.01(a)(vii) (listing letters of credit to be assumed by VCLF and ERP); PX 218,

 at Schedule C (assigning letters of credit to ERP Settlement and specifying list of letters of credit

 assumed); PX 313, at BDCF-00018283 (specifying that “Patriot has collateral of $169 million to

 fulfill its workers compensation obligations”).)

        257.    There is a similar lack of testimonial evidence. Mr. Clarke, for example,

 purported to testify that AIG drew down all but one of the letters of credit that it issued to Patriot

 before October 27. On cross-examination, however, he admitted that he had no personal

 knowledge of any such draw downs. (6/12/18 Tr. (Clarke) 212:25-214:13.) Charles Ebetino, an

 ERP vice president who previously worked for Patriot, similarly testified that he “[did not] know

 a hundred percent whether [Patriot’s letters of credit] were [drawn] or not” before October 27.

 (6/4/18 Tr. (Ebetino) 140:7-16; see also id. at 166:18-21 (“Q. . . . [I]s there any letter of credit

 on this list where you can tell me the expiration date and can state with certainty that it had

 expired prior to October 27th? A. No.”).)




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          258.   Mr. Ebetino did recall a draw down of one of Patriot’s letters of credit posted with

 the State of Illinois. (6/4/18 Tr. (Ebetino) 124:24-127:13; id. at 132:19-134:17.) In particular,

 Mr. Ebetino recalled that Patriot sent a notice to Illinois regulators in the fall of 2015 indicating

 that “it was no longer going to make payments” on Illinois workers’ compensation claims. (Id.

 at 126:7-13; id. at 127:7-9.) Mr. Ebetino, however, “[did not] recall the exact date” that Patriot

 sent its notice to the State of Illinois nor did he recall the date on which Illinois supposedly drew

 down Patriot’s letter of credit. (Id. at 127:7-13; id. at 132:19-135:6.) There is thus no evidence

 in the record that this draw down occurred prior to Defendants’ breach.

          259.   Notwithstanding the ambiguity surrounding the date on which Illinois drew down

 Patriot’s letter of credit, and notwithstanding the lack of evidence that such a draw down would

 preclude VCLF, ERP, and Black Diamond from monetizing the surplus collateral, Mr. Briscoe

 undertook to calculate HealthCo’s surplus collateral, excluding the Illinois letter of credit.

 (6/7/18 Tr. (Briscoe) 52:11-55:12.) After removing the letter of credit and associated liabilities,

 Mr. Briscoe determined that HealthCo had a value of $35,779,725 as of October 26, 2015,

 meaning that Black Diamond’s 90% interest in HealthCo had a value of $32,201,100. (Id. at

 54:23-55:9.) This represents a $3,019,795 reduction in value from the damages figure discussed

 above.

                 2.     Patriot’s Failure to Monetize Patriot’s Kentucky Collateral for More than
                        $1,001,000 Is Not Evidence of the Value of the Collateral or That Black
                        Diamond Would Similarly Have Been Unable to Monetize that Collateral.

          260.   In June 2017, Patriot reached a settlement with the Commonwealth of Kentucky,

 pursuant to which Patriot sold its contingent right to certain surplus collateral held by Kentucky

 for $1,001,000. (DX FE; DX FG.) Contrary to VCLF and ERP’s assertion, this sale price does

 not establish that HealthCo’s value as of October 26, 2015 was limited to $1,001,000.

          261.   The evidence adduced at trial shows the following:


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         a. On November 2, 2015, Patriot defaulted on its workers’ compensation obligations
            in Kentucky. (PX 400, at 3-4; 6/13/18 Tr. (Spragg) 224:25-225:7.) Because of
            Patriot’s default, the Commissioner of Kentucky’s Department of Workers’
            Claims called the letter of credit securing Patriot’s workers’ compensation
            liabilities and, per Kentucky law, transferred the proceeds to the Kentucky Coal
            Employers’ Self-Insurance Guaranty Fund. (PX 400, at 2-4; 6/13/18 Tr. (Spragg)
            224:25-225:7.)

         b. At the time of Patriot’s default, it was believed that Patriot’s Kentucky workers’
            compensation liabilities were over-collateralized by more than $9 million.
            (6/13/18 Tr. (Spragg) 212:12-19.)

         c. In November or December 2015, Patriot retained Alvarez & Marsal to coordinate
            efforts to monetize Patriot’s workers’ compensation collateral. (6/13/18 Tr.
            (Spragg) 172:19-25.) Daniel Spragg, a managing director at Alvarez & Marsal,
            led the monetization effort. (Id. at 167:22-168:8; id. at 173:1-7.)

         d. Alvarez & Marsal negotiated with Kentucky regulators over the release of surplus
            collateral. (6/13/18 Tr. (Spragg) 173:3-7.) In negotiating with Kentucky, Alvarez
            & Marsal was singularly focused on executing an LPT transaction. (Id. at 226:22-
            227:6.) Alvarez & Marsal did not pursue any other monetization strategies, such
            as swapping out Patriot’s letter of credit. (Id.)

         e. Kentucky law specifies certain requirements for an LPT transaction, including
            unlimited insurance coverage. (PX 401, at 10-11; PX 402, at 4-7; PX 415;
            6/13/18 Tr. (Spragg) 215 22-24; id. at 217:12-15; id. at 217:23-25.) In June or
            July 2016, Kentucky regulators provided Alvarez & Marsal with a list of these
            requirements. (PX 415; 6/13/18 Tr. (Spragg) 216:4-20.) Kentucky repeatedly
            told Alvarez & Marsal that it was willing to complete an LPT transaction with
            Patriot so long as the transaction complied with Kentucky law. (PX 401, at 11;
            PX 402, at 4; PX 403, at 16, 23; 6/13/18 Tr. (Spragg) 193:11-16; id. at 226:3-20.)

         f. Alvarez & Marsal presented two LPT proposals to Kentucky regulators: one in
            conjunction with Berkshire Hathaway and the other in conjunction with Randall
            & Quilter. (PX 416; PX 417; 6/13/18 Tr. (Spragg) 189:11-13; id. at 198:21-25;
            id. at 222:8-14.)

         g. Neither of these proposals complied with Kentucky law. (PX 401, at 10-11; PX
            402, at 4-7; 6/13/18 Tr. (Spragg) 217:8-218:3; id. at 222:23-223:9; id. at 223:18-
            21.)

         h. Kentucky rejected both proposals. (6/13/18 Tr. (Spragg) 193:17-20; id. at 223:22-
            224:17.)

         i. Patriot filed a lawsuit against various Kentucky regulators in December 2016 in
            an attempt to recover its surplus collateral. (PX 400; DX FT.)



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               j. On June 8, 2017, Patriot and Kentucky settled their dispute. (DX FT.) Kentucky
                  agreed to pay Patriot $1,001,000 for Patriot’s “rights and interests in any
                  contingent future surplus workers’ compensation security . . . , free and clear of
                  all liens, claims, and interests.” (DX FE, at 2; see also DX FG.) The Bankruptcy
                  Court approved the sale on June 27, 2017. (DX FG, at 8-9; 6/13/18 Tr. (Spragg)
                  207:16-19.)

         262.     Notwithstanding the Bankruptcy Court’s approval of the sale, it is inappropriate to

 draw the inference, based on the sale, that HealthCo was worth no more than $1,001,000 as of

 October 26, 2015. Such an inference is unreasonable for at least two reasons.

         263.     First, Patriot’s ability to monetize HealthCo’s surplus collateral is not

 representative of the ability of a better-capitalized entity, such as Black Diamond, to monetize

 the collateral. As Black Diamond’s expert, Mr. Briscoe, testified, a party’s ability to implement

 successfully a monetization strategy is heavily dependent on that party’s access to capital.

 (6/6/18 Tr. (Briscoe) 119:20-120:3.) For example, without access to sufficient capital, a party

 would struggle to swap out letters of credit or execute an LPT transaction. (Id. (“For the

 collateral to be assumed by another party, you have to be able to pay for that, and to buy an

 insurance policy, if it’s an [LPT.] [Y]ou’re going to have to be able to negotiate a letter of credit

 in the same amount but at a lower security rate. That takes capital. That takes cash.”).)

         264.     Black Diamond and Patriot are not similarly situated with respect to their access

 to capital.

               a. Black Diamond is an asset management firm with over $8 billion in assets under
                  management,                                        . (6/4/18 Tr. (Ehrlich) 57:10-
                  11; 6/8/18 Tr. (Deckoff) 6:21-25; id. at 22:25-30:6.) Given its significant
                  capitalization, Black Diamond can secure letters of credit for cents on the dollar.
                  (6/8/18 Tr. (Deckoff) at 22:23-25.) Indeed, Black Diamond can secure letters of
                  credit up to $50 million on 24 hours’ notice, without the need to post security.
                  (Id. at 20:4-21; id. at 21:24-22:1.)

               b. Patriot was a bankrupt coal corporation. (6/4/18 Tr. (Ebetino) 121:20-21; 6/11/18
                  Tr. (Clarke) 282:3-6.) Patriot sold substantially all of its assets in October 2015,



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                after which it sought to liquidate any remaining assets. (PX 334.) As of late
                2015, Patriot had little, if any, access to cash. (6/4/18 Tr. (Ebetino) 122:8-123:2;
                6/7/18 Tr. (Potter) 186:15-21.) Given its inability to meet its workers’
                compensation obligations, Patriot lost its self-insurance authority in Kentucky as
                of November 2, 2015. (PX 400, at 3.)

         265.   Second, Patriot was unable to execute an LPT transaction with Kentucky because

 Patriot failed to propose a transaction that complied with Kentucky law. (PX 401, at 10-11; PX

 402, at 4-7; 6/13/18 Tr. (Spragg) 217:8-218:14; id. at 222:8-14; id. at 224:7-17.)

         266.   The LPT transactions that Patriot presented to Kentucky violated Kentucky law

 insofar as they:

            a. did not meet the requirement that the liability of the self-insured or the
               replacement insurance policy be unlimited in nature, (PX 401, at 10-11; PX 402,
               at 5-6; 6/6/18 Tr. (Briscoe) 135:25-136:12; 6/13/18 Tr. (Spragg) 217:12-18; id. at
               223:18-21);

            b. did not meet the requirement that an LPT cover all diseases, including traumatic
               injuries and black lung diseases, (PX 401, at 10-11; PX 402, at 4; 6/13/18 Tr.
               (Spragg) 217:23-218:3);

            c. did not meet the requirement that the LPT cover incurred but not reported claims,
               (PX 401, at 11; PX 402, at 4); and

            d. did not involve policies of insurance (as distinguished from “reinsurance”
               policies), (PX 402, at 5-6; 6/6/18 Tr. (Briscoe)138:17-139:1).

         267.   Patriot’s ability to execute an LPT transaction was further hampered by the fact

 that:

            a. Patriot refused to provide its actuarial reviews to Kentucky regulators, despite
               repeated requests from the regulators with whom Patriot was negotiating, (PX
               402, at 2; 6/13/18 Tr. (Spragg) 220:2-221:2);

            b. Kentucky regulators believed that Patriot’s actuarial reviews were inaccurate, (PX
               402, at 2-3; 6/13/18 Tr. (Spragg) 221:3-12); and

            c. Patriot assumed an unnecessarily “confrontational tone” with regulators during
               negotiations, (PX 402, at 1; 6/13/18 Tr. (Spragg) 219:19-220).




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        268.    Notwithstanding these deficiencies, Kentucky regulators repeatedly informed

 Patriot that they were willing to consider an LPT transaction that complied with Kentucky law.

 (PX 401, at 11 (“The Commissioner is willing to consider a loss portfolio transfer.”); PX 402, at

 4 (“[T]he Guaranty Fund does not reject the concept of a Loss Portfolio Transfer, provided that it

 contains certain necessary elements discussed in more detail below.”); PX 403, at 16 (“[W]e are

 supportive of an LPT.”); id. at 23 (“[A]t the outset let me say that the Department and the

 Commissioner have zero objection to a true LPT transaction.”).)

        269.    In fact, Kentucky has agreed to execute LPTs with other coal companies when the

 LPTs comply with state law. (6/7/18 Tr. (Briscoe) 58:9-15.) For example, in May 2017,

 Kentucky approved an LPT transaction, pursuant to which a major coal producer transferred its

 self-insurance obligations to a reinsurance company in exchange for a premium payment.

 (6/11/18 Tr. (Logan) 30:12-31:25; id. at 27:12-14.) The LPT transaction complied with

 Kentucky law and allowed the coal manufacturer to realize $10 million in surplus collateral. (Id.

 at 25:16-26:18; id. at 30:12-31:25; id. at 36:19-25; id. at 72:20-24.)

        270.    In Mr. Briscoe’s expert opinion, had Patriot been better capitalized and had it

 presented an LPT proposal that complied with Kentucky law, more than $1,001,000 could have

 been realized from the sale of Patriot’s contingent right to surplus collateral. (6/7/18 Tr.

 (Briscoe) 57:15-18; see also 6/6/18 Tr. (Briscoe) 144:22-145:10.)

        271.    In short, Patriot’s inability to execute a monetization transaction with the State of

 Kentucky, and its $1 million lawsuit settlement, is evidence of neither Black Diamond’s ability

 to have monetized that collateral absent Defendants’ breach, nor the value of the collateral at the

 time of breach.




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                3.      The Parker Decision Does Not Affect Black Diamond’s Damages.

        272.    The Kentucky Supreme Court issued a decision in Parker v. Webster County

 Coal, LLC, 529 S.W.3d 759 (Ky. 2017) on April 27, 2017, eighteen months after VCLF and ERP

 breached the Commitment Letter. See 529 S.W.3d at 579. In Parker, the Court determined that

 KRS 342.730(4), which prohibits injured workers from obtaining workers’ compensation

 benefits after they qualify for old-age retirement benefits under the Social Security Act, 42

 U.S.C. § 301, was unconstitutional insofar as it impermissibly discriminated among groups of

 injured older workers. See 529 S.W.3d at 769; (6/6/18 Tr. (Briscoe) 146:4-12).

        273.    Contrary to VCLF and ERP’s suggestion, the Parker decision does not have a

 material impact on the value of HealthCo’s liabilities. As an initial matter, the decision was

 issued 17 months after Defendants’ breach of the Commitment Letter, and thus it has no effect

 on HealthCo’s value as of the date of breach. Moreover, Mr. Briscoe testified that in his expert

 opinion, the Parker decision would have a minimal impact on HealthCo’s value, even on a

 going-forward basis. Specifically, Mr. Briscoe testified that he had conducted an analysis of

 Parker’s impact on another client’s workers’ compensation liabilities, and determined that

 Parker did not have a “material or significant” effect on those liabilities.   (6/6/18 Tr. (Briscoe)

 146:22-147:5; see also 6/7/18 Tr. (Briscoe) 24:8-18.) Because Patriot’s claims are similar to

 those of Mr. Briscoe’s other clients, Mr. Briscoe determined that Parker would similarly have a

 minimal effect on the value of Patriot’s workers’ compensation liabilities. (Id.) VCLF and ERP

 have not introduced any expert testimony to rebut Mr. Briscoe’s opinion.




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 XXVI. The Federal Mine Closes.

        274.    After VCLF and ERP closed their transaction with Patriot, the Federal Mine

 “started doing pretty well,” and in fact, “broke . . . production records in terms for daily

 production.” (6/13/18 Tr. (McCoy, K.) 122:8-12.)

        275.    Shortly after the transaction closed, however, the U.S. coal market “went into a

 freefall” and “[t]he demand for thermal coal in the United States . . . declined precipitously.”

 (6/13/18 Tr. (McCoy, K.) 122:12-13; 6/12/18 Tr. (Clarke) 44:24-45:1.)

        276.    In September 2017, ERP idled the Federal Mine due to “geological conditions”

 and “roof falls.” (PX 507; 6/13/18 Tr. (McCoy, K.) 146:18-148:11.) No documentary evidence

 supports the claim that the Federal Mine closed due to Black Diamond’s failure to provide

 financing.

        277.    In the spring of 2018, VCLF and ERP sold the assets and liabilities associated

 with Federal Mine to Phoenix Energy for $500,000. (6/12/18 Tr. (Clarke) 47:8-12; id. at 212:16-

 24; id. at 217:14-19.) Mr. Clarke testified that the value of the liabilities assumed by the buyer

 was approximately $8 million, which would mean the value of the assets assumed was

 approximately $8.5 million. (Id. at 218:1-14.)

        278.    The subsequent performance of the Federal Mine following Defendants’ breach is

 irrelevant to determination of Black Diamond’s damages. It is worth noting, however, that

 according to Defendants’ interrogatory responses, even a year after the breach, the mine had a

 value of $42,944,134.37. (PX 249, at 15-16; id. at Ex. C.)




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                            PROPOSED CONCLUSIONS OF LAW

 I.     VCLF and ERP Have Breached Contractual Obligations Owed to Black Diamond
        under the Commitment Letter.

        279.    Black Diamond’s breach of contract claim is governed by New York law, as

 provided for in the Commitment Letter’s choice of law provision. (See PX 40, at BDCF-

 00028166); McPike v. Zero-Gravity Holdings, Inc., 280 F. Supp. 3d 800, 806 n.5 (E.D. Va.

 2017) (“Under Virginia law, contractual choice-of-law provisions are dispositive on the question

 of what substantive law applies to a given cause of action.”).

        280.    The elements of breach of contract in New York are: “(1) formation of a contract

 between plaintiff and defendant; (2) performance by plaintiff; (3) defendant’s failure to perform;

 and (4) resulting damage.” Clearmont Prop., LLC v. Eisner, 872 N.Y.S.2d 725, 725 (N.Y. App.

 Div. 2009) (internal quotation marks and citation omitted); see also Paxi, LLC v. Shiseido Ams.

 Corp., 636 F. Supp. 2d 275, 281-82 (S.D.N.Y. 2009) (applying New York law).

        281.    The evidence presented at trial establishes that Black Diamond has satisfied each

 of these elements.

        A.      The Commitment Letter Is a Binding, Enforceable Agreement.

        282.    “For a contract to be valid under New York law, there must be an offer,

 acceptance, and consideration.” Broder v. Cablevision Sys. Corp., 329 F. Supp. 2d 551, 556

 (S.D.N.Y. 2004).

        283.    The “offer and acceptance” requirement is satisfied as long as the parties have

 signed a written contract. See Progressive Cas. Ins. Co. v. C.A. Reaseguradora Nacional de

 Venezuela, 991 F.2d 42, 46 (2d Cir. 1993) (“Under New York law, in the absence of fraud or

 other wrongful conduct, a party who signs a written contract is conclusively presumed to know

 its contents and to assent to them, and he is therefore bound by its terms and conditions.”).



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           284.    Consideration exists as long as a contract confers “a benefit to the promisor or a

 detriment to the promisee.” Holt v. Feigenbaum, 419 N.E.2d 332, 336 (N.Y. 1981). Under New

 York law, the “exchange [of] promises is sufficient to create a binding contract.” Consarc Corp.

 v. Marine Midland Bank, N.A., 996 F.2d 568, 570 (2d Cir. 1993). Courts shall not inquire into

 the adequacy of consideration. See Apfel v. Prudential-Bache Sec., Inc., 616 N.E.2d 1095, 1097

 (N.Y. 1993) (“[A]dequacy of consideration is not a proper subject for judicial scrutiny.”); Laham

 v. Chambi, 753 N.Y.S.2d 34, 35 (N.Y. App. Div. 2002) (same).

           285.    The Commitment Letter is a valid and enforceable agreement:

                a. VCLF, ERP, and Black Diamond each freely signed the Commitment Letter,
                   thereby manifesting their intent to accept its terms. (PX 40, at BDCF-00028161;
                   6/11/18 Tr. (Murphy) 203:24-204:3; id. at 204:12-14.)

                b. The Commitment Letter was supported by mutual consideration. Black Diamond
                   committed to provide up to $25 million in financing to VCLF and ERP, which
                   was a prerequisite under the August 16 APA for obtaining Patriot’s assets and
                   liabilities. (PX 40, at BDCF-00028157; PX 15, §§ 10.03(g), 11.01(m); 6/11/18
                   Tr. (Murphy) 105:1-106:3; id. at 190:22-191:1.)

           286.    Indeed, VCLF and ERP have admitted that “[t]he Commitment Letter is a valid

 and enforceable contract.” (Answer & Counterclaim (Dkt. No. 3-68), pg. 30, ¶ 48). VCLF and

 ERP’s admission is dispositive with respect to this element of the breach of contract claim. See,

 e.g., VIA Design Architects, PC v. U.S. Dev. Co., LLC, No. 2:13CV555, 2014 WL 5685550, at

 *5 (E.D. Va. Nov. 14, 2014) (“Under federal law, an unequivocal assertion of fact made in a

 pleading, such as answer or counterclaim, constitutes a ‘judicial admission’ that generally binds

 the party making such statement throughout the remainder of the proceeding.”).

           B.      Black Diamond Performed under the Commitment Letter.

           287.    Black Diamond satisfied its performance obligations under the Commitment

 Letter.




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        288.    Under New York law, a plaintiff asserting a breach of contract claim need only

 perform its contractual obligations to the extent that its performance is “due.” DLJ Mortg.

 Capital Inc. v. Home Loan Corp., 667 F. Supp. 2d 368, 368 (S.D.N.Y. 2009). “Performance of a

 duty subject to a condition [precedent] cannot become due unless the condition occurs or its non-

 occurrence is excused.” Restatement (Second) of Contracts § 225 (1981); see also MHR Capital

 Partners LP v. Presstek, Inc., 912 N.E.2d 43, 47 (N.Y. 2009) (“[A] condition precedent is an act

 or event, other than a lapse of time, which, unless the condition is excused, must occur before a

 duty to perform a promise in the agreement arises.”) (internal quotation marks and citation

 omitted).

        289.    As of the date of VCLF and ERP’s breach of the Commitment Letter, Black

 Diamond’s performance was never required under the terms of the Commitment Letter. (6/7/18

 Tr. (Potter) 151:22-152:3; 6/12/18 Tr. (Clarke) 98:2-18.) Moreover, a number of the

 Commitment Letter’s conditions to closing had not yet occurred, including the “consummation

 of a transaction for the Excluded Assets (as defined in the VCLF APA) in form and substance

 acceptable to Lender.” (PX 40, at BDCF-00028158, BDCF-00028164; 6/11/18 Tr. (Clarke)

 309:18-19; 6/12/18 Tr. (Clarke) 32:18-22.)

        C.      Black Diamond, VCLF, and ERP Extended the Termination Date of the
                Commitment Letter.

        290.    By the terms of the Commitment Letter, Black Diamond’s commitment was due

 to “terminate at 5:00 p.m., New York City time, on October 8, 2015,” if the Bankruptcy Court

 had not yet entered a final non-appealable order authorizing and approving the August 16 APA.

 (PX 40, at BDCF-00028158.)

        291.    On October 7, 2015, the parties modified the Commitment Letter by agreeing

 over email to extend the Commitment Letter’s termination date by 30 days, i.e., until November



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 9, 2015. (PX 53; DX AG.) Messrs. Clarke and Ehrlich effectuated this modification by

 exchanging signed emails agreeing to extend the Commitment Letter’s termination date. (PX 53;

 6/12/18 Tr. (Clarke) 91:3-4.) This exchange of emails complied with the Commitment Letter’s

 requirement that any modifications to the letter be effectuated through a “signed writing.” See

 Stevens v. Publicis, S.A., 854 N.Y.S.2d 690, 692 (N.Y. App. Div. 2008) (“Bloom’s name at the

 end of his email constituted a ‘signed writing’ and satisfied the requirement of § 13(d) of the

 employment agreement that any modifications be signed by all parties.”); see also Williamson v.

 Delsener, 874 N.Y.S.2d 41, 41 (N.Y. App. Div. 2009) (“The e-mails exchanged between

 counsel, which contained their printed names at the end, constitute signed writings.”).

 Accordingly, the email exchange between Messrs. Ehrlich and Clarke on October 7 modified the

 Commitment Letter. See Stevens, 854 N.Y.S.2d at 692; (see also 6/12/18 Tr. (Clarke) 90:21-24

 (“Q. And Exhibit 53 is the email exchange by which you agree with Black Diamond to extend

 that October 8th deadline that we just referred to, correct? A. Yes.”).)

        D.      VCLF and ERP Breached the Commitment Letter.

                1.      VCLF and ERP Solicited Alternative Financing and Closed Their
                        Transaction with Patriot without Providing Black Diamond with the
                        Promised Equity Interests, in Violation of the Exclusivity Provision.

        292.    VCLF and ERP breached the Commitment Letter.

        293.    “It is beyond cavil that the failure of a party to perform its obligations under a

 valid and binding contract constitutes a breach and entitles the other contractually bound party to

 damages which arose out of the breach.” See Nielsen Co. (U.S.), LLC v. Success Sys., Inc., 112

 F. Supp. 3d 83, 97 (S.D.N.Y. 2015).

        294.    Pursuant to the Commitment Letter’s Exclusivity Provision, VCLF and ERP were

 each expressly prohibited from:




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            a. “solicit[ing] or accept[ing] an offer by any person other than Black Diamond of
               any debt or equity financing for the purpose of facilitating in any manner the
               consummation of the transactions contemplated by the VCLF APA,” and

            b. “submit[ting] or pursu[ing] any offer for all or any material portion of the
               Purchased Assets (as defined in the VCLF APA) in conjunction with any other
               person or entity other than Black Diamond and its affiliates, or that does not
               provide for the receipt by Black Diamond of the Equity Interests contemplated by
               the Term Sheet.”

 (PX 40, at BDCF-00028159.)

        295.    The parties’ obligations under the Exclusivity Provision were never modified or

 waived. (6/5/18 Tr. (Harris) 210:2-8; 6/11/18 Tr. (Clarke) 341:5-11; see also Answer &

 Counterclaim (Dkt. No. 3-68), pg. 30, ¶ 48.)

        296.    VCLF and ERP breached the Exclusivity Provision by soliciting alternative

 financing for the purpose of “facilitating” the consummation of the VCLF-Patriot transaction.

 (PX 45; PX 52; PX 66; PX 68; PX 137; PX 151; PX 163; PX 167; PX 175; PX 203; PX 212; PX

 264; PX 270; PX 301; PX 221; DX CP; 6/7/18 Tr. (Potter) 126:13-127:2; 6/8/18 Tr. (McCoy, J.)

 196:7-199:19; id. at 218:13-18; id. at 220:4-7; id. at 221:2-15; id. at 224:7-18; id. at 225:10-15;

 id. at 225:22-23; id. at 226:11-227:3; id. at 246:16-249:20; id. at 250:2-3; id. at 253:5-255:6; id.

 at 255:9-258:19; id. at 261:24-262:13; 6/11/18 Tr. (Murphy) 178:1-6; id. at 178:20-179:2;

 6/12/18 Tr. (Clarke) 31:18-32:9; id. at 195:16-23; id. at 197:4-12.) At a minimum, it is

 undisputed that Defendants solicited alternative financing from Patriot and the United Mine

 Workers Association to consummate their transaction with Patriot.

        297.    VCLF and ERP also breached the Exclusivity Provision by closing their

 transaction with Patriot without providing Black Diamond with the promised equity interests.

 (6/5/18 Tr. (Ehrlich) 128:1-7; id. (Harris) at 181:14-25; 6/8/18 Tr. (Deckoff) 77:6-7.)




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                2.      VCLF and ERP’s Obligations under the Exclusivity Provision Attached at
                        Signing.

        298.    VCLF and ERP’s obligations under the Exclusivity Provision attached at signing.

        299.    By its express terms, the Exclusivity Provision states that “upon acceptance of

 this Commitment,” VCLF and ERP “hereby . . . agree[]” not to solicit or accept alternative

 financing or to close their transaction with Patriot without providing Black Diamond with the

 promised equity interests. (PX 40, at BDCF-00028159 (emphasis added).) Under New York

 law, contracts must be interpreted “so as to give effect to the intention of the parties as expressed

 in the unequivocal language employed.” Breed v. Ins. Co. of N. Am., 385 N.E.2d 1280, 1282

 (N.Y. 1978) (internal quotation marks and citation omitted). “[A] written agreement that is

 complete, clear[,] and unambiguous on its face must be enforced according to the plain meaning

 of its terms.” Patsis v. Nicolia, 992 N.Y.S.2d 349, 350 (N.Y. App. Div. 2014).

        300.    Interpreting the Exclusivity Provision in a manner that does not provide for the

 attachment of VCLF and ERP’s obligations at signing would be nonsensical and commercially

 unreasonable. The Exclusivity Provision restricts VCLF and ERP’s ability to solicit alternative

 financing before closing and to close their transaction with Patriot without providing Black

 Diamond with the promised equity interests. (6/5/18 Tr. (Harris) 149:8-17; id. at 242:3-12.)

 Were these obligations to attach at some point after signing, the Exclusivity Provision would be

 meaningless. (Id. at 149:8-17.) Under New York law, “an interpretation of a contract that has

 the effect of rendering at least one clause superfluous or meaningless . . . [should] be avoided if

 possible.” Shaw Grp. Inc. v. Triplefine Int’l Corp., 322 F.3d 115, 124 (2d Cir. 2003) (internal

 quotation marks and citation omitted). Instead, New York courts “are obliged to interpret a

 contract so as to give meaning to all of its terms.” Mionis v. Bank Julius Baer & Co., 749

 N.Y.S.2d 497, 502 (N.Y. App. Div. 2002); see also India.com, Inc. v. Dalal, 412 F.3d 315, 323



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 (2d Cir. 2005) (“[R]easonable effort must be made to harmonize all of [a contract’s] terms.”);

 Verzani v. Costco Wholesale Corp., 641 F. Supp. 2d 291, 299 (S.D.N.Y. 2009) (“[T]he court

 may not read the agreement to make any of its terms meaningless, or construe its language to

 render particular provisions ‘mere surplusage.’”) (citation omitted).

        301.    Faced with similar facts, courts applying New York law have held that a party’s

 solicitation of alternative financing before closing constitutes a breach. See, e.g., FCS Advisors,

 Inc. v. Fair Finance Co., No. 07 Civ. 6456(DC), 2009 WL 1403869, at *8 (S.D.N.Y. May 19,

 2009) (holding that defendant breached commitment letter’s exclusivity provision by negotiating

 over alternative financing with third party while commitment letter’s pre-closing exclusivity

 provision was in effect).

                3.      VCLF and ERP Were Never Relieved of Their Obligations under the
                        Commitment Letter.

        302.    VCLF and ERP were not relieved of their obligations under the Exclusivity

 Provision due to the failure (or potential failure) of one or more conditions to closing set forth in

 the Commitment Letter.

        303.    As an initial matter, VCLF and ERP have waived this defense. “In New York,

 failure of a condition precedent is an affirmative defense,” which “must be pleaded specifically

 and with particularity.” Columbia Artists Mgmt., LLC v. Alvarez, No. 08 CIV 11254 LBS, 2010

 WL 5396097, at *6 (S.D.N.Y. Dec. 23, 2010); see also 1199 Hous. Corp. v. Int’l Fidelity Ins.

 Co., 788 N.Y.S.2d 88, 90 (N.Y. App. Div. 2005) (“[T]he burden to plead specifically and with

 particularity that any condition precedent has not been fulfilled rests on the party resisting

 enforcement of the contract.”). VCLF and ERP never pleaded the failure of a condition

 precedent as an affirmative defense, and never raised it before trial, including in their summary

 judgment briefs. (Answer & Counterclaim (Dkt. No. 3-68), at pg. 16-17; Mem. of Law in Supp.



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 of Mot. for Partial Summary J. (Dkt. No. 138); Reply in Further Supp. of Mot. for Partial

 Summary J. (Dkt. No. 185); Mem. of Law in Opp’n to Mot. for Partial Summary J. (Dkt. No.

 230).) They are thus barred from raising it now. See, e.g., Columbia Artists, 2010 WL 5396097,

 at *6 (holding that defendants waived failure-of-condition-precedent defense by failing to raise it

 in timely manner); Morales Elec. Contracting, Inc. v. Siemens Bldg. Techs., Inc., No. 09-CV-

 2743 ADS ETB, 2012 WL 3779410, at *2 (E.D.N.Y. Aug. 30, 2012) (same).

        304.    Even if it had not been waived, the defense is unavailing. The conditions to

 closing set forth in the Commitment Letter are conditions to Black Diamond’s performance, not

 VCLF and ERP’s. (6/5/18 Tr. (Harris) 238:4-6; see also PX 40, at BDCF-00028158.) To

 construe the Commitment Letter differently — that is, to hold that VCLF and ERP’s obligations

 under the Exclusivity Provision were subject to the Commitment Letter’s conditions to closing

 — would be to render the Exclusivity Provision meaningless, as it would permit VCLF and ERP

 to solicit alternative financing prior to closing — precisely the conduct that the Exclusivity

 Provision was designed to prevent. (6/5/18 Tr. (Harris) 149:8-17; id. at 242:3-12.) Courts

 applying New York law must interpret contracts “so as to give meaning to all of [their] terms.”

 Mionis, 749 N.Y.S.2d at 502; see also Manley v. AmBase Corp., 337 F.3d 237, 250 (2d Cir.

 2003) (rejecting party’s interpretation of contract because it would “render contract provisions

 meaningless or superfluous”); Air China Ltd. v. Li, No. 07 CIV 11128 LTS DFE, 2008 WL

 754450, at *2 (S.D.N.Y. Mar. 17, 2008 (“The Court has an obligation to interpret the contract

 with regard to all of its provisions, and to interpret it in a way in which no provision is rendered

 meaningless.”); Patsis, 992 N.Y.S.2d at 351 (rejecting defendant’s interpretation of contract

 because it “renders [contract’s] terms meaningless”). Accordingly, Defendants’ interpretation of




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 the Commitment Letter, which would render the obligations of the Exclusivity Provision

 illusory, must be rejected.

        305.    Additionally, the failure (or potential failure) of a condition precedent does not

 excuse VCLF or ERP’s performance because Black Diamond was entitled to waive any

 conditions to closing while the Commitment Letter was in effect. See ESPN, Inc. v. Office of

 Comm’r of Baseball, 76 F. Supp. 2d 383, 389 (S.D.N.Y. 1999) (“[A] party may, by words or

 conduct, waive a provision in a contract or eliminate a condition in a contract which was inserted

 for [its] benefit.”) (internal quotation marks and citation omitted). Given Black Diamond’s right

 to waive conditions to closing, VCLF and ERP could not unilaterally decide that a condition to

 closing would fail and thereby relieve themselves of their contractual duties.

        E.      Black Diamond Was Damaged by VCLF and ERP’s Breach.

        306.    Under New York law, “a breaching party is liable for all direct and proximate

 damages which result from the breach.” Tractebel Energy Mktg., Inc. v. AEP Power Mktg., Inc.,

 487 F.3d 89, 110 (2d Cir. 2007).

        307.    For breach of contract claims, “an award of damages should place the plaintiff in

 the same position as he or she would have been in if the contract had not been breached.” Island

 Fed. Credit Union v. Hillside Auto Mall, Inc., 937 N.Y.S.2d 87, 89 (N.Y. App. Div. 2012)

 (internal quotation marks and citation omitted). “Absent a special provision of law or

 contractual limitation, it is a basic tenet of the law of damages that where there has been a

 violation of a contractual obligation the injured party is entitled to fair and just compensation

 commensurate with his loss.” Terminal Cent., Inc. v. Henry Modell & Co., 628, N.Y.S.2d 56, 59

 (N.Y. App. Div. 1995) (citations omitted).

        308.    Contract damages are calculated as of the time of breach. Sharma v. Skaarup

 Ship Mgmt. Corp., 916 F.2d 820, 825 (2d Cir. 1990) (“It is a fundamental proposition of contract


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 law, including that of New York, that the loss caused by a breach is determined as of the time of

 breach.”). When calculating damages, “a court looks to the value of the asset ‘at the time of

 breach,’ and freezes damages at that moment in time.” Washington v. Kellwood Co., No. 05-

 CV-10034 (SN), 2016 WL 3920348, at *14 (S.D.N.Y. July 15, 2016), aff’d 714 F. App’x 35 (2d

 Cir. 2017), cert. denied, 138 S. Ct. 2029 (2018). “[E]vents subsequent to the breach, viewed in

 hindsight, may neither offset nor enhance [] general damages.” Merrill Lynch & Co. v.

 Allegheny Energy, Inc., 500 F.3d 171, 185 (2d Cir. 2007).

        309.    In a breach of contract case, a plaintiff must prove its damages with “reasonabl[e]

 certain[ty].” Tractebel, 487 F.3d at 110 (quoting Wakeman v. Wheeler & Milson Mfg. Co., 4

 N.E. 264, 266 (N.Y. 1886)). “Certainty” in this context, however, “refers to the fact of damage,

 not the amount.” Id.; see also Merrill Lynch, 500 F.3d at 185 (“[Plaintiff] is required to show

 with reasonable certainty the fact of damage, not its amount.”). “[U]nder the long-standing New

 York rule, when the existence of damage is certain, and the only uncertainty is to amount, the

 plaintiff will not be denied a recovery of substantial damages.” Contemporary Mission, Inc. v.

 Famous Music Corp., 557 F.2d 918, 926 (2d Cir. 1977).

        310.    To establish the amount of contract damages, “[t]he plaintiff need only show a

 ‘stable foundation for a reasonable estimate’” of the damages incurred as a result of a

 defendant’s breach of contract. Id. (quoting Freund v. Wash. Square Press, Inc., 314 N.E.2d

 419, 421 (N.Y. 1974)). “Such an estimate necessarily requires some improvisation, and the party

 who has caused the loss may not insist on theoretical perfection.” Entis v. Atl. Wire & Cable

 Corp., 335 F.2d 759, 763 (2d Cir. 1964). Instead, any “method [that] reasonably approximates”

 damages satisfies the plaintiff’s obligations under New York law. Jamil v. Solar Power Inc., 230

 F. Supp. 3d 271, 276 (S.D.N.Y. 2017). “To the extent certain variables must be assumed in




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 order to arrive at a reasonable estimate, the district court may do so, unless evidence is presented

 that undermines the basis for the assumption.” Tractebel, 487 F.3d at 112.

        311.    Provided the plaintiff makes a threshold showing, “the burden of uncertainty as to

 the amount of damages is [placed] upon the wrongdoer,” not the plaintiff. Contemporary

 Mission, 557 F.2d at 926; see also Indu Craft, Inc. v. Bank of Baroda, 47 F.3d 490, 496 (2d Cir.

 1995) (“The wrongdoer must shoulder the burden of the uncertainty regarding the amount of

 damages.”) “Doubts [about the amount of damages] are generally resolved against the party in

 breach.” Process Am., Inc. v. Cynergy Holdings, LLC, 839 F.3d 125, 141 (2d Cir. 2016).

        312.    Black Diamond has satisfied its burden under New York law to show a “stable

 foundation” for its damages calculation. Contemporary Mission, 557 F.2d at 926.

            a. Black Diamond has established with reasonable certainty that it lost at least
               $5,000,000 in interest income to which it was entitled under the Commitment
               Letter. (6/5/18 Tr. (Ehrlich) 9:5-21.) Mr. Ehrlich calculated this sum based on
               the assumption that VCLF and ERP would borrow substantially less than the
               maximum allowed under the Commitment Letter and repay their loans before the
               maturity date. (Id.) Accordingly, Mr. Ehrlich’s calculation of lost interest income
               is conservative in nature. New York v. United Parcel Serv., Inc., 253 F. Supp. 3d
               583, 697 (S.D.N.Y. 2017) (“[T]he fact-finder may determine the amount of
               damages within a certain range, and when damages are at some ascertainable
               amount below an upper limit, that upper limit will be taken as the proper
               amount.”) (internal quotation marks and citation omitted).

            b. Black Diamond has established that VCLF and ERP failed to reimburse it for
               $280,000 in fees and expenses to which it was entitled under the Commitment
               Letter. (PX 40, at BDCF-00028166.) This amount was established by Mr.
               Harris’s testimony as well as Schulte’s legal bills. (DX AN; DX ER; 6/5/18 Tr.
               (Harris) 178:1-4); see FCS Advisors, 2009 WL 1403869, at *11 (awarding
               plaintiff due diligence expenses in connection with defendant’s breach of letter of
               intent).

            c. Black Diamond has established that it was damaged by VCLF and ERP’s failure
               to provide it with the promised equity interest in HoldCo, which totaled
               $26,666,794.65 as of the date of VCLF and ERP’s breach. (PX 249.) This
               amount was established by VCLF and ERP’s answers to Black Diamond’s
               interrogatories, which, in turn, attached company balance sheets for the Federal
               Mine and stated that “information responsive to” Black Diamond’s request about



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               the “value of the Federal Mine Complex” was “set forth” in those balance sheets.
               (Id. at 15-16.). Courts have relied on precisely such evidence in assigning a value
               to damages. See, e.g., Dolphin Direct Equity Partners, LP v. Interactive
               Motorsports & Entm’t Corp., No. 08CIV.1558(EMB)(THK), 2009 WL 6067017,
               at *10 (S.D.N.Y. Dec. 18, 2009) (relying on interrogatory responses to support
               damages calculation); Rich-Haven Motor Sales, Inc. v. Nat’l Bank of N.Y. City,
               558 N.Y.S.2d 91, 93-94 (N.Y. App. Div. 1990) (endorsing use of financial
               statements to calculate value of car dealership); see generally Saria v. Mass. Mut.
               Life Ins. Co., 228 F.R.D. 536, 538 (S.D. W.Va. 2005) (“[I]f interrogatory
               responses are used at trial, they are nothing short of testimony.”).

            d. Black Diamond has also established that it was damaged by VCLF and ERP’s
               failure to provide it with the promised equity interest in HealthCo, which totaled
               $52,156,854.68 as of the date of VCLF and ERP’s breach. (PX 249.) As with the
               interest in HoldCo, this amount was established by VCLF and ERP’s answers to
               Black Diamond’s interrogatories, which attached company balance sheets for
               ERP Settlement, the entity the parties also refer to as HealthCo, and stated that
               “information responsive” to Black Diamond’s request about the “assets and
               liabilities associated with [HealthCo]” was “set forth” in those balance sheets.
               (Id. at 16.)

            e. In the alternative, Black Diamond has established that it was damaged by VCLF
               and ERP’s failure to provide it with an equity interest in HealthCo, which totaled
               $35,220,895.38 as of the date of VCLF and ERP’s breach. (PX 261.) This
               amount was established by the analysis of Black Diamond’s damages expert, Mr.
               Briscoe, who reviewed actuarial analyses of Patriot’s workers’ compensation
               liabilities and determined, based on his professional experience, that Patriot’s
               surplus workers’ compensation collateral could be monetized. See, e.g., Watson
               v. E.S. Sutton, Inc., No. 02 CIV. 2739 (KMW), 2005 WL 2170659, at **1, 16
               (S.D.N.Y. Sept. 6, 2005) (holding that damages award was “well-supported by the
               evidence at trial” when based on “expert testimony and a detailed expert report
               based on . . . actuarial tools accepted and relied upon in economics.”).

        313.   Because Black Diamond has put forth a “stable foundation for a reasonable

 estimate of damages,” VCLF and ERP have the burden of showing that Black Diamond’s

 damages figure is “speculative, possible, and imaginary.” Tractebel, 487 F.3d at 110 (internal

 quotation marks omitted). VCLF and ERP have failed to meet this burden.

            a. VCLF and ERP attempted to establish that certain of the letters of credit securing
               Patriot’s workers’ compensation liabilities were drawn before the date of their
               breach, thereby reducing the value of Black Diamond’s interest in HealthCo. This
               has no bearing on Black Diamond’s damages, for two reasons. First, there is no
               admissible evidence that the letters of credit were drawn before the date of breach.



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                Mr. Clarke, for example, testified that he had no personal knowledge of any
                drawing down of letters of credit, (6/12/18 Tr. (Clarke) 37:16-38:18; id. at 213:1-
                214:13), and Mr. Ebetino could not provide a date on which any letters of credit
                were drawn, (6/4/18 Tr. (Ebetino) 140:7-16; see also id. at 166:18-21). Second,
                and more importantly, the evidence admitted at trial establishes that even if the
                letters of credit were drawn before VCLF and ERP breached the Commitment
                Letter, it would not affect Black Diamond’s ability to monetize HealthCo. (6/5/18
                Tr. (Ehrlich) 10:2-12; 6/7/18 Tr. (Briscoe) 52:3-10; 6/8/18 Tr. (Deckoff) 136:1-
                11; 6/13/18 (Spragg) Tr. 225:22-226:12.)

            b. Patriot’s inability to execute an LPT transaction with the Commonwealth of
               Kentucky does not bear on Black Diamond’s damages. Patriot’s efforts to
               monetize its Kentucky collateral all post-date VCLF and ERP’s breach, and thus
               they are irrelevant to the damages analysis. (PX 401; PX 402; PX 416; PX 417;
               6/13/18 Tr. (Spragg) 172:19-25); Sharma, 916 F.2d at 825; Washington, 2016 WL
               3920348, at *14; Merrill Lynch, 500 F.3d at 185. Moreover, the evidence
               admitted at trial establishes that Patriot’s efforts to monetize the Kentucky
               collateral suffered from fatal flaws that were unique to Patriot, including Patriot’s
               lack of adequate capital and failure to propose an LPT transaction that complied
               with Kentucky law. (PX 401, at 10-11; PX 402, at 4-7; 6/6/18 Tr. (Briscoe)
               119:20-120:3; 6/13/18 Tr. (Spragg) 217:8-218:3; id. at 222:8-14; id. at 224:7-17.)

            c. The Parker decision does not affect the amount of Black Diamond’s damages.
               The Parker decision post-dates VCLF and ERP’s breach of the Commitment
               Letter, and thus it is irrelevant to the damages analysis. See 529 S.W.3d at 759;
               see also Sharma, 916 F.2d at 825; Washington, 2016 WL 3920348, at *14;
               Merrill Lynch, 500 F.3d at 185. Moreover, Black Diamond’s expert witness
               provided unrebutted expert testimony that Parker’s holding does not materially
               increase Patriot’s workers’ compensation liabilities. (6/6/18 Tr. (Briscoe) 146:17-
               147:5; 6/7/18 Tr. (Briscoe) 24:8-18.)

        314.    Based on the above, Black Diamond is entitled to at least $67,167,680.03, plus

 interest, in damages.

 II.    Black Diamond Did Not Repudiate the Commitment Letter.

        315.    VCLF and ERP have failed to show that Black Diamond repudiated the

 Commitment Letter.

        316.    Under New York law, repudiation occurs only when a “party has indicated an

 unqualified and clear refusal not to perform with respect to the entire contract.” DeLorenzo v.

 Bac Agency, Inc., 681 N.Y.S.2d 846, 848 (N.Y. App. Div. 1998).



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        317.    The burden to establish repudiation is high and rests on the party who has asserted

 it. In re Bradlees Stores, Inc., 313 B.R. 565, 574 (S.D.N.Y. 2004). Repudiation “is based on an

 objective, not subjective standard.” DiFolco v. MSNBC Cable L.L.C., 831 F. Supp. 2d 634, 642

 (S.D.N.Y. 2011) (citing Restatement (Second) of Contracts § 250, cmt. b (1981)). (At trial,

 Defendants’ counsel represented to the Court that a party’s “subjective understanding” of events

 “is relevant to the question of whether there’s been a repudiation.” (6/8/18 Tr. (Schlenger)

 184:19-23.) In their summary judgment papers, however, Defendants argued precisely the

 opposite, conceding that “[t]he law is clear . . . that whether Plaintiff repudiated the contract is

 based on an objective, not a subjective standard.” (Mem. of Law in Opp’n to Mot. for Partial

 Summary J. (Dkt. No. 230), at pg. 12 (quoting DiFolco, 731 F. Supp. 2d at 642)).)

        318.    Repudiation must be “positive and unequivocal.” Tenavision, Inc. v. Neuman,

 379 N.E.2d 1166, 1168 (N.Y. 1978). To show repudiation, a party must offer evidence of

 “repeated insistence on extracontractual terms; repeated, definite and absolute expressions of an

 unwillingness to perform; use of language such as ‘termination,’ which conveys finality; or

 conduct by the allegedly repudiating party that has rendered performance impractical or

 impossible.” In re Best Payphones, Inc., 432 B.R. 46, 56 (S.D.N.Y. 2010).

        319.    A request to modify contract terms does not constitute repudiation, unless coupled

 with an absolute refusal to perform if the request is not granted. Koury v. Xcellence, Inc., 649 F.

 Supp. 2d 127, 134 (S.D.N.Y. 2009) (“To constitute an anticipatory breach based on a request for

 a modification of terms, the request must be coupled with an absolute refusal to perform unless

 the request is granted.”); O’Shanter Res., Inc. v. Niagara Mohawk Power Corp., 915 F. Supp.

 560, 568 (W.D.N.Y. 1996) (“[A] demand for more than the contract calls for is not in itself a

 repudiation.”); O’Connor v. Sleasman, 830 N.Y.S.2d 377, 379 (N.Y. App. Div. 2007) (“[A]




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 demand for performance on terms that go beyond the contract is not a repudiation . . . unless it is

 coupled with a threat of nonperformance if those terms are not accepted.”).

        320.    VCLF and ERP have failed to meet their burden of showing that Black Diamond

 repudiated the Commitment Letter.

            a. Black Diamond did not repudiate the Commitment Letter because it is undisputed
               that Black Diamond never refused to provide financing in connection with the
               August 16 APA on the terms set forth in the Commitment Letter. (PX 181; 6/5/18
               Tr. (Ehrlich) 5:14-16; id. at 7:8-16; id. at 131:5-16; id. (Harris) at 164:24-25; id.
               at 174:7-13; 6/8/18 Tr. (Deckoff) 48:20-49:2; 6/11/18 Tr. (Murphy) 238:20-25;
               id. at 239:21-23; 6/12/18 Tr. (Clarke) 87:13-19.) This was the only agreement
               between the parties.

            b. The negotiations between Black Diamond, VCLF, and ERP on October 22 and
               23, 2015 cannot constitute repudiation because those negotiations related to a
               modified asset purchase agreement that Black Diamond had no contractual
               obligation to fund. (PX 111; PX 113; PX 115; PX 116; 6/7/18 Tr. (Potter)
               151:22-152:3; 6/12/18 Tr. (Clarke) 98:2-18.) In any event, proposals to modify a
               contract do not constitute repudiation. Koury, 649 F. Supp. 2d at 134; O’Shanter,
               915 F. Supp. at 568; O’Connor, 830 N.Y.S.2d at 379.

            c. Black Diamond never ceased negotiations over new financing terms in connection
               with a modified asset purchase agreement. To the contrary, Mr. Clarke admitted
               that “Black Diamond never did stop negotiating.” (6/12/18 Tr. (Clarke) 190:14.)

 III.   VCLF and ERP’s Counterclaim Is Meritless.

        321.    VCLF and ERP’s counterclaim for breach of contract is meritless.

        322.    Black Diamond did not breach the Commitment Letter for the reasons stated

 above. Specifically:

            a. Black Diamond’s financing commitment under the Commitment Letter related
               solely to the August 16 APA, “as amended, modified or supplemented prior to
               [September 21, 2015].” (PX 40, at BDCF-00028157; see also 6/8/18 Tr.
               (Deckoff) 31:12-17.) Black Diamond never refused to provide financing in
               connection with the August 16 APA on the terms set forth in the Commitment
               Letter. (PX 181; 6/5/18 Tr. (Ehrlich) 5:14-16; id. at 6:15-18; id. at 7:8-16; id. at
               131:5-16; id. (Harris) at 164:24-25; id. at 173:7-13; 6/8/18 Tr. (Deckoff) 48:20-
               49:2; 6/11/18 Tr. (Murphy) 238:20-25; id. at 239:21-23; 6/12/18 Tr. (Clarke)
               87:13-19.)




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            b. The modified financing terms that Black Diamond proposed on October 22 and
               23, 2015 related only to the modified asset purchase agreement that VCLF, ERP,
               and Patriot negotiated after the Commitment Letter was executed. (PX 111; PX
               113; PX 115; PX 116; 6/7/18 Tr. (Potter) 151:22-152:3; 6/12/18 Tr. (Clarke)
               98:2-18.) Black Diamond never agreed to VCLF, ERP, and Patriot’s
               modifications to the asset purchase agreement, and Black Diamond had no
               obligation to fund a modified asset purchase agreement. (6/4/18 Tr. (Ehrlich)
               194:3-18; id. at 203:15-20; 6/5/18 Tr. (Harris) 171:3-6; 6/8/18 Tr. 207:5-7;
               6/12/18 Tr. (Clarke) 120:20-23.)

        323.    VCLF and ERP’s counterclaim also fails because they have failed to prove any

 damages associated with their claim.

        324.    VCLF and ERP have not proven any general damages resulting from Black

 Diamond’s failure to extend financing. Under New York law, “a breach of contract to make a

 loan, standing by itself, involves no legal damage.” Avalon Constr. Corp. v. Kirch Holding Co.,

 175 N.E. 651, 652 (N.Y. 1931). This is because, although a borrower may receive funds

 pursuant to a lending agreement, it is “saddled with an obligation of exactly equal amount, so

 that the profit of the contract would be nothing.” Id. at 652-53; see also Eaton v. Reich, 179 N.E.

 385, 387 (N.Y. 1932) (“It is elementary that a breach of contract to make a loan . . . involves no

 legal damage.”) (internal quotation marks and citation omitted).

        325.    VCLF and ERP have also failed to prove consequential damages in connection

 with Black Diamond’s failure to extend financing, including lost profits. Tractebel, 487 F.3d at

 109 (“Lost profits are consequential damages when, as a result of the breach, the non-breaching

 party suffers loss of profits on collateral business arrangements.”). As a threshold matter,

 consequential damages “must be plead with particularity” in New York, and VCLF and ERP’s

 Answer and Counterclaim does not mention lost profits or any other consequential damages.

 Bibeault v. Advanced Health Corp., No. 97 Civ. 6026(WHP), 2002 WL 24305, at *6 (S.D.N.Y.

 Jan. 8, 2002); (Answer & Counterclaim (Dkt. No. 3-68), at pg. 16-17).




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        326.    Moreover, nothing in the evidentiary record establishes that VCLF and ERP

 suffered lost profits as a result of Black Diamond’s failure to provide financing. Although

 Messrs. Clarke and McCoy testified that Black Diamond’s failure to provide financing resulted

 in the failure of the Federal Mine, this testimony is not credible. (6/12/18 Tr. (Clarke) 45:8-21;

 6/13/18 Tr. (McCoy, K.) 121:25-123:7.) Mr. McCoy, for example, testified that after closing,

 “the [Federal] mine started doing pretty well,” and in fact, “broke . . . production records in terms

 of daily production.” (6/13/18 Tr. (McCoy, K.) 122:8-12.) This indicates that VCLF and ERP’s

 ability to mine coal was not impeded by a lack of financing. Similarly, Mr. McCoy gave an

 interview to a trade publication in September 2017, during which he stated that the Federal

 Mine’s financial difficulties were the result of “geological conditions” and “roof falls,” not a lack

 of financing. (PX 507; 6/13/18 Tr. (McCoy, K.) 146:18-148:11; see also id. at 156:14-15

 (describing his statement as “one hundred percent accurate and honest”).) Finally, Messrs.

 Clarke and McCoy testified that the coal market “went into a freefall” after the VCLF-Patriot

 transaction closed, materially impacting their business plan. (6/13/18 Tr. (McCoy, K.) 122:12-

 13; see also 6/12/18 Tr. (Clarke) 44:24-45:1 (“Q. Did you have an understanding of why the

 mine shut down? A. The demand for thermal coal in the United States has declined

 precipitously.”).)




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 Dated: July 27, 2018                       Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 27, 2018, I caused the foregoing Proposed Findings of Fact
 and Conclusions of Law to be filed with and uploaded to this Court’s CM/ECF system, which
 will send filing to all CM/ECF participants, and on the following parties by email:

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